Case 22-33553 Document 955-13 Filed in TXSB on 12/05/24 Page 1 of 76




                EXHIBIT 13
Case
Case22-33553
     22-33553 Document
              Document955-13
                       915-1 Filed
                             Filedin
                                   inTXSB
                                     TXSBon
                                          on11/18/24
                                            12/05/24 Page
                                                     Page12of
                                                           of75
                                                              76




                           EXHIBIT A

                       Asset Purchase Agreement
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on11/18/24
                                                 12/05/24 Page
                                                          Page23of
                                                                of75
                                                                   76




                      ASSET PURCHASE AGREEMENT

                      dated as of November [   ], 2024

                                   among

                            WAR IS OVER LLC,
                              as Purchaser

                                     and

   FREE SPEECH SYSTEMS, LLC AND CHRISTOPHER R. MURRAY, SOLELY AS
          CHAPTER 7 TRUSTEE FOR THE BANKRUPTCY ESTATE OF
                       ALEXANDER E. JONES, as
                                Seller




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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on11/18/24
                                                 12/05/24 Page
                                                          Page34of
                                                                of75
                                                                   76




                                                 TABLE OF CONTENTS

                                                                                                                                         Page

                 PURCHASE AND SALE OF ASSETS ................................................................... 2
  1.1      Purchase and Sale of Purchased Assets .......................................................................... 2
  1.2      Assumption of Liabilities................................................................................................ 3
  1.3      Consideration for Purchased Assets................................................................................ 3

                   THE CLOSING ...................................................................................................... 4
  2.1      Time and Place; Effective Time ..................................................................................... 4
  2.2      Closing Deliveries of Seller ............................................................................................ 4
  2.3      Closing Deliveries of Purchaser...................................................................................... 5

                    REPRESENTATIONS AND WARRANTIES OF SELLER ............................... 6
  3.1      Organization and Authority of Seller; Enforceability ..................................................... 6
  3.2      No Conflicts; Consents and Approvals ........................................................................... 6
  3.3      Litigation; Governmental Orders .................................................................................... 6
  3.4      Purchased Assets ............................................................................................................. 6

                    REPRESENTATIONS AND WARRANTIES OF PURCHASER ...................... 7
  4.1      Organization .................................................................................................................... 7
  4.2      Authority ......................................................................................................................... 7
  4.3      Consents and Approvals ................................................................................................. 7
  4.4      Litigation ......................................................................................................................... 7
  4.5      Brokers ............................................................................................................................ 7
  4.6      Sufficiency of Funds ....................................................................................................... 7

                  COVENANTS AND AGREEMENTS ................................................................... 7
  5.1      Confidentiality ................................................................................................................ 7
  5.2      Sale Order ....................................................................................................................... 8
  5.3      Further Actions ............................................................................................................... 8
  5.4      Transaction Costs ............................................................................................................ 8
  5.5      Tax Matters ..................................................................................................................... 9
  5.6      Removal of Purchased Assets or New Lease Arrangement............................................ 9

                    CLOSING CONDITIONS .................................................................................... 9
  6.1      Conditions to Obligations of Purchaser .......................................................................... 9
  6.2      Conditions to Obligations of Seller .............................................................................. 10
  6.3      Non-Survival of Representations and Warranties......................................................... 11

                     AS IS SALE ....................................................................................................... 11
  7.1      As Is Sale ...................................................................................................................... 11

                       TERMINATION .............................................................................................. 11

                                                                     i
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on11/18/24
                                                 12/05/24 Page
                                                          Page45of
                                                                of75
                                                                   76




  8.1       Termination ................................................................................................................... 11
  8.2       Effect of Termination .................................................................................................... 12
  8.3       Fees and Expenses ........................................................................................................ 12

                     MISCELLANEOUS ........................................................................................... 13
  9.1       Notices .......................................................................................................................... 13
  9.2       Amendments and Waiver; Exclusive Remedies ........................................................... 14
  9.3       Entire Agreement .......................................................................................................... 14
  9.4       Third Party Beneficiaries .............................................................................................. 14
  9.5       Governing Law ............................................................................................................. 14
  9.6       Neutral Construction ..................................................................................................... 15
  9.7       Severability ................................................................................................................... 15
  9.8       Extended Meanings ....................................................................................................... 15
  9.9       Counterparts; Facsimile Delivery ................................................................................. 15
  9.10      Submission to Jurisdiction ............................................................................................ 15
  9.11      Waiver of Jury Trial ...................................................................................................... 16
  9.12      Further Assurances........................................................................................................ 16

                   DEFINITIONS...................................................................................................... 17
  10.1      Certain Definitions ........................................................................................................ 17
  10.2      Interpretation ................................................................................................................. 20


Exhibits

Exhibit A          Form of Bill of Sale
Exhibit B          Form of Assignment of Intellectual Property

Schedules

Schedule 1.1(a)(i)             Assigned Intellectual Property
Schedule 1.1(a)(ii)            Assigned Personal Property
Schedule 1.1(a)(iii)           Assigned Inventory
Schedule 1.1(b)(xi)            Excluded Domain Names
Schedule 1.3(c)                Allocation of Purchase Price




                                                                     ii
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on11/18/24
                                                 12/05/24 Page
                                                          Page56of
                                                                of75
                                                                   76




                                   Asset Purchase Agreement

       This Asset Purchase Agreement (this “Agreement”) dated as of November [ ], 2024, is
by and between War Is Over LLC, an Illinois Limited Liability Company (the “Purchaser”), and
Christopher R. Murray, solely in his capacity as Chapter 7 Trustee of the Bankruptcy Estate of
Alexander E. Jones (the “Trustee”) and Free Speech Systems LLC, a Texas limited liability
company (“FSS” and together with the Trustee, “Seller”). Capitalized terms used in this
Agreement and not otherwise defined have the respective meanings given to them in Article X.

      WHEREAS, a voluntary case for reorganization of the estate of FSS under the Bankruptcy
Code was filed in the Bankruptcy Court on July 29, 2022, styled In re Free Speech Systems, LLC,
Case No. 22-60043, which case was later dismissed by order of the Bankruptcy Court [Case No.
22-60043, Docket No. 956] (the “Dismissal Order”) on June 21, 2024;

       WHEREAS, a voluntary case for the reorganization of the estate of Alexander E. Jones
(“Jones”) was commenced under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”), in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy
Court”) on December 2, 2022(the “Petition Date”), styled In re Alexander E. Jones, Case No. 22-
33553, which case was later converted into a case under chapter 7 of the Bankruptcy Code (the
“Bankruptcy Case”) on June 14, 2024;

      WHEREAS, by appointment of the United States Trustee dated June 14, 2024, Christopher
Murray was appointed as Chapter 7 Trustee for the bankruptcy estate of Jones;

        WHEREAS, on September 25, 2024, the Bankruptcy Court entered its Order Authorizing the
Winddown of FSS [Case No. 22-33553, Docket No. 859], which authorized, amongst other things,
the Seller to sell FSS’s assets free and clear of liens, claims, charges, encumbrances and interests
pursuant to 11 U.S.C. § 363(b) and (f) in one or more asset sales (the “Winddown Order”);

       WHEREAS, on September 25, 2024, the Bankruptcy Court entered its Order Supplementing
Order Dismissing Case [Case No. 22-60043, Docket No. 1021], which deemed all property of the
FSS bankruptcy estate to have vested in the Jones bankruptcy estate and under control of the
Trustee as of the date of entry of the Dismissal Order;

       WHEREAS, this Agreement is entered pursuant to the Winddown Order;

        WHEREAS, pursuant to the Winddown Order, and upon the terms and conditions set forth
in this Agreement and upon entry of the Sale Order, and as authorized under Sections 105, 363,
and 365 of the Bankruptcy Code, Purchaser desires to purchase from Seller, and Seller desires to
sell to Purchaser, the Purchased Assets, and in connection with the purchase of the Purchased
Assets, Purchaser has agreed to assume certain liabilities of the Seller as set forth in Section 1.2,
upon the terms and subject to the conditions set forth herein; and

        NOW, THEREFORE, in reliance upon and in consideration of the representations, warranties
and covenants contained herein and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties hereto, intending to be legally bound
hereby, agree as follows:


                                                 1
15620508
      Case
      Case22-33553
           22-33553 Document
                    Document955-13
                             915-1 Filed
                                   Filedin
                                         inTXSB
                                           TXSBon
                                                on11/18/24
                                                  12/05/24 Page
                                                           Page67of
                                                                 of75
                                                                    76




                               PURCHASE AND SALE OF ASSETS

                1.1     Purchase and Sale of Purchased Assets.

                 (a)      Purchase and Sale. Pursuant to Sections 105, 363, and 365 of the
Bankruptcy Code and on the terms and subject to the conditions set forth herein, in the Sale Order,
and in the Winddown Order, at the Closing the Seller shall sell, convey, transfer, assign, grant and
deliver to Purchaser, free and clear of all Encumbrances (other than Permitted Encumbrances), and
Purchaser shall purchase, acquire and accept delivery from the Seller on the Closing Date, all right,
title and interest of the Seller in and to all of the assets, rights and entitlements of the Seller, whether
tangible or intangible, real or personal, of every kind and nature as described in the November 4,
2024 Offering Memorandum (other than the Excluded Assets) (collectively, the “Purchased
Assets”), including, without limitation, the following:

                         (i)     all Intellectual Property listed on Schedule 1.1(a)(i); (y) all versions
thereof, design files, data rights and documentation; and (z) all rights of Seller with respect to the
foregoing, remedies against past, present and future infringement, misappropriation or other
unauthorized use thereof and rights to protection of interests therein under the applicable Laws of
all jurisdictions (collectively, the “Assigned Intellectual Property”);

                       (ii)   all production equipment and other tangible property of any kind or
nature related to the maintenance, use, or preservation of the Assigned Intellectual Property (and
interests in any of the foregoing) that are owned by the Seller on the Closing Date, other than
Assigned Inventory, as listed on Schedule 1.1(a)(ii) (collectively, the “Assigned Personal
Property”);

                        (iii) all items of inventory pertaining to the operation of the business of
Seller that are not sold prior to the Closing Date, as listed on Schedule 1.1(a)(iii) (collectively, the
“Assigned Inventory”);

                        (iv)     to the extent transferable by Seller, all Licenses relating to the
Purchased Assets.

                (b)    Excluded Assets. Other than the Purchased Assets, Purchaser expressly
understands and agrees that it is not purchasing or acquiring, and Seller is not selling or assigning,
any other assets, properties, rights or interests of Seller, and all such other assets, properties, rights
and interests are expressly excluded from the Purchased Assets (the “Excluded Assets”) and
nothing herein shall be deemed to sell, transfer, assign or convey any of the Excluded Assets to
either of the Purchaser. Excluded Assets include the following assets, properties, rights and
interests of Seller:

                        (v) the articles of incorporation, minute books, stock books and other
corporate records of Seller having primarily to do with the corporate organization and
capitalization of Seller;

                       (vi)      all cash and cash equivalents, bank accounts, investments, securities
and certificates of deposit;

                                                     2
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on11/18/24
                                                 12/05/24 Page
                                                          Page78of
                                                                of75
                                                                   76




                        (vii) all rights of Seller under this Agreement, the Purchase Price
hereunder, any agreement, certificate, instrument or other document executed and delivered by
Seller or Purchaser in connection with the transactions contemplated hereby, or any side agreement
between Seller and Purchaser entered into on or after the date of this Agreement;

                        (viii) the books and records and other written and electronic materials
related thereto of the Seller;

                      (ix)   personally identifiable information of the Seller’s employees and
independent contractors, including personnel records, personal data stored on the Seller’s
computers or other electronic devices, and historical email content the historic emails of the
Seller’s employees and independent contractors;

                      (x)     all physical assets located in Building 2 on the Business Property as
of the Closing Date other than the Assigned Personal Property;

                       (xi)    all vehicles;

                      (xii) any assets transferred or otherwise disposed of by Seller pursuant to
an order of the Bankruptcy Court prior to the Closing or not in violation of this Agreement;

                       (xiii) all rights, claims, refunds, loss carry forwards, abatements,
variances, allocations, claims for relief, audit rights, rights of set-off, rights of indemnity,
contribution or recoupment, interests and causes of action (including any commercial tort claims
and all guarantees, indemnities, warranties and similar rights), and defenses;

                       (xiv) all rights, claims or causes of action by or in the right of Seller
against any current or former director or officer of the Seller; and

                       (xv)    all excluded domain names listed on Schedule 1.1(b)(xi);

                       (xvi)   any claims, rights, or actions under Chapter 5 of the Bankruptcy
Code.

               1.2     Assumption of Liabilities.

                (a)     Excluded Liabilities. Purchaser shall not assume and shall not be
responsible to pay, perform or discharge any Liabilities of Seller or any of its Affiliates of any kind
or nature whatsoever, provided however that the Purchaser shall assume all Liabilities that relate
to, arise from or are in connection with the operation or ownership of the Purchased Assets from
and after Closing, subject in all respects to the Sale Order.

               1.3     Consideration for Purchased Assets.

                (a)    Consideration. The aggregate purchase price shall be $1,750,000.00 in cash
plus the Distributable Proceeds Waiver (the “Purchase Price”). The Purchase Price is inclusive
of the amount of the Deposit. At the Closing, the Purchase Price, less the amount of the Deposit,
shall be paid by Purchaser, or an Affiliate of the Purchaser, to Seller by wire transfer of immediately

                                                  3
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on11/18/24
                                                 12/05/24 Page
                                                          Page89of
                                                                of75
                                                                   76




available funds to the bank account designated by Seller (the “Cash Payment”), and the
Connecticut Families will have executed and delivered to the Trustee all necessary documentation
in furtherance of the Distributable Proceeds Waiver.

               (b)      Deposit. Global Tetrahedron, LLC on behalf of the Purchaser, has deposited
with $100,000.00, counsel to Seller, as a good faith deposit (the “Deposit”) the sum of
approximately 5.71% of the cash portion of the Purchase Price. If the transactions hereunder are
consummated, the Deposit will be applied against the Purchase Price in the manner provided in
Section 1.3(a). If the transactions hereunder are not consummated as result of a termination under
section 8.1(d), the Deposit shall be forfeited to, and be retained irrevocably by, the Trustee in
accordance with the Winddown Order; for the avoidance of doubt, if the transactions hereunder
are not consummated as a result of a termination under sections 8.1(a), (b) by the Seller, (c), or (e),
the Deposit shall be promptly returned to the Purchaser.

                (c)     Allocation of Purchase Price. Purchaser allocates the Purchase Price among
the Purchased Assets as set forth on Schedule 1.3(c), which Schedule 1.3(c) shall be prepared by
Purchaser. Purchaser and Seller shall further cooperate in determining (in accordance with all
applicable Treasury Regulations promulgated under Section 1060 of the Internal Revenue Code)
the allocation of the final Purchase Price among the Purchased Assets.


                                          THE CLOSING

                2.1     Time and Place; Effective Time. The consummation of the transactions
contemplated hereby shall take place at a closing (the “Closing”) to be held remotely via the
exchange of documents and signatures at 10:00 a.m. Central Time on the first (1st) Business Day
following the satisfaction and fulfillment or waiver of the conditions set forth in Article VI (other
than conditions to be satisfied simultaneously at the Closing),which date shall not be earlier than
the first day following the entry of the Sale Order by the Bankruptcy Court (the “Closing Date”).
The sale, transfer, assignment, conveyance and delivery of the Purchased Assets described in this
Agreement will be effective as of the Effective Time; provided, however, that Purchaser shall have
ten (10) days from the Closing Date to conduct an inventory of the Purchased Assets and notify
Seller in writing and with specificity of any material dispute (a “Dispute Notice”) regarding the
Purchased Assets (the “Reconciliation Period”). If any such dispute cannot be mutually resolved
by the Seller and Purchaser and/or requires an adjustment to the Purchase Price, either party may
file a motion with the Bankruptcy Court seeking judicial assistance to resolve such dispute. For
the avoidance of doubt, Seller shall hold all funds received from the Purchaser in escrow until such
time that the Reconciliation Period has passed without a Dispute Notice being served, and if a
Dispute Notice has been served, such funds shall be held in escrow pending mutual written
agreement with respect to distribution of such funds or a final Court order directing distribution of
such funds..

               2.2     Closing Deliveries of Seller. At the Closing, Seller shall deliver, or cause
to be delivered, to Purchaser the following instruments, certificates and other documents in order
to consummate the transactions contemplated hereby, including the transfer of the Purchased
Assets to Purchaser pursuant to Section 1.1:


                                                  4
15620508
     Case
      Case22-33553
           22-33553 Document
                     Document955-13
                              915-1 Filed in TXSB on 11/18/24
                                                     12/05/24 Page 9
                                                                   10ofof75
                                                                          76




                (a)     Instruments of Transfer and Assignment.

                      (i)     a Bill of Sale, substantially in the form attached hereto as Exhibit A,
duly executed by the Trustee on behalf of the Seller (the “Bill of Sale”);

                      (ii)     an Assignment of Intellectual Property, substantially in the form
attached hereto as Exhibit B, duly executed by the Trustee on behalf of the Seller (the “Assignment
of Intellectual Property”);

                      (iii) evidence that the Bankruptcy Court has entered the Sale Order,
which shall be a final order and which shall be in all respects consistent with the terms of this
Agreement and otherwise satisfactory to Purchaser and the Connecticut Families;

                        (iv)    such other bills of sale, deeds, endorsements, assignments and other
goods and sufficient instruments of conveyance and transfer as may reasonably be necessary to
vest in Purchaser all the right, title and interest of Seller in, to or under any or all of the Purchased
Assets; and

                       (v)    such other documents reasonably necessary for the Connecticut
Families to assign to the Trustee the Distributable Proceeds Waiver Amount in accordance with
the Sale Order.

                2.3    Closing Deliveries of Purchaser. At the Closing, Purchaser shall make the
payment and deliver to Seller the following instruments, certificates and other documents in order
to pay for the Purchased Assets :

                 (a)    Cash Payment. The Cash Payment to the accounts designated in writing by
Seller at least two (2) Business Days prior to the Closing Date to be held in escrow subject to the
satisfaction and fulfillment or waiver of the conditions set forth in Article VI.

                (b)     Instruments of Assumption.

                        (i)     the Bill of Sale, duly executed by Purchaser;

                        (ii)    the Assignment of Intellectual Property, duly executed by Purchaser;

                       (iii) copies of any transfer Tax forms and returns required to be filed by
Purchaser prior to or on the Closing Date in connection with the transactions contemplated hereby;

                      (iv)      a copy of the resolutions adopted by the Purchaser evidencing its
authorization of the execution and delivery of this Agreement and the consummation of the
transactions contemplated hereby, certified by an officer of Purchaser; and

                      (v)     such other documents related to the transactions contemplated by
this Agreement that the Seller may reasonably request.




                                                   5
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page10
                                                                 11of
                                                                    of75
                                                                       76




                  REPRESENTATIONS AND WARRANTIES OF SELLER

       Seller, to induce Purchaser to enter into this Agreement and to close hereunder, hereby
represents and warrants to Purchaser as follows:

                3.1    Organization and Authority of Seller; Enforceability. FSS is a limited
liability company duly organized, validly existing and in good standing under the laws of the State
of Texas. The execution, delivery and performance by Seller of this Agreement and the documents
to be delivered hereunder and the consummation of the transactions contemplated hereby have
been duly authorized by the Bankruptcy Court. Assuming the due authorization, execution and
delivery of this Agreement, this Agreement and the documents to be delivered hereunder constitute
a legal, valid and binding obligation of the Seller, enforceable against it in accordance with their
respective terms.

                3.2     No Conflicts; Consents and Approvals. Except as required by the
Bankruptcy Court, the execution, delivery and performance by Seller of this Agreement and the
documents to be delivered hereunder, and the consummation of the transactions contemplated
hereby, do not and will not: (a) violate or conflict with the certificate of formation, company
agreement or other organizational documents of Seller; (b) violate or conflict with any judgment,
order, decree, statute, law, ordinance, rule or regulation applicable to Seller or the Purchased
Assets; (c) conflict with, or result in (with or without notice or lapse of time or both) any violation
of, or default under, or give rise to a right of termination, acceleration or modification of any
obligation or loss of any benefit under any contract or other instrument to which Seller is a party
or to which any of the Purchased Assets are subject; or (d) result in the creation or imposition of
any Encumbrance on the Purchased Assets. No consent, approval, waiver or authorization is
required to be obtained by Seller from any Person (including any Governmental Authority) in
connection with the execution, delivery and performance by Seller of this Agreement, and the
documents to be delivered hereunder and the consummation of the transactions contemplated
hereby and thereby.

                3.3     Litigation; Governmental Orders. Except for contested matters and
adversary proceedings in the Bankruptcy Court, and Lafferty v. Jones, No. UWY-CV18-6046436-
S (Conn. Super. Ct. Dec. 22, 2022); Heslin v. Jones, Case No. D-1-GN-18-001835, in the 261st
District Court of Travis County, Texas; Lewis v. Jones, Case No. D-1-GN-18-006623, in the 53rd
District Court for Travis County, Texas; Pozner v. Jones, Case No. D-1-GN-18-001842, in the
345th District Court of Travis County, Texas; Fontaine v. Jones, Case No. D-1-GN-18-001605,
in the 459th District Court for Travis County, Texas; as of the date hereof, there are no pending
or, to the Knowledge of the Seller threatened Actions by any Person or Governmental Authority
against or relating to Seller which relate to the business of Seller or Purchased Assets or to which
any of the Purchased Assets are subject.

                  3.4     Purchased Assets. To the best knowledge of the Seller, Seller has good and
valid title to all of the Purchased Assets; provided however that the foregoing representation shall
not apply to the transferability of any social media accounts, the concerns raised by certain parties
regarding such transferability being known to both the Seller and the Purchaser.


                                                  6
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page11
                                                                 12of
                                                                    of75
                                                                       76




               REPRESENTATIONS AND WARRANTIES OF PURCHASER

       Purchaser, to induce Seller to enter into this transaction and to close hereunder, hereby
represents and warrants to Seller as follows:

              4.1     Organization. Purchaser is duly organized, validly existing and in good
standing under the laws of the Illinois.

                4.2     Authority. Purchaser has all requisite power and authority to enter into and
deliver this Agreement to perform its obligations hereunder and thereunder, to consummate the
transactions contemplated hereby. This Agreement has been duly executed and delivered by
Purchaser. Assuming the due authorization, execution and delivery of this Agreement and subject
to the effectiveness of the Winddown Order and the Sale Order, this Agreement constitutes a legal,
valid and binding obligation of Purchaser, enforceable against Purchaser in accordance with its
terms.

                 4.3     Consents and Approvals. Except as required by the Bankruptcy Court, the
execution, delivery and performance by Purchaser of this Agreement and the documents to be
delivered hereunder, and the consummation of the transactions contemplated hereby, do not and
will not: (a) violate or conflict with the certificate of incorporation, by-laws or other organizational
documents of Purchaser; and (b) violate or conflict with any judgment, order, decree, statute, law,
ordinance, rule or regulation applicable to Purchaser. No consent, approval, waiver or
authorization is required to be obtained by Purchaser from any Person (including any
Governmental Authority) in connection with the execution, delivery and performance by Seller of
this Agreement and the consummation of the transactions contemplated hereby.

               4.4     Litigation. There are no pending or, to the knowledge of Purchaser,
threatened Actions by any Person or Governmental Authority against or relating to Purchaser (or
any Affiliate of Purchaser) or by which Purchaser or its assets or properties are or may be bound
which, if adversely determined, would have a material adverse effect on the ability of Purchaser
to perform its obligations under this Agreement and to         consummate on a timely basis the
transactions contemplated hereby or thereby.

               4.5     Brokers. All negotiations relative to this Agreement and the transactions
contemplated hereby have been carried out by Purchaser directly with Seller without the
intervention of any Person on behalf of Purchaser in such manner as to give rise to any valid claim
by any Person against Seller for a finder’s fee, brokerage commission or similar payment.

               4.6     Sufficiency of Funds. Purchaser has sufficient funds, or at and as of the
Closing will have sufficient funds, in an aggregate amount necessary to pay the Cash Payment and
to consummate all of the other transactions contemplated by this Agreement.


                              COVENANTS AND AGREEMENTS

               5.1    Confidentiality. Except as otherwise explicitly provided in this Agreement,
the information obtained by Purchaser, or its officers, employees, agents or representatives, during

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15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page12
                                                                 13of
                                                                    of75
                                                                       76




the period from the date of this Agreement through the earlier of the Closing or the termination of
this Agreement, in connection with the negotiation, execution and performance of this Agreement,
the consummation of the transactions contemplated hereby, or otherwise, shall be held in
confidence by Purchaser, and Purchaser shall cause its Affiliates and its and their respective
directors, officers, employees, consultants, counsel, accountants, and other agents to hold such
information in confidence.

                5.2     Sale Order. Promptly, but no later than five (5) calendar days, following
the date that this Agreement has been duly executed and delivered by Purchaser, Seller shall file
with the Bankruptcy Court a motion seeking the entry of the Sale Order (the “Sale Motion”). The
Sale Motion shall request a waiver of the 14-day stay provided by Fed. R. Bank. P. 6004(h) with
respect to the Sale Order. Seller shall use commercially reasonable efforts to obtain entry by the
Bankruptcy Court, on an expedited basis, of the Sale Order approving, among other things, the
sale of Purchased Assets to Purchaser free and clear of all Encumbrances without successor
liability and the Distributable Proceeds Waiver, which shall be in form and substance reasonably
acceptable to Purchaser, the Connecticut Families, and the Trustee, including filing any briefing
or other documentation in support thereof. The Sale Order shall include, among other things,
findings that this Agreement was negotiated, proposed and entered into without collusion, in good
faith and from arms-length bargaining positions, and neither the Seller nor the Purchaser engaged
in any act or omission that would permit this Agreement to be avoided, or costs or damages to be
imposed under section 363(n) of the Bankruptcy Code, and Purchaser is a “good faith” purchaser
under section 363(m) of the Bankruptcy Code. Purchaser shall take such actions as are reasonably
requested by Seller to assist in obtaining the Bankruptcy Court’s entry of the Sale Order, including
providing necessary assurances of performance by Purchaser under this Agreement and
demonstrating that Purchaser is a “good faith” purchaser under section 363(m) of the Bankruptcy
Code. In the event that the Sale Order shall be appealed by any Person (or a petition for certiorari
or motion for reconsideration, amendment, clarification, modification, vacation, stay, rehearing or
reargument shall be filed with respect thereto), Seller and Purchaser will cooperate in determining
and pursuing the response to any such appeal, petition or motion and Seller and Purchaser shall
use their commercially reasonable efforts to obtain an expedited resolution of any such appeal,
petition or motion.

                5.3     Further Actions. Upon the terms and subject to the conditions set forth in
this Agreement and subject to the requirements of the Bankruptcy Code and the Bankruptcy Court,
Seller and Purchaser shall each use their respective commercially reasonable efforts to take, or
cause to be taken, all appropriate action, and to do, or cause to be done, and to assist and cooperate
with the other parties hereto in doing, all things necessary, proper or advisable under applicable
Laws to consummate the transactions contemplated hereby and satisfy the conditions to its
obligations to close the transactions contemplated hereby.

               5.4    Transaction Costs. Purchaser shall pay all transaction costs and expenses
(including any legal, accounting and other professional fees and expenses) that it incurs in
connection with the negotiation, execution and performance of this Agreement and the
consummation of the transactions contemplated hereby. Seller shall pay all transaction costs and
expenses (including legal, accounting and other professional fees and expenses) that it incurs in
connection with the negotiation, execution and performance of this Agreement and the
consummation of the transactions contemplated hereby.

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15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
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                                                on11/18/24
                                                   12/05/24 Page
                                                            Page13
                                                                 14of
                                                                    of75
                                                                       76




                 5.5     Tax Matters. Purchaser, on the one hand, and Seller, on the other hand, will
(i) provide each other with any assistance that may reasonably be requested by the other in
connection with the preparation of any Tax Return, audit or other examination by any taxing
authority or judicial or administrative proceedings relating to liability for Taxes, (ii) each retain
and provide the other with any records or other information that may be relevant to that Tax Return,
audit, examination or proceeding, and (iii) provide each other with any final determination of any
such audit, examination or proceeding that affects any amount required to be shown on any Tax
Return of the other for any period. Without limiting the generality of the foregoing, Purchaser, on
the one hand, and Seller, on the other hand, will retain until the applicable statutes of limitations
(including any extensions) have expired copies of all records or information that may be relevant
to Tax Returns filed by the other for all Tax periods or portions thereof ending before or including
the Closing Date. After the expiration of all applicable statues of limitations, such records and
information may be destroyed by either party if such party sends to the other party written notice
of its intent to destroy such records and information, specifying with particularity the contents of
the records and information to be destroyed. Such records and information may then be destroyed
after the 30th day after such notice is given unless the party receiving the notice objects to the
destruction, in which case the party that provided the notice will deliver, at the objecting party’s
expense, such records to the objecting party.

                5.6     Removal of Purchased Assets or New Lease Arrangement. No later than
thirty days after the Closing Date, Purchaser will either (i) have removed all of the Purchased
Assets from the physical business premises (the “Business Property”) of the Seller or (ii) have
entered into an assignment and assumption of the existing lease of the Business Property to the
Purchaser or a new lease arrangement covering the Business Property, in either case which
includes a release of the Seller’s obligations under the existing lease for the Business Property. In
addition, no later than thirty days after the Closing Date, Purchaser will be solely responsible for
the maintenance of all information technology, systems and accounts, and any software licenses
necessary to operate, preserve, access or use any Assigned Intellectual Property; provided,
however, that Seller shall maintain all information technology, systems and accounts and shall
cooperate with Purchaser to timely transfer control of the foregoing until such time as Purchaser
is in full possession and control of the foregoing. In connection with the foregoing, Seller shall
provide Purchaser reasonable access to the Business Property upon prior written request to the
Trustee to allow Purchaser to remove the Purchased Assets if elected by Purchaser and which
access shall not be unreasonably withheld.


                                   CLOSING CONDITIONS

                6.1     Conditions to Obligations of Purchaser. The obligations of Purchaser to
consummate the transactions contemplated by this Agreement are subject to the satisfaction or
fulfillment at or prior to the Closing of the following conditions, any of which may be waived in
whole or in part by Purchaser in writing:

                (a)    all representations and warranties of Seller contained in this Agreement
shall be true and correct in all material respects at and as of the Closing with the same effect as
though such representations and warranties were made at and as of the Closing (other than any


                                                 9
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page14
                                                                 15of
                                                                    of75
                                                                       76




representation or warranty that is expressly made as of a specified date, which shall be true and
correct in all material respects as of such specified date only);

                 (b)    Seller shall have performed and complied in all material respects with all
the covenants and agreements required by this Agreement to be performed or complied with by it
at or prior to the Closing;

                 (c)    there shall be in effect no Law or injunction issued by a court of competent
jurisdiction making illegal or otherwise prohibiting or restraining the consummation of the
transactions contemplated by this Agreement. There shall not be pending or threatened in writing
by any Governmental Authority of competent jurisdiction any proceeding (i) challenging or
seeking to restrain, prohibit, alter or materially delay the sale and purchase of the Purchased Assets
or any of the other transactions contemplated by this Agreement, or seeking to obtain from
Purchaser or any of its Affiliates in connection with the sale and purchase of the Purchased Assets
to be acquired by Purchaser any material damages, or (ii) seeking to prohibit Purchaser or any of
its Affiliates from effectively controlling or operating any portion of the business of Seller or the
Purchased Assets to be acquired by Purchaser;

            (d)      no Governmental Order shall be in effect which restrains or enjoins the
consummation of the transactions contemplated by this Agreement;

              (e)    Seller shall have delivered to Purchaser all of the certificates, instruments
and other documents required to be delivered by it at or prior to the Closing pursuant to Section
2.2;

               (f)     the Bankruptcy Court shall have entered the Sale Order, which shall be a
final order and which shall be in all respects consistent with the terms of this Agreement and
otherwise satisfactory to Purchaser and the Connecticut Families, and no order staying, reversing,
modifying, or amending the Sale Order shall be in effect; and

              (g)     all Assumed and Assigned Contracts shall have been assigned by Seller to
Purchaser pursuant to sections 105 and 365 of the Bankruptcy Code.

                6.2     Conditions to Obligations of Seller. The obligations of Seller to
consummate the transactions contemplated by this Agreement are subject to the satisfaction or
fulfillment at or prior to the Closing of the following conditions, any of which may be waived in
whole or in part by Seller in writing:

                (a)      all representations and warranties of Purchaser contained in this Agreement
shall be true and correct in all material respects at and as of the Closing with the same effect as
though such representations and warranties were made at and as of the Closing (other than any
representation or warranty that is expressly made as of a specified date, which shall be true and
correct in all material respects as of such specified date only);

                (b)   Purchaser shall have performed and complied in all material respects with
the covenants and agreements required by this Agreement to be performed or complied with at or
prior to the Closing;


                                                 10
15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
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                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page15
                                                                 16of
                                                                    of75
                                                                       76




                (c)     there shall be in effect no Law making illegal or otherwise prohibiting or
restraining the consummation of the transactions contemplated by this Agreement. There shall not
be pending or threatened in writing by any Governmental Authority of competent jurisdiction any
proceeding (i) challenging or seeking to restrain, prohibit, alter or materially delay the sale and
purchase of the Purchased Assets or any of the other transactions contemplated by this Agreement,
or seeking to obtain from Purchaser or any of its Affiliates in connection with the sale and purchase
of the Purchased Assets to be acquired by Purchaser any material damages, or (ii) seeking to
prohibit Purchaser or any of its Affiliates from effectively controlling or operating any portion of
the business of Seller or the Purchased Assets to be acquired by Purchaser;

                 (d)   Purchaser shall have delivered to Seller the Cash Payment and all of the
certificates, instruments and other documents required to be delivered by Purchaser at or prior to
the Closing pursuant to Section 2.3.

               6.3    Non-Survival of Representations and Warranties.            None of the
representations, warranties, covenants and agreements of Seller contained in this Agreement or
other instrument delivered pursuant to this Agreement, including any rights arising out of any
breach of such representations, warranties, covenants and agreements, shall survive the Closing
Date.


                                           AS IS SALE

            7.1  As Is Sale. PURCHASER HEREBY ACKNOWLEDGES AND AGREES
THAT, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN ARTICLE III OF THIS
AGREEMENT, SELLER MAKES NO REPRESENTATIONS OR WARRANTIES
WHATSOEVER, WHETHER WRITTEN OR ORAL, EXPRESS OR IMPLIED, WITH
RESPECT TO ANY MATTER RELATING TO THE PURCHASED ASSETS, INCLUDING
WITHOUT LIMITATION, ANY WARRANTY AGAINST PATENT, TRADEMARK,
COPYRIGHT OR TRADE SECRET INFRINGEMENT. WITHOUT IN ANY WAY LIMITING
THE FOREGOING, SELLER HEREBY DISCLAIMS ANY WARRANTY, EXPRESS OR
IMPLIED, OF MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS
TO ANY PORTION OF THE PURCHASED ASSETS. PURCHASER FURTHER
ACKNOWLEDGES THAT PURCHASER HAS CONDUCTED AN INDEPENDENT
INSPECTION AND INVESTIGATION OF THE PURCHASED ASSETS. ACCORDINGLY,
PURCHASER WILL ACCEPT THE PURCHASED ASSETS AT THE CLOSING “AS IS,”
“WHERE IS,” AND “WITH ALL FAULTS.”


                                         TERMINATION

              8.1    Termination. This Agreement and the transactions contemplated hereby
may be terminated and abandoned:

               (a)     by either Seller or Purchaser at any time prior to the Closing with the mutual
written consent of the other;



                                                 11
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page16
                                                                 17of
                                                                    of75
                                                                       76




                (b)     unless the Closing has not occurred as a result of a breach of this Agreement
as provided for under section 8.1(d) or 8.1(e) by the party seeking such termination, by either
Seller or Purchaser, upon three (3) days written notice of such termination filed with the
Bankruptcy Court and served upon the non-terminating party, if the Closing has not occurred on
or prior to 5:00 p.m., Houston, Texas time on December 31, 2024 (the “Termination Date”);

                (c)    by either Seller or Purchaser if any Governmental Authority with
jurisdiction over such matters shall have issued a final and non-appealable Governmental Order
permanently restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated by this Agreement; provided, however, that neither Seller nor Purchaser may
terminate this Agreement pursuant to this Section 8.1(c) unless the party seeking so to terminate
this Agreement has used commercially reasonable efforts to oppose any such Governmental Order
or to have such Governmental Order vacated or made inapplicable to the transactions contemplated
by this Agreement;

               (d)     by Seller (provided that neither Seller nor any Affiliate thereof is in material
breach of any of the representations, warranties, covenants or other agreements contained herein),
but only if Purchaser shall have breached, in any material respect, any representation or warranty
or any covenant or other agreement to be performed by it contained herein, and such breach is
incapable of being cured or is not cured within three (3) days of receipt of written notice thereof
from Seller;

               (e)      by Purchaser (provided that neither Purchaser nor any Affiliate thereof is in
material breach of any of the representations, warranties, covenants or other agreements contained
herein), but only (i) if Seller shall have breached, in any material respect, any representation or
warranty or any covenant or other agreement to be performed by it contained herein, and such
breach is incapable of being cured or is not cured within three (3) days of receipt of written notice
thereof from Purchaser;

                8.2     Effect of Termination. In the event of a termination of this Agreement under
Section 8.1, this Agreement will become void and of no further force or effect, except for the
provisions of (a) Section 8.3 relating to the payment of fees and expenses, and (b) this Section 8.2.
Notwithstanding any provision of this Agreement or the documents to be delivered hereunder to
the contrary, neither the termination of this Agreement, nor anything contained in this Section 8.2,
will be deemed to release any party from any liability due to, or prevent the other party from
exercising their rights and remedies under this Agreement or any ancillary document with respect
to, the breach by any such party of the covenants or agreements of such party in the Agreement or
any ancillary document, in each case, prior to the date of such termination provided however, that
such right to terminate shall be Purchaser’s sole and exclusive remedy for any breach by Seller.

               8.3     Fees and Expenses. Each of the parties hereto will be responsible for and
pay its own legal, accounting and other fees and expenses, including, without limitation,
reasonable attorneys’ and accountants’ fees and expenses and the fees and expenses of financial
consultants, investment bankers, lenders and other consultants, incurred in connection with the
transactions contemplated hereby, including, without limitation, the due diligence review, and the
negotiation, preparation and execution of this Agreement, any ancillary agreements and any other
instrument or documented contemplated hereby.

                                                  12
15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
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                                                on11/18/24
                                                   12/05/24 Page
                                                            Page17
                                                                 18of
                                                                    of75
                                                                       76




                                       MISCELLANEOUS

                9.1    Notices. All notices, requests, demands, claims and other communications
that are required or may be given pursuant to this Agreement must be in writing and delivered
personally against written receipt, by reputable international overnight courier, by telecopy or
facsimile or by registered or certified mail, return receipt requested, postage prepaid, to the parties
at the following addresses (or to the attention of such other Person or at such other address as any
party may provide to the other party by notice in accordance with this Section 9.1):

               if to Purchaser, to:

               War Is Over, LLC
               c/o Global Tetrahedron, LLC
               Attn: Paula Brillson, Esq.
               [•]
               [•]
               Email: pbrillson@theonion.com

               With copies (which will not
               constitute notice hereunder) to:

               Seward & Kissel LLP
               Attn: John R. Ashmead, Esq.
                      Andrew J. Matott, Esq.
               One Battery Park Plaza
               New York, NY 10004
               Email: ashmead@sewkis.com
                      matott@sewkis.com

               if to the Seller, to:

               Christopher R. Murray, Chapter 7 Trustee
               602 Sawyer Street, Suite 400
               Houston, Texas 77007
               Email: chris@jonesmurray.com

               With copies (which will not
               constitute notice hereunder) to:

               Joshua W. Wolfshohl
               Porter Hedges LLP
               1000 Main St., 36th Floor
               Houston, Texas 77002
               Email: jwolfshohl@porterhedges.com

               and

                                                  13
15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page18
                                                                 19of
                                                                    of75
                                                                       76




               Erin E. Jones
               Jones Murray LLP
               602 Sawyer Street, Suite 400
               Houston, Texas 77007
               Email: erin@jonesmurray.com

Any such notice or other communication will be deemed to have been given (i) if personally
delivered, when so delivered, against written receipt, or (ii) if sent by reputable international
overnight courier, when so delivered with delivery confirmed by the courier service.

                9.2     Amendments and Waiver; Exclusive Remedies. This Agreement may not
be modified or amended except in writing signed by the party or parties against whom enforcement
is sought. The terms of this Agreement may be waived only by a written instrument signed by the
party or parties waiving compliance. No waiver of any provision of this Agreement shall be
deemed or shall constitute a waiver of any other provision hereof (whether or not similar), nor
shall such waiver constitute a continuing waiver unless otherwise provided. No delay on the part
of any party hereto in exercising any right, power or privilege hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of any right, power or privilege hereunder preclude
any other or further exercise thereof or the exercise of any other right, power or privilege
hereunder. Whenever this Agreement requires or permits consent by or on behalf of a party, such
consent shall be given in writing in a manner consistent with the requirements for a waiver of
compliance as set forth in this Agreement. The rights and remedies herein provided shall be the
exclusive rights and remedies available to the parties hereto at law or in equity.

                9.3     Entire Agreement. This Agreement and the related documents contained as
Exhibits and Schedules hereto or expressly contemplated hereby contain the entire understanding
of the parties relating to the subject matter hereof and supersede all prior written or oral and all
contemporaneous oral agreements and understandings relating to the subject matter hereof. The
Exhibits and Schedules to this Agreement are hereby incorporated by reference into and made a
part of this Agreement for all purposes.

               9.4     Third Party Beneficiaries. This Agreement is made for the sole benefit of
the parties hereto and their respective successors, executors and permitted assigns, and nothing
contained herein, express or implied, is intended to or shall confer upon any other Person any third-
party beneficiary right or any other legal or equitable rights, benefits or remedies of any nature
whatsoever under or by reason of this Agreement (except to the extent that any Affiliates of Seller
is expressly covered by an indemnity herein).

                9.5     Governing Law. This Agreement will be governed by and construed and
interpreted in accordance with the substantive Laws of the State of Texas, without giving effect to
any choice of law or conflicts of Law provision or rule that would cause the application of the
Laws of a jurisdiction other than Texas. Each party irrevocably consents to the service of any and
all process in any action or proceeding arising out of or relating to this Agreement by the mailing
of copies of such process to each party at its address specified in Section 9.1. Until the settlement
of the case of Seller before the Bankruptcy Court, the parties hereto irrevocably submit to the
exclusive jurisdiction of the Bankruptcy Court (or any court exercising appellate jurisdiction over

                                                 14
15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page19
                                                                 20of
                                                                    of75
                                                                       76




the Bankruptcy Court) over any dispute arising out of or relating to this Agreement or any other
agreement or instrument contemplated hereby or entered into in connection herewith or any of the
transactions contemplated hereby or thereby. Each party hereby irrevocably agrees that all claims
in respect of such dispute or proceedings may be heard and determined in such court. The parties
hereby irrevocably waive, to the fullest extent permitted by applicable law, any objection which
they may now or hereafter have to the laying of venue of any such dispute brought in such court
or any defense of inconvenient forum in connection therewith. The prevailing party shall be
entitled to recoup legal fees and costs (including, without limitation, the award of interim
attorneys’ fees and expenses on a claim-by-claim or partial basis) incurred by the prevailing party.

                9.6    Neutral Construction. The parties hereto agree that this Agreement was
negotiated fairly between them at arms’ length and that the final terms of this Agreement are the
product of the parties’ negotiations. Each party represents and warrants that it has sought and
received legal counsel of its own choosing with regard to the contents of this Agreement and the
rights and obligations affected hereby. The parties hereto agree that this Agreement shall be
deemed to have been jointly and equally drafted by them, and that no provisions of this Agreement
should be construed against either party on the grounds that such party drafted or was more
responsible for drafting such provision.

                9.7     Severability. In the event that any one or more of the provisions or parts of
a provision contained in this Agreement shall for any reason be held to be invalid, illegal or
unenforceable in any respect in any jurisdiction, such invalidity, illegality or unenforceability shall
not affect any other provision or part of a provision of this Agreement or any other jurisdiction,
but this Agreement shall be reformed and construed in any such jurisdiction as if such invalid or
illegal or unenforceable provision or part of a provision had never been contained herein and such
provision or part shall be reformed so that it would be valid, legal and enforceable to the maximum
extent permitted in such jurisdiction, provided that any such reform or construction does not affect
the economic or legal substance of the transactions contemplated hereby in a manner adverse to
any party.

               9.8    Extended Meanings. Words importing the singular include the plural and
vice versa and words importing gender include all genders, unless the context otherwise requires.

                9.9     Counterparts; Facsimile Delivery. This Agreement may be executed and
delivered in one or more counterparts, each of which shall be an original, but all of which together
shall constitute one and the same instrument. This Agreement may also be executed and delivered
by facsimile, PDF or other electronic file with the same force and effect as if originally executed
copies of this Agreement had been delivered by the parties hereto. If this Agreement is executed
and delivered in counterparts or by a facsimile, PDF or other electronic file, any party may
thereafter require that both parties originally execute and deliver a sufficient number of additional
copies of this Agreement so that each party may have two fully executed originals of this
Agreement.

          9.10 Submission to Jurisdiction. ANY LEGAL SUIT, ACTION OR
PROCEEDING ARISING OUT OF OR BASED UPON THIS AGREEMENT, THE OTHER
TRANSACTION DOCUMENTS OR THE TRANSACTIONS CONTEMPLATED HEREBY OR
THEREBY SHALL BE INSTITUTED IN THE BANKRUPTCY COURT AND, TO THE

                                                  15
15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
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                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page20
                                                                 21of
                                                                    of75
                                                                       76




EXTENT THE BANKRUPTCY COURT DOES NOT HAVE OR DOES NOT ACCEPT
JURISDICTION TO ADJUDICATE SUCH MATTER MAY BE INSTITUTED IN THE
FEDERAL COURTS OF THE UNITED STATES OF AMERICA OR THE COURTS OF THE
STATE OF TEXAS IN EACH CASE LOCATED IN HARRIS COUNTY, STATE OF TEXAS.
EACH PARTY IRREVOCABLY SUBMITS TO THE EXCLUSIVE JURISDICTION OF EACH
SUCH COURTS IN ANY SUCH SUIT, ACTION OR PROCEEDING. SERVICE OF
PROCESS, SUMMONS, NOTICE OR OTHER DOCUMENT BY MAIL TO SUCH PARTY’S
ADDRESS SET FORTH HEREIN WILL BE EFFECTIVE SERVICE OF PROCESS FOR ANY
SUIT, ACTION, OR OTHER PROCEEDING BROUGHT IN ANY SUCH COURT. THE
PARTIES IRREVOCABLY AND UNCONDITIONALLY WAIVE ANY OBJECTION TO THE
LAYING OF VENUE OF ANY SUIT, ACTION OR ANY PROCEEDING IN SUCH COURTS
AND IRREVOCABLY WAIVE AND AGREE NOT TO PLEAD OR CLAIM IN ANY SUCH
COURT THAT ANY SUCH SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH
COURT HAS BEEN BROUGHT IN AN INCONVENIENT FORUM.

            9.11 Waiver of Jury Trial. EACH PARTY HERETO ACKNOWLEDGES AND
AGREES THAT ANY CONTROVERSY WHICH MAY ARISE UNDER THIS AGREEMENT
IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES, AND THEREFORE
IT HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT IT MAY
HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT AND ANY OF
THE AGREEMENTS DELIVERED IN CONNECTION HEREWITH OR THE
TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY. EACH PARTY HERETO
CERTIFIES AND ACKNOWLEDGES THAT (A) NO REPRESENTATIVE, AGENT OR
ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE SUCH WAIVER, (B) IT UNDERSTANDS AND HAS
CONSIDERED THE IMPLICATIONS OF SUCH WAIVER, (C) IT MAKES SUCH WAIVER
VOLUNTARILY, AND (D) IT HAS BEEN INDUCED TO ENTER INTO THIS AGREEMENT
BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
SECTION 9.11.

                9.12 Further Assurances. In addition to the actions, documents, files, pleadings
and instruments specifically required to be taken or delivered by this Agreement, whether on or
before or from time to time after the Closing, and without further consideration, each party hereto
shall make commercially reasonable efforts to take such other actions, and execute and/or deliver
such other documents, data, pleadings, files, information and instruments, as the other party hereto
or its counsel may reasonably request in order to effectuate and perfect the transactions
contemplated by this Agreement, including without limitation, such actions as may be necessary
to transfer to Purchaser and to place Purchaser in possession or control of, all of the rights,
properties, assets and businesses intended to be sold, transferred, conveyed, assigned and delivered
hereunder, or to assist in the collection of any and all such rights, properties and assets or to enable
Purchaser to exercise and enjoy all rights and benefits of Seller with respect thereto.




                                                  16
15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page21
                                                                 22of
                                                                    of75
                                                                       76




                                           DEFINITIONS

              10.1 Certain Definitions. The following terms, when used herein, shall have the
respective meanings set forth below:

        “Affiliate” means, with respect to any Person, (i) any other Person directly or indirectly
Controlling, Controlled by or under common Control with, such Person, (ii) any other Person that
owns or Controls 10% or more of any class of equity securities (including any equity securities
issuable upon the exercise of any option or convertible security) of such Person or any of its
Affiliates, (iii) any director, partner, member, officer, manager, agent, employee or relative of such
Person, or (iv) any alter ego of such Person.

       “Agreement” has the meaning set forth in the preamble hereto.

       “Assigned Intellectual Property” has the meaning set forth in Section 1.1(a)(i).

       “Assigned Inventory” has the meaning set forth in Section 1.1(a)(iii).

       “Assigned Licenses” has the meaning set forth in Section 1.1(a)(vi).

       “Assignment of Intellectual Property” has the meaning set forth in Section 2.2(a)(ii).

       “Assigned Personal Property” has the meaning set forth in Section 1.1(a)(ii).

       “Assigned Studies” has the meaning set forth in Section 1.1(a)(v).

           “Bankruptcy Case” has the meaning set forth in the recitals hereto.

       “Bankruptcy Code” has the meaning set forth in the recitals hereto.

       “Bankruptcy Court” has the meaning set forth in the recitals hereto.

       “Bill of Sale” has the meaning set forth in Section 2.2(a)(ii).

       “Business Day” means any day other than Saturday, Sunday or any day on which banks
in Texas are required or authorized to be closed.

       “Cash Payment” has the meaning set forth in Section 1.3(a).

        “Claims” shall mean all claims, causes of action, choses in action, rights of recovery and
rights of set-off of whatever kind or description against any Person arising out of or relating to the
Purchased Assets, the business of Seller or relating to Seller.

       “Closing” has the meaning set forth in Section 2.1.

       “Closing Date” has the meaning set forth in Section 2.1.



                                                  17
15620508
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     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
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                                                on11/18/24
                                                   12/05/24 Page
                                                            Page22
                                                                 23of
                                                                    of75
                                                                       76




       “Connecticut Families” means Mark Barden, Jacqueline Barden, Francine Wheeler,
David Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg,
William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi,
Robert Parker, and Erica Ash.

       “Contract” means any contract, agreement, indenture, note, bond, instrument, lease,
conditional sales contract, mortgage, license, franchise agreement, concession agreement,
insurance policy, security interest, guaranty, binding commitment, purchase order or other
agreement or arrangement, whether written or oral.

        “Control” (including, with correlative meanings, the terms “controlling”, “controlled by”
and “under common control with”) means, with respect to any Person, the possession, directly or
indirectly, of the power to direct or cause the direction of the management and policies of such
Person, whether through ownership of voting securities, by contract or otherwise.

       “Deposit” has the meaning set forth in Section 1.3(a).

       “Distributable Proceeds Waiver” means, in accordance with the Sale Order and on the
terms set forth herein, the commitment by the Connecticut Families to forgo the Distributable
Proceeds Waiver Amount and the assignment of the Distributable Proceeds Waiver Amount to the
Trustee for the benefit of all other unsecured creditors of FSS.

       “Distributable Proceeds Waiver Amount” means the amount set forth in the Sale Order.

       “Effective Time” means 12:01 a.m. Houston, Texas time on the Closing Date.

        “Encumbrance” means any lien (statutory or otherwise), claim (as defined in Section
101(5) of the Bankruptcy Code), hypothecation, Liability, security interest, interest, mortgage,
pledge, restriction, charge, instrument, preference, priority, security agreement, easement,
covenant, encroachment, option, right of recovery, Tax (including foreign, federal, state and local
Tax), or similar interests, of any kind or nature (including (i) any conditional sale or other title
retention agreement and any lease having substantially the same effect as any of the foregoing, (ii)
any assignment or deposit arrangement in the nature of a security device, and (iii) any leasehold
interest or other right, in favor of a third party or a Seller, to use any portion of the Purchased
Assets), whether secured or unsecured, choate or inchoate, filed or unfiled, scheduled or
unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or non-contingent, material
or non-material, known or unknown.

       “Excluded Assets” has the meaning set forth in Section 1.1(b).

       “Excluded Liabilities” has the meaning set forth in Section 1.2(b).

       “Governmental Authority” means any government or political subdivision thereof, any
governmental entity, quasi-governmental entity, administrative agency, department, commission,
board, authority, division, agency or instrumentality, and any court, tribunal or judicial body, in
each case whether federal, state, county, provincial, municipal, local or foreign.



                                                18
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page23
                                                                 24of
                                                                    of75
                                                                       76




       “Governmental Order” means any Law, judgment, injunction, decree, stipulation or
determination issued, promulgated or entered by or with any Governmental Authority of
competent jurisdiction.

         “Intellectual Property” means all worldwide intellectual property rights, registered or
unregistered, including any (i) trademarks, service marks, trade dress, logos, labels, advertising
and package design, trade names, corporate names and domain names, the goodwill associated
therewith, and any registrations and applications for registration thereof, (ii) copyrights, and any
registrations and applications for registration thereof, including copyrights in any Software,
(iii) URLs, domain names, and Internet web sites; (iv) trade secrets and confidential business
information (whether patentable or unpatentable and whether or not reduced to practice), know-
how, research and development information, Software, drawings, specifications, designs, plans,
proposals, technical data, bills of materials, copyrightable works, financial marketing and business
data, pricing and cost information, business and marketing plans and customer and supplier lists
and information, (vi) copies and tangible embodiments thereof (in whatever form or medium),
(vii) licenses granting rights with respect to any of the foregoing; and (viii) registrations and
applications for registration with respect to any of the foregoing.

       “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended, any
successor statute thereto and the rules and regulations promulgated thereunder.

       “Law” means any statute, law (including common law), decree, permit, License,
ordinance, order, regulation, rule, code or requirement of any Governmental Authority.

       “Licenses” shall mean any of the licenses, permits, certificates, exemptions, registrations,
and other authorizations necessary or proper for the use or operation of the Purchased Assets.

        “Permitted Encumbrances” means Liens for Taxes, assessments or other similar charges
not yet due and payable.

         “Person” means any individual, general or limited partnership, firm, corporation, limited
liability company, association, trust, unincorporated organization, Governmental Authority or
other entity.

       “Petition Date” has the meaning set forth in the recitals hereto.

           “Purchase Price” has the meaning set forth in Section 1.3(a).

       “Purchased Assets” has the meaning set forth in Section 1.1(a).

       “Purchaser” has the meaning set forth in the preamble hereto.

        “Sale Order” means an order of the Bankruptcy Court approving this Agreement and the
Distributable Proceeds Waiver pursuant to sections 105, 363, and 365 of the Bankruptcy Code,
which shall be in form and substance reasonably acceptable to Purchaser,      the Connecticut
Families and the Trustee.

       “Seller” has the meaning set forth in the preamble hereto.

                                                 19
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page24
                                                                 25of
                                                                    of75
                                                                       76




        “Software” means computer programs, including any and all software implementations or
algorithms, module and methodologies whether in source code, object code or other form,
databases and compilations, including any and all data and collections of data, descriptions, flow
charts and other work product used to design, plan, organize and develop any of the foregoing and
all documentation, including user manuals and training materials related to any of the foregoing,
used in the business of Seller or relating to the Intellectual Property.

        “Subsidiary” means, with respect to any Person, any corporation, general or limited
partnership, limited liability company, joint venture or other legal entity of any kind of which such
Person (either alone or through or together with one or more of its other Subsidiaries) owns or
controls (by contract or otherwise), directly or indirectly, more than 50% of the stock or other
equity interests, the holders of which are (a) generally entitled to vote for the election of the board
of directors or other governing body of such legal entity or (b) generally entitled to share in the
profits or capital of such legal entity.

        “Tax” means any federal, state, county, provincial, local or foreign income, gross receipts,
sales, use, ad valorem, employment, severance, transfer, gains, profits, excise, franchise, property,
capital stock, premium, minimum and alternative minimum or other taxes, fees, levies, duties,
assessments or charges of any kind or nature whatsoever imposed by any Governmental Authority
(whether payable directly or by withholding), together with any interest, penalties (civil or
criminal), additions to or additional amounts imposed by, any Governmental Authority with
respect thereto.

      “Tax Return” means a report, return or other information required to be supplied to a
Governmental Authority with respect to any Tax.

       “Termination Date” has the meaning set forth in Section 8.1(b).

           “Trustee” has the meaning set forth in the recitals hereto.

       “Update” has the meaning set forth in Section 5.7.

       “Winddown Order” has the meaning set forth in the recitals hereto.

                10.2 Interpretation. For purposes of this Agreement, except as otherwise
expressly provided herein or unless the context otherwise requires: (i) words using the singular or
plural number also include the plural or singular number, respectively, and the use of any gender
herein shall be deemed to include the other genders, (ii) references herein to “Articles,” “Sections,”
“subsections” and other subdivisions without reference to a document are to the specified Articles,
Sections, subsections and other subdivisions of this Agreement, (iii) a reference to a subsection
without further reference to a Section is a reference to such subsection as contained in the same
Section in which the reference appears, and this rule shall also apply to other subdivisions within
a Section or subsection, (iv) the words “herein,” “hereof,” “hereunder,” “hereby” and other words
of similar import refer to this Agreement as a whole and not to any particular provision, (v) the
words “include,” “includes” and “including” are deemed to be followed by the phrase “without
limitation”, (vi) the word “or” shall not be exclusive, (vii) all references to any period of days
(other than references to a period of “Business Days”) shall be deemed to be to the relevant number
of calendar days, and (viii) all references to “$” shall be deemed to mean U.S. dollars.

                                                   20
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page25
                                                                 26of
                                                                    of75
                                                                       76




                         [SIGNATURE PAGES TO FOLLOW]




                                      21
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page26
                                                                 27of
                                                                    of75
                                                                       76




        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
first written above.


 PURCHASER:

 ___________________________________




 Name: __________________
 Title: __________________


 SELLER:

 FREE SPEECH SYSTEMS LLC AND CHRISTOPHER R.
 MURRAY ON BEHALF OF THE BANKRUPTCY ESTATE OF
 ALEXANDER E. JONES




 Name: Christopher Murray
 Title: Solely in his capacity as Chapter 7 Trustee for the
 Bankruptcy Estate of Alexander E. Jones




15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page27
                                                                 28of
                                                                    of75
                                                                       76




                                         EXHIBIT A
                                    FORM OF BILL OF SALE


                                       BILL OF SALE

        For good and valuable consideration, the receipt and adequacy of which are hereby
acknowledged, Free Speech Systems LLC, a Texas limited liability company (“FSS”), and
Christopher R. Murray, as Chapter 7 Trustee of the Bankruptcy Estate of Alexander E. Jones
(together with FSS, the “Seller”), does hereby grant, bargain, transfer, sell, assign, convey and
deliver to __________________, a __________________ (“Purchaser”), all of its right, title, and
interest in and to the Purchased Assets, as such term is defined in the Asset Purchase Agreement,
and any other tangible personal property included in the Purchased Assets, dated as of
______________ (the “Purchase Agreement”), by and between Seller and Purchaser, to have and
to hold the same unto Purchaser, its successors and assigns, forever.

        Purchaser acknowledges that Seller makes no representation or warranty with respect to
the assets being conveyed hereby except as specifically set forth in the Purchase Agreement.

                                    (Signature page follows)




                                          -2 -
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page28
                                                                 29of
                                                                    of75
                                                                       76




IN WITNESS WHEREOF, Purchaser and Seller have duly executed this Bill of Sale as of
___________.

                                               SELLER:


                                               FREE SPEECH SYSTEMS LLC
                                               AND CHRISTOPHER R. MURRAY
                                               ON    BEHALF     OF   THE
                                               BANKRUPTCY     ESTATE  OF
                                               ALEXANDER E. JONES




                                               By:____________________________
                                               _
                                               Name: Christopher Murray
                                               Title: Solely in his capacity as Chapter
                                               7 Trustee for the Bankruptcy Estate of
                                               Alexander E. Jones




                                              PURCHASER:
                                              WAR IS OVER, LLC
                                              ____________________




                                              By:____________________________
                                              _
                                              Name: _________________________
                                              Title: __________________________




                                       -3 -
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page29
                                                                 30of
                                                                    of75
                                                                       76




                                  -4 -
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page30
                                                                 31of
                                                                    of75
                                                                       76




                                             EXHIBIT B


                      ASSIGNMENT OF INTELLECTUAL PROPERTY

       This Assignment of Intellectual Property (this “Agreement”), is entered into as of
_____________, by Free Speech Systems LLC, a Texas limited liability company (“FSS”), and
Christopher R. Murray, as Chapter 7 Trustee of the Bankruptcy Estate of Alexander E. Jones
(together with FSS, the “Assignor”), and War is Over LLC, an Illinois Limited Liability company
(the “Assignee”), pursuant that certain Asset Purchase Agreement, by and between the Assignor
and the Assignee, dated ________________ (the “Purchase Agreement”). The Assignor and the
Assignee are each referred to individually as “Party,” and collectively as “Parties.”

         The Assignor and the Assignee desire to ensure that the Assignee is the sole owner of all
right, title and interest in, to and under all Assigned Intellectual Property (as defined in the
Purchase Agreement).

       In consideration of the mutual promises contained in this Agreement and the Purchase
Agreement and other good and valuable consideration, the receipt and sufficiency of which is
hereby acknowledged, the parties hereto agree as follows:

       1.     Definitions. Capitalized terms used in this Agreement but not defined herein have
the meaning given to them in the Purchase Agreement.

        2.       Assignment. The Assignor hereby, absolutely and unconditionally, conveys, sells,
assigns, transfers, grants and sets over unto the Assignee, all of such Assignor’s worldwide rights,
title and interest and benefit in and to the Assigned Intellectual Property owned by such Assignor
and related to or associated with the business of the Assignor, including without limitation all
common law rights for which no applications of or registrations exist, all applications to register
any of the Assigned Intellectual Property Rights, and all registrations that have been or may be
granted for any of the Assigned Intellectual Property Rights set forth on Schedule 1 to this
Agreement, together with all rights of action, both at law and in equity with respect thereto,
including without limitation all rights to sue, settle any claim, and collect all damages for any past,
present, or future infringement or misappropriation of such Assigned Intellectual Property,
including without limitation the goodwill of the businesses connected to the use of any of such
Assigned Intellectual Property, the same to be held and enjoyed by the Assignee, its successors
and assigns forever, as fully and entirely as the same could have been held and enjoyed by the
Assignor if this sale had not been made and the Assignee does hereby accept such sale, assignment,
transfer, grant, conveyance and set over.

         3.     Warranties. Each Party represents, warrants, and covenants to the other Party
that: (i) such Party has the full power, authority and legal right to enter into and perform this
Agreement; and (ii) this Agreement is a legal, valid and binding obligation of such Party,
enforceable against such Party in accordance with its terms.

           4. Recordation. The Assignor authorizes and requests the U.S. Patent and Trademark
Office, or any foreign equivalent thereto, and any other Governmental Authority (as defined in the


                                             -5 -
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page31
                                                                 32of
                                                                    of75
                                                                       76




Purchase Agreement), to record the Assignee as owner of the Assigned Intellectual Property and
of the entire title and interest in, to and under the same, for the use and enjoyment of the Assignee,
its successors, assigns and other legal representatives.

         5.     Cooperation. The Assignor hereby covenants and agrees that it will communicate
to the Assignee, its successors, legal representatives and assigns, any material facts (including, but
not limited to, information relating to use or non-use, enforceability, or infringement of the
Assigned Intellectual Property) known to it with respect to the Assigned Intellectual Property and
testify in any legal proceeding, sign all lawful papers, execute all applications (including, but not
limited to, powers of attorney, specific assignments, transfers and assurances), make all rightful
oaths and use its reasonable best efforts at the request of the Assignee to aid the Assignee, its
successors, legal representatives and assigns in obtaining and enforcing protection for such
Assigned Intellectual Property and in enjoying the full benefits thereof. The Assignor hereby
constitutes and appoints the Assignee the true and lawful attorney of the Assignor to act as the
Assignor’s attorney-in-fact solely for the purpose of executing any documents and taking all
necessary steps to cause the Assignor to perform any of its obligations set forth in this Agreement.

       6.      Further Assurances.

                 a.     Assignor hereby agrees to execute and deliver such other documents and to
take all such other actions (at Assignee’s cost) which Assignee, its successors and/or assigns may
reasonably request to effect the terms of this Assignment, and to execute and deliver any and all
affidavits, testimonies, declarations, oaths, samples, exhibits, specimens and other documentation
as may be reasonably required to effect the terms of this Assignment and its recordation in relevant
state and national trademark offices.

                b.     Assignor hereby irrevocably designates and appoints Assignee and its duly
authorized officers and agents as Assignor’s agent and attorney-of-record, coupled with an interest
and with full power of substitution, to act for and on Assignor’s behalf and instead of Assignor, to
execute and file any such document or documents and to do all other lawfully permitted acts to
further the purposes of the foregoing with the same legal force and effect as if executed by
Assignor, including the power to insert on this Assignment any further identifying information
describing the parties or the marks listed in Schedule I hereto, that may be necessary or desirable
in order to comply with the rules of the United States Patent and Trademark Office, or rules of
other entities including but not limited to United States or foreign governments or patent and
trademark offices, for recordation of this document.

       7.      Future Use of the Assigned Intellectual Property. After the Effective Date,
Assignor agrees to make no further use of the Assigned Intellectual Property or use any domain
names, social media handles or any marks confusingly similar thereto, anywhere in the world, and
Assignor agrees to not challenge Assignee’s use or ownership, or the validity, of the Assigned
Trademarks. Assignor hereby acknowledges and agrees that from and after the date hereof, the
Assignee shall be the exclusive owner of the Assigned Intellectual Property.

       8.      No Waiver. The failure of any party to enforce any terms or provisions of this
Assignment shall not waive any of its rights under such terms or provisions. This Assignment shall
bind and inure to the benefit of the respective parties and their assigns, transferees and successors.

                                            -6 -
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page32
                                                                 33of
                                                                    of75
                                                                       76




        9.     Counterparts. This Agreement may be executed in counterparts, each of which shall
be deemed an original, but all of which together shall be deemed one and the same agreement. A
signed copy of this Agreement delivered by facsimile, e-mail, or other means of electronic
transmission shall be deemed to have the same legal effect as delivery of an original signed copy
of this Agreement.

       10.      Successors and Assigns. This Agreement shall be binding upon and shall inure to
the benefit of the parties hereto and their respective successors and assigns.

       11.     Governing Law. This Agreement and any claim, controversy, dispute, or cause of
action (whether in contract, tort, or otherwise) based upon, arising out of, or relating to this
Agreement and the transactions contemplated hereby shall be governed by, and construed in
accordance with, the laws of the United States and the State of Texas, without giving effect to any
choice or conflict of law provision or rule (whether of the State of Texas or any other jurisdiction).

        12.    Entire Agreement; Modification. This Agreement and the Purchase Agreement
constitute the entire agreement between the parties concerning the subject matter hereof. This
Agreement replaces and fully supersedes any prior verbal or written understandings,
communications, or representations between the parties. This Agreement will not be modified
except by a subsequently dated written amendment signed by a duly authorized representative of
each party.

        13.    Severability. If any provision of this Agreement is held to be illegal or
unenforceable, such provision will be limited or eliminated to the minimum extent necessary so
that the remainder of this Agreement will continue in full force and effect and enforceable.




                                          (Signature page follows)




                                            -7 -
15620508
     Case
     Case22-33553
          22-33553 Document
                   Document955-13
                            915-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on11/18/24
                                                   12/05/24 Page
                                                            Page33
                                                                 34of
                                                                    of75
                                                                       76




        IN WITNESS WHEREOF, the Assignors and the Assignee have executed this Agreement
as of the day and year first above written.

                                ASSIGNOR:

                                FREE SPEECH SYSTEMS LLC AND CHRISTOPHER R.
                                MURRAY ON BEHALF OF THE BANKRUPTCY ESTATE OF
                                ALEXANDER E. JONES




                                Name: Christoper Murray
                                Title: Solely in his capacity as Chapter 7 Trustee for the
                                Bankruptcy Estate of Alexander E. Jones


                                ASSIGNEE:

                                WAR IS OVER LLC
                                _____________________________________




                                Name:
                                Title:




15620508
Case
Case22-33553
     22-33553 Document
              Document955-13
                       915-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on11/18/24
                                              12/05/24 Page
                                                       Page34
                                                            35of
                                                               of75
                                                                  76




                           SCHEDULE 1.1

                        Offering Memorandum
                            Case
                            Case22-33553
                                 22-33553 Document
                                          Document955-13
                                                   915-1 Filed
                                                         FiledininTXSB
                                                                  TXSBon
                                                                       on11/18/24
                                                                          12/05/24 Page
                                                                                   Page35
                                                                                        36of
                                                                                           of75
                                                                                              76


                                                                                              Offering Memorandum
                                                                                                                            Intellectual Property
                                                                                                                          Production Equipment


Chapter 7 Bankruptcy, Case No. 22-33553




SEALED BID OFFERING                                                                                                               October 11, 2024

       STRATEGIC                                                      CREATIVE                                                 COLLABORATIVE

    Sales Agent, on behalf of Trustee, makes every effort to provide accurate information; however in no way is accuracy of the information provided
    guaranteed. Prospective Buyer shall bear full responsibility and burden for due diligence regarding the Assets offered for sale and to confirm the
    accuracy of any provided information. Prospective Buyers are recommended to inspect all Assets and perform their own due diligence. Any
    decision to purchase or not to purchase is the Prospective Buyer’s sole and independent decision and at Prospective Buyer’s sole risk. No
    recourse or cause of action will lie against Trustee or Sales Agent should purchaser become dissatisfied with its decision at a later date. No broker
    or co-broker commissions shall be paid by Trustee or Sales Agent.




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                     Case
                     Case22-33553
                          22-33553 Document
                                   Document955-13
                                            915-1 Filed
                                                  FiledininTXSB
                                                           TXSBon
                                                                on11/18/24
                                                                   12/05/24 Page
                                                                            Page36
                                                                                 37of
                                                                                    of75
                                                                                       76
ALEXANDER E. JONES                    | Offering Memorandum                                              Page 1




                                                                      Multiple Purchase Opportunities for
                                                                           Production Rights, Web Traffic,
                                                                      Social Media, E-Commerce Business,
                                                                            or Bid on the Entire Asset Pool




   Infowars Archival Library & Production Rights

   Social Media Accounts w/ over 1M Followers

   Health, Wellness and Preparedness E-Commerce Site

   100’s of Domain Names

   Approx. 7,000 sq. ft. of Production Facility Equipment



       OFFERING                                   BID FORM                                     TERMS
                           Case
                           Case22-33553
                                22-33553 Document
                                         Document955-13
                                                  915-1 Filed
                                                        FiledininTXSB
                                                                 TXSBon
                                                                      on11/18/24
                                                                         12/05/24 Page
                                                                                  Page37
                                                                                       38of
                                                                                          of75
                                                                                             76
ALEXANDER E. JONES                                 | Offering Memorandum                                                                    Page 2


Important Notes
This packaging and offering is intended for parties interested in either i) a purchase of one or more of the intellectual property lots offered
individually, or ii) a purchase of Intellectual property along with a subset of production equipment. A separate piecemeal auction of the
production facility assets (if not sold thru this offering) and other personal property (i.e. vehicles, gym equipment, etc.), is scheduled to take
place on December 10. For more information go to 360Bid.sale.

Also note that any party bidding on intellectual property and production equipment assets with the interest and intention of continuing
operations of the Infowars operation from its current facility must make necessary arrangements with the facility landlord. Bids submitted
shall assume that the bidder does not require use of the facility, or has made necessary arrangements for future occupancy, and shall
therefore not be contingent upon such arrangements.

This document is subject to updates, revisions and corrections.




        OFFERING                                                   BID FORM                                                    TERMS
                      Case
                      Case22-33553
                           22-33553 Document
                                    Document955-13
                                             915-1 Filed
                                                   FiledininTXSB
                                                            TXSBon
                                                                 on11/18/24
                                                                    12/05/24 Page
                                                                             Page38
                                                                                  39of
                                                                                     of75
                                                                                        76
ALEXANDER E. JONES                            | Offering Memorandum                                                               Page 3


Offering Summary
ASSETS         Lot 1 - Infowars Production                                                                                        Page 5
                    • Production Rights & Materials
                    • Domain Names
                    • Social Media Accounts
                    • Podcast Sites
                    • Newsletter Subscribers
                    • Production Equipment (Optional)

               Lot 2 - Infowars Store
                    • Product Trademarks
                    • Domain Names
                    • E-Commerce Platform
                    • Product Vendor Contacts
                    • Associated Customer Lists

               Lots 3
                    • 100’s of Domain Names (not otherwise included with Lots 1 & 2)


TURNKEY        This is an asset sale of various lots of intellectual property, which may be bid upon individually or in various   Page 8
OPPORTUNITY    combinations. Should a bidder be interested in continuing to operate the Infowars business from where it
               currently operates, this bid package provides an option to include production specific equipment in the bid.
               However, please note that any arrangements to continue occupancy at the production facility must be
               arranged by buyer prior to its bid, as all bids are considered irrevocable and without contingency. For more
               information regarding the following, please go to the data room or contact ThreeSixty.
               - Building Management Contact Information
               - Management Team Interview
PRODUCTION     The production equipment necessary to continue operations on-site is located in approximately 7,000 sq ft of       Page 9
EQUIPMENT      office space at the Infowars facilities. In the event a bidder is interested in negotiating lease terms and
               remaining on-site, this equipment may be included in the offer. A list of equipment and photographs can be
               found in the data room. Equipment only offers will not be entertained through this offering. Equipment
               remaining after the sealed bid process will be sold at online auction on December 10.




       OFFERING                                              BID FORM                                                     TERMS
                       Case
                       Case22-33553
                            22-33553 Document
                                     Document955-13
                                              915-1 Filed
                                                    FiledininTXSB
                                                             TXSBon
                                                                  on11/18/24
                                                                     12/05/24 Page
                                                                              Page39
                                                                                   40of
                                                                                      of75
                                                                                         76
ALEXANDER E. JONES                             | Offering Memorandum                                                               Page 4


Offering Summary
BID            1     ANY AND ALL OFFERS MUST BE SUBMITTED USING THE FORM IN THIS PACKAGE AND SHALL BE                              Page 10
FORM                 SUBJECT TO THE TERMS DEFINED HEREIN AND HIGHLIGHTED BELOW;

               2     OFFERS MUST BE RECEIVED BY FRIDAY, NOVEMBER 8, 2024 AT 2 PM CST; HOWEVER, TRUSTEE
                     RESERVES THE RIGHT TO AMMEND DATES AT ITS SOLE DISCRETION;

               3     BIDS MUST BE ACCOMPANIED BY A 10% DEPOSIT PAYABLE TO THE TRUSTEE ALONG WITH PROOF
                     OF FINANCIAL ABILITY TO CLOSE.


               See Bid Form Provided within this Package
TERMS          TERM HIGHLIGHTS                                                                                                     Page 11

               -     Trustee reserves the right to accept or reject any offer. In the event an offer is accepted, it shall be
                     subject to overbid and US Bankruptcy Court approval. Trustee may evaluate offers against other bulk
                     offers, as well as anticipated revenues from a piecemeal sale of the production assets.
               -     Buyer is responsible for any costs associated with transfer of ownership;
               -     In the case of intangible property, right, title and interest in the Assets is being offered, whereby Buyer
                     shall be granted the rights to any of debtor’s intellectual property subject to Buyer’s own discovery and
                     responsibility for transfer and associated transfer costs;
               -     The Assets are being sold “As-Is” without warranty or guarantee of title. Neither Trustee nor Auctioneer
                     make any representations or warranties regarding the Assets and all Assets are sold by Trustee and
                     Auctioneer without any corresponding grant of rights or clearance from any third parties. Buyer is
                     responsible to conduct its own due diligence and rely on its own discovery. This Offering Memorandum
                     reflects the Trustee’s understanding of the Assets that are part of the Debtor’s bankruptcy estate and
                     that the Trustee has authority to sell, provided however that while the Sale Order provides that the Assets
                     may be sold free and clear of all liens, claims, charges, encumbrances and interests, ownership of certain
                     Assets, the authority to sell certain Assets, or the ability of a buyer to take certain Assets may be
                     contested by other parties.;
               -     Bids shall be in US dollars on a cash basis and shall be irrevocable and non-contingent.
               -     Deposits and payments are due in the form of wire transfer only;


               See Section “Bid Process & Terms” which combined with above and the terms in the Sale Order and any terms
               included in an applicable asset purchase agreement between the parties represent the complete Terms of
               Sale. However, if there is a conflict between these terms and the Order, the Order controls.


        OFFERING                                             BID FORM                                                   TERMS
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                                Case22-33553
                                     22-33553 Document
                                              Document955-13
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                                                                              12/05/24 Page
                                                                                       Page40
                                                                                            41of
                                                                                               of75
                                                                                                  76
ALEXANDER E. JONES                                           | Offering Memorandum                                                                                  Page 5


Lot 1 – Infowars Production Assets
• Production Rights, Archives and Materials
• Trademark
                    •   Infowars
• Domain Names
                    •   Infowars.com, net, .org
                    •   Banned.video
                    •   Over (100) Additional domains pointing to Infowars.com
                        and banned.video (excluding InfowarsStore related domains)
• Social Media Accounts
 Including Access Credentials for Accounts for InfoWars, Banned.Video & The War Room on:
                    •   X, Telegram, Gab, Gettr And Others
• Podcast Sites
 Including Access Credentials for Accounts for InfoWars, Banned.Video, The War Room, Sunday Night Live, The American Journal, Others on:
                    •   Spreaker, iHeart Radio, Castbox, Deezer, Podcast Addict, TuneIn And Others
• Newsletter Subscribers
                    •   Sendy Account with approximately 228,000 Active Subscriber
• Historical Revenues
                    •   Infowars revenue was largely generated through the InfowarsStore based on the show’s promotion of the site.
                    •   In addition, the company did sell some advertising generating approx. 800k – 900k per year; this revenue is not based on
                        any transferable contracts and thus represents historical data only, not an indicator or guarantee of future income.

• Production Equipment [Optional] – Allocated Value Must be Provided on Bid Form
 Equipment List and Photos to be Provided in the Dataroom, and to include only those assets within the Infowars Studio Suites as broadly
 described below (Office suites, gym and vehicles not to be included in this offering)




*Information is based on company provided financials; data has not been verified by Auctioneer or Trustee, and provides no guarantee or warranty of future sales.


         OFFERING                                                             BID FORM                                                                TERMS
                                   Case
                                   Case22-33553
                                        22-33553 Document
                                                 Document955-13
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                                                                                 12/05/24 Page
                                                                                          Page41
                                                                                               42of
                                                                                                  of75
                                                                                                     76
ALEXANDER E. JONES                                          | Offering Memorandum                                                                                  Page 6


Lot 2 – InfowarsStore.com
• Trademarks
                    •   Infowars Life
                    •   (15) Product Trademarks including: Bodease,
                        Survival Shield X-2, The Real Red Pill, DNA Force and others
• Domain Names
                    •   InfowarsStore.com
                    •   Over (30) Additional related domain names
• E-Commerce Site (Hosted on Magento.com Platform)*
The following data was generated from the company’s e-commerce platform, Magento. Note that company financials do not reconcile
precisely with these sales, but rather show revenue of 10-12% less. Company states that this discrepancy is based on: i) returns that are not
reflected in the e-commerce site, and ii) merchant and processing fees that are netted out of sales before being booked into the accounting
system.. Figures have been rounded.


                    •   2024 (thru 9/30/24)
                               •    Sales                                        $22,400,000
                               •    Orders                                       181,300
                               •    Returning : New Customer Sales               $14.6M : 7.7M
                               •    Customer Transactions                        46,000
                    •   2023
                               •    Sales                                        $35,000,000
                               •    Orders                                       283,900
                               •    Returning : New Customer Sales               $24.4M : 10.6M
                               •    Customer Transactions                        60,000
                    •   Over 400,000 Past and Active Customers and Associated Order History dating back to 2015
•    Vendor Lists
                    •   Vendor Contacts, Contracts, and Order History
                    •   Company sells a combination of purchased products and consigned products
• Remaining Inventory – Allocated Value Must be Provided on Bid Form
    An inventory list will be provided in the dataroom. Bidder must provide an allocation of bid price to the inventory, which will be used as a
    basis for any adjustments in inventory levels between the bid and closing.

*Information is based on data from the company’s e-commerce site; data has not been verified by Auctioneer or Trustee, and provides no guarantee or warranty of future sales.


           OFFERING                                                           BID FORM                                                              TERMS
                            Case
                            Case22-33553
                                 22-33553 Document
                                          Document955-13
                                                   915-1 Filed
                                                         FiledininTXSB
                                                                  TXSBon
                                                                       on11/18/24
                                                                          12/05/24 Page
                                                                                   Page42
                                                                                        43of
                                                                                           of75
                                                                                              76
ALEXANDER E. JONES                                     | Offering Memorandum                                                     Page 7


Lot 3 Domain Names
The company’s remaining domain names – those not related to or pointing to Infowars.com or infowarsstore.com – will be offered as a
single lot. The following is a sampling of domains; A full listing domains can be found in the data room.

Approx.. (280) Domains (not designated to another lot) | Approx. 37 pending expiration in October/Early November
                        •    realcoffeeparty.com
                        •    theinfowarrior.com
                        •    dontbegoogle.com
                        •    theendofus.com
                        •    evilcities.com
                        •    radioviewer.com
                        •    myprivacyshop.com
                        •    supersurvivalstore.com
                        •    literallyridiculous.com
                        •    memebrew.com
                        •    memekitchin.com
                        •    nextnewsmedia.com
                        •    postnewsera.com
                        •    action7.news
                        •    newsguardwatch.org
                        •    summitnews.store
                        •    endgamefilm.com
                        •    whatisendgame.com
                        •    prisonplanet.tv
                        •    prisonplanetnews.org
                        •    conspiracyfact.info




       OFFERING                                                    BID FORM                                          TERMS
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                          Case22-33553
                               22-33553 Document
                                        Document955-13
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                                                       FiledininTXSB
                                                                TXSBon
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                                                                        12/05/24 Page
                                                                                 Page43
                                                                                      44of
                                                                                         of75
                                                                                            76
ALEXANDER E. JONES                                | Offering Memorandum                                                                 Page 8


Turnkey Opportunity
A purchase of all available Lots including Production Equipment, and along with a building lease and retention of key facility personnel may
provide for a quick turnkey purchase opportunity of Infowars. The following information is provided to assist a Buyer to facilitate a turnkey
purchase; however, cannot be deemed as contingencies for a sale of the Assets.

FACILITY LEASE

Infowars occupies production offices and studios in Austin, Texas. Buyer must secure its arrangement with the building sufficient to submit a
non-contingent bid on the Assets. Arrangements for building access must be negotiated between bidder and the building management.
Building Management contact information can be provided upon request.

MANAGEMENT TEAM

Interviews with company management may be arranged by ThreeSixty upon request and Trustee approval. Please contact us to coordinate
such introductions.




        OFFERING                                                 BID FORM                                                  TERMS
                         Case
                         Case22-33553
                              22-33553 Document
                                       Document955-13
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                                                      FiledininTXSB
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                                                                    on11/18/24
                                                                       12/05/24 Page
                                                                                Page44
                                                                                     45of
                                                                                        of75
                                                                                           76
ALEXANDER E. JONES                               | Offering Memorandum                                                               Page 9


Production Equipment
The Infowars facilities currently occupy two distinct sections of the same building. As noted above, any party interested in maintaining
operations at the site must make separate and non-contingent arrangements for future access with the property managers. For purpose of
this offering, only the equipment located in the portion of the building used for the Production is being made available for purchase along
with a bid on Lot 1. No bids are being considered for production equipment separate from a bid on Lot 1. The following is a sampling of
images from the production facility. Additional photos and a listing of equipment is located in the data room.




       OFFERING                                                BID FORM                                                  TERMS
                                   Case
                                   Case22-33553
                                        22-33553 Document
                                                 Document955-13
                                                          915-1 Filed
                                                                FiledininTXSB
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                                                                              on11/18/24
                                                                                 12/05/24 Page
                                                                                          Page45
                                                                                               46of
                                                                                                  of75
                                                                                                     76
ALEXANDER E. JONES                                             | Offering Memorandum                                                                                    Page 10


Bid Form | Bid Deadline: November 8, 2024 @ 2 pm CST
                Buyer Name                                                                    Buyer Company

                      Phone 1                                                                           Phone 2

                     Address                                                                                 City

                    State/Zip                                                                              Email

                    Partner *

      *Any party with a vested interest in the purchase must be disclosed



                                                                         Group                                      Intellectual Property        Equipment/Inventory
    LOT                                                                   (‘x’)     LOT BID                         Allocation                   Allocation

    Lot 1 Production | Note Equipment Allocation if Applicable                      $                               $                            $

    Lot 2 E-Commerce | Note Inventory Allocation if Applicable                      $                               $                            $

    Lot 3 Domains | Approximately 280 Domains                                       $
          If your bid for any lots are contingent upon other lots, please indicate which lots are to be grouped together by placing an ’x’ in the Group column above.

    *Trustee reserves the right to accept or reject any non-conforming bid.


             Please Email Bids to the Following Parties (if you prefer to mail, please see the Sale Order & Procedures Posted to the website for a list of address.
    jeff@360assetadvisors.com, ktoney@tranzon.com, edurnil@tranzon.com, jwolfshohl@porterhedges.com, mdearman@porterhedges.com, erin.jones@jonesmurray.com



    I hereby submit my bid for the Packages above in accordance with the
    terms and conditions of this bid package.                                                        10% Deposit Amount Submitted                 $
                                                                                                     Form of Payment Accepted                     Wire Transfer Only
X

    Name:                                                                                            Auctioneer Use Only:

    Title:                                                                                           Received Date

    Date:                                                                                            Received By



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                           Case
                           Case22-33553
                                22-33553 Document
                                         Document955-13
                                                  915-1 Filed
                                                        FiledininTXSB
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                                                                      on11/18/24
                                                                         12/05/24 Page
                                                                                  Page46
                                                                                       47of
                                                                                          of75
                                                                                             76
ALEXANDER E. JONES                                 | Offering Memorandum                                                                 Page 11


Bid Process & Terms
The following terms are subject in all respects to the Order Granting Trustee’s Motion for Entry of an Order Authorizing the Winddown of Free
Speech Systems, LLC [Case No. 22-33553 (CML), Bankr. S.D. Tex., Docket No. 859] (the “Order”). If there is a conflict between these terms
and the Order, the Order controls.
1.   Sealed Bid Sale. All Property is being offered through a sale process referred to herein as a sealed bid offering (“Sealed Bid”), wherein
     interested parties (“Recipient”, “Buyer”, “Bidder”) are being asked to submit offers to the Sales Agent (”Sales Agent”, “Auctioneer”) for the
     right, title and interest in certain intellectual, intangible and/or personal property (“Assets”) for consideration by the Seller (“Seller”,
     “Trustee”, “Estate”). The Trustee reserves the right to accept or reject bids, evaluate offers compared to other offers received and/or
     projected revenues from a piecemeal auction, and open up the Sealed Bid for live bidding between competitive bidders (“Auction”). The
     Sealed Bid and any subsequent auction shall be referred to as the Bid Process as is further defined herein, and all bids submitted to Sales
     Agent are subject to the terms and conditions specified below.
2. Bid Deadline. All bids must be submitted to Sales Agent on or before 2:00 p.m. CST, Friday, November 8, 2024 (“Bid Deadline”). Bids
   received after the Bid Deadline may not be considered, as determined in Trustee’s sole discretion. This deadline does not in any way limit
   the Trustee’s right to extend the deadline.
3. Required Bid Information. All bids submitted to Sales Agent must include the following:
      i. Properly completed and signed Bid Submittal Form in adherence to the terms and instructions
      ii. Receipt of a 10% deposit (the “Deposit”) in the form and amount as defined below
       iii. Proof of financial capacity to close in a form deemed acceptable by Trustee
4. Deposits. All bids must be accompanied by a deposit of ten percent (10%) of bidder’s total bid. Deposits must be submitted to the Trustee
   in the form of a wire transfer. After the conclusion of the Sealed Bid or Auction, as applicable, the deposits of the high bidder (“High
   Bidder”) and next highest bidder (“Back-up Bidder”), for each lot, will be held by Trustee until the closing of the Sale transaction. If Trustee
   closes with the High Bidder, the High Bidder’s deposit will be credited towards the final purchase price. If the High Bidder does not close, it
   forfeits its deposit and the Trustee will close with the Back-up Bidder and its deposit will be credited towards the purchase price. If Trustee
   closes with the High Bidder, the Trustee will return the full deposit to the Back-up Bidder within five (5) business days. The deposits of any
   and all other bidders at the Auction or any party whose bid has been rejected will be returned in full within five (5) business days after
   rejection or otherwise the completion of the Bid Process.
5. Due Diligence. All prospective Bidders are responsible to perform their own due diligence prior to submitting their bid. For additional
   information, interested Bidders may contact Jeff Tanenbaum at jeff@360assetadvisors.com, or by calling +1-720-704-5421.
6. Notice. Bidders may be advised by notice(s) of additions, deletions or alterations in any document forming a part of the Sealed Bid
   Package any time prior to the Bid Deadline. Such revised documents will be available to prospective Bidders.
7. Submission of Bid. Except as otherwise permitted by this Sealed Bid Package, all bids submitted must be unconditional and without
   alteration to the Bid Form. Any bid conditioned upon any change in any of the documents provided in the Sealed Bid Package, either by
   way of addition or deletion, may be summarily rejected by Trustee, in its sole discretion. All Bidders must complete, execute and return to
   Sales Agent the Bid Submittal Form, executed by the Bidder together with the required Deposit before any bids will be considered.
8. Bids Are Irrevocable. By submitting a bid, the Bidder is making an irrevocable offer to purchase the Assets bid upon. The Bidder
   acknowledges and agrees that by submission of its bid, it is accepting the terms and conditions set forth in these Instructions. Upon
   submission of a bid, the offers contained therein are irrevocable.

         OFFERING                                                 BID FORM                                                   TERMS
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                                22-33553 Document
                                         Document955-13
                                                  915-1 Filed
                                                        FiledininTXSB
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                                                                         12/05/24 Page
                                                                                  Page47
                                                                                       48of
                                                                                          of75
                                                                                             76
ALEXANDER E. JONES                                  | Offering Memorandum                                                                Page 12


Bid Process & Terms | Cont’d
9. Notification. Sales Agent and Trustee will review all bids received by the Bid Deadline. If Sales Agent and Trustee determine that one or
   more qualified bids are competitive in nature (“Qualified Bid(s)”), the Sales Agent and Trustee reserve the right to convert the Sealed Bid to
   an Auction between Qualified Bidders. Qualified Bidders will be notified within 72 hours of the Sealed Bid deadline. If Sales Agent and
   Trustee determine that no Auction will be held, the Sales Agent and Trustee will determine whether or not any Qualified Bids will be
   accepted or rejected.
10. Auction. If an Auction is held, it will take place on November 13, 2024 at 10:30am CT (unless announced otherwise). Only Qualified Bidders
    and advisors will be allowed to participate in the Auction. The highest bid or bid combination, as determined by Sales Agent and Trustee,
    will be the lead bid at the Auction. The Auction will open at the highest bid amount. Qualified Bidders will be allowed to overbid in minimum
    bid increments as determined by Sale Agent at the time of Sale. Sales Agent shall moderate the auction process, which allows the
    opportunity for it to present any and all competitive bid options, which may include lot combinations, as well as the cash equivalent of
    anticipated sales from a piecemeal auction the Production Equipment lot. The Auction will conclude once the highest bid and next highest
    bid have been awarded, rejected or held subject to further consideration.
11. Bankruptcy Court Approval. If one or more bids are awarded by the Trustee, whether before or as a result of an Auction, the Trustee is
    authorized to proceed to close the Sale, and the Sale is not subject to further approval by the Bankruptcy Court. The Trustee must,
    however, file a notice of successful bidder(s) with the Court following the award of bid(s). Be advised there is some risk that the Sale may
    nevertheless be subject unforeseen objections by interested parties
12. Closing and Final Payment. Bidder will be responsible for payment in full to the Trustee within five (5) business days of bid award or at such
    later date as may mutually be agreed by the Trustee and the respective winning bidder(s) (“Closing Date”). Sales Agent shall provide
    Bidder with an Invoice and wire instructions, reflecting the bid amount, the buyers’ premium and sales tax. Should any of the lots be subject
    to a Purchase Agreement, such Purchase Agreement will be posted to the data room prior to the Sealed Bid closing date, and the winning
    bidder shall be responsible to execute such Purchase Agreement upon the award of bid.
13. Sales Tax. Local sales tax requirements will apply to all sales will be applied to the final purchase price where applicable.
14. Receipt of Intangible Property. Bidder shall be the sole party responsible to facilitate the transfer of intellectual property rights, provided
    however, that Sales Agent or Trustee shall provide or obtain necessary signatures on documents as requested by Buyer to effectual legal
    transfers, as needed, and shall provide access credentials to accounts where noted in the data room. In such cases that intangible property
    is stored on computer hardware or in cloud-based servers, Trustees IT consultant will work with Bidders to facilitate the transfer of such
    intangible property
15. Removal of Personal Property. This Bid Process contemplates a sale of the production equipment assets in Bulk to a Buyer removing them
    from the facility within 14 days of the Closing Date. The Buyer shall be responsible to provide an insurance policy with acceptable limits
    naming the Trustee, Sales Agent and Building Owners as additional insured, and shall be responsible for any damage to persons or
    property during Asset removal. Should the Buyer enter into a lease agreement with the building owners, it shall sign a waiver releasing the
    Trustee and Sales Agent from any further obligations to Personal Property fulfilment on the Closing Date.
16. System Maintenance. Bidders acknowledge that certain assets being purchased may be subject to ongoing maintenance costs, including
    but not limited to webhosting, e-commerce platform, cloud-based storage sites, data backup systems, etc. Upon the Closing Date, Bidder
    shall become immediately responsible to maintain such services, subject only to any transition period agreement that may be negotiated
    between the Parties.


         OFFERING                                                  BID FORM                                                    TERMS
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                           Case22-33553
                                22-33553 Document
                                         Document955-13
                                                  915-1 Filed
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                                                                         12/05/24 Page
                                                                                  Page48
                                                                                       49of
                                                                                          of75
                                                                                             76
ALEXANDER E. JONES                                 | Offering Memorandum                                                                 Page 13


Bid Process & Terms | Cont’d
17. Inventory Adjustments. Upon bid submittal, Bidder is asked to provide an allocation of its bid for product inventory where applicable.
    Bidder acknowledges that the inventory as reported in the data room may change prior to Closing. In such case, the formula for the
    purchase price adjustment shall be set forth in the asset purchase agreement between the parties.
18. Trademarks. This sale may include transactions with separate buyers for the Infowars and Infowars Life trademarks, and Infowars related
    domain names allocated in the bid package to each lot. Each buyer acknowledges that the terms of sale and Purchase Agreements related
    to each transaction will grant the other party licensure rights to use their purchased domain names and trademarks without further cost or
    obligation to the other party.
19. Failure to Pay. If a successful bidder fails to consummate the Sale due to a breach or failure to perform on the part of such successful
    bidder, then the Deposit shall be forfeited to, and retained irrevocably by, the Trustee, and may be used by the Trustee to pay the fees and
    expenses of the Trustee’s professionals, and the Trustee specifically reserves all rights and remedies against the defaulting successful
    bidder, including the right to seek damages from, and/or the specific performance of, the defaulting successful bidder. In addition thereto,
    Sales Agent may, at its discretion, either resell Bidder’s Assets without further notice to Bidder and/or dispose of the Property at the
    Bidders sole expense. Any difference between the bid price for Assets by the defaulting Bidder and the price received by Trustee at a
    resale shall be paid to Trustee by the defaulting Bidder. In addition, a defaulting Bidder shall be deemed to have granted Trustee a security
    interest in the Property, which Trustee shall retain as collateral security for Bidder’s obligation to Trustee.
20. Financing. All transactions must be made in U.S. cash funds. The Sale is not contingent upon the bidder securing or obtaining financing.
21. Absence of Warranties. The Bidder understands and agrees: (1) that any description or sample of the Assets given or furnished by Trustee
    and Sales Agent is solely for identification, and does not create any warranty expressed or implied, that the Property actually conforms to
    such description or sample, (2) that Bidder or agent on Bidder’s behalf has inspected or has had the opportunity to inspect, all of the Assets
    upon which Bidder will be bidding and/or does purchase, (3) that all Assets are purchased and accepted by Bidder “AS IS”, “WHERE IS” and
    “WITH ALL FAULTS”. TRUSTEE AND SALES AGENT MAKE NO REPRESENTATIONS, WARRANTIES OR GUARANTEES WHATSOEVER
    WHETHER WRITTEN, ORAL OR IMPLIED AS TO QUALITY, QUANTITY, CONDITION, USABILITY, SALABILITY, YEAR, PERFORMANCE, OR
    OTHER SPECIFICATIONS, INCLUDING ANY WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE OR
    WARRANTY AGAINST PATENT, TRADEMARK, COPYRIGHT OR TRADE SECRET INFRINGEMENT, (4) in the event there are manufacturer
    warranties in effect for the Assets purchased, Bidder must make all claims thereunder directly with the provider of the warranty. No
    statement or statements of any other paragraph herein shall be construed to in any way contradict the provisions of this paragraph.
22. Customer Lists and PII. As part of the conveyed Intellectual Properties, certain customer data may be transferred to the buyer. Neither
    Trustee nor Sales Agent can guarantee buyer’s rights regarding the use of such customer data which may be subject to the Company’s
    posted privacy statements or other limitations. In addition, under no circumstances shall any of the assets being sold imply the inclusion of
    personally identifiable information (PII) with regards to Company personnel, including personnel records, personal data stored on personnel
    computers, or historical email content.




        OFFERING                                                 BID FORM                                                   TERMS
                            Case
                            Case22-33553
                                 22-33553 Document
                                          Document955-13
                                                   915-1 Filed
                                                         FiledininTXSB
                                                                  TXSBon
                                                                       on11/18/24
                                                                          12/05/24 Page
                                                                                   Page49
                                                                                        50of
                                                                                           of75
                                                                                              76
ALEXANDER E. JONES                                   | Offering Memorandum                                                                    Page 14


Bid Process & Terms | Cont’d
23. Indemnification. Bidder shall indemnify, hold harmless and defend Trustee, Sales Agent, and any professionals employed or otherwise
    retained by the Trustee or the Sales Agent from and against any and all losses, damages, liabilities and claims, including attorney fees, costs
    and expenses arising out of or based upon or resulting from, (1) any act or omission relating to or affecting the Property bid on or
    purchased by Bidder, (2) the claim of any third party claiming or challenging title to any Asset purchased by Bidder or claiming infringement
    of any proprietary interest, (3) the claim of any person resulting from offering for sale or selling the Property purchased by Bidder.
24. Limits of Liability. In no event shall Sales Agent’s liability to Bidder exceed the purchase price actually paid. A Bidder’s claim shall be limited
    to the amount paid for the Assets, and shall not extend to any obligation; risk; liability; right; claim; remedy for loss of use, revenue or profit;
    liability of Bidder to any third party; personal injury; or any other direct, indirect, incidental or consequential damages. Sales Agent is acting
    as an agent only and is not responsible for the acts of its principles.
25. Rights Reserved. If any provision of these Terms and Conditions shall be held invalid, illegal, unenforceable or inoperative, the balance of
    Terms of Sale shall remain in full force and affect as if such provisions had not been included. The Bid Process and Terms with any
    amendments or modifications expressly made by Sales Agent constitute all the terms and conditions with respect to the sale of the
    Property; however Sales Agent reserves the right to modify the Bid Process and Terms, as may be necessary and shall notify Bidder
    accordingly.
26. The venue and jurisdiction for any dispute in this matter shall be in the United States Bankruptcy Court, Southern District of Texas.




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Case
Case22-33553
     22-33553 Document
              Document955-13
                       915-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on11/18/24
                                              12/05/24 Page
                                                       Page50
                                                            51of
                                                               of75
                                                                  76




                         SCHEDULE 1.1(a)(i)

                         Intellectual Property
FSS Trademark List
                        Case
                        Case22-33553
                             22-33553 Document
                                      Document955-13
                                               915-1 Filed
                                                     FiledininTXSB
                                                              TXSBon
                                                                   on11/18/24
                                                                      12/05/24 Page
                                                                               Page51
                                                                                    52of
                                                                                       of75
                                                                                          76                                                                                   Infowars - Lot 1




SerialNumber         Wordmark              Image                Status   GoodsAndServicesTruncated
86108873             INFOWARS              Image for 86108873   Live     IC 038: Broadcasting of radio, internet radio, and on-line video programs.; IC 009: Digital
                                                                         media, namely, DVDs, high definition digital discs, and downloadable audio featuring news,
                                                                         current events, social commentary, political commentary, and documentaries.; IC 016:
                                                                         Bumper stickers; [ Magazines in the field of news, current events, social commentary, and
                                                                         politics; Pens; ] Stickers.; IC 024: Fabric flags.; IC 025: Hats; T-shirts.; IC 035: On-line retail
                                                                         gift shops.; IC 041: Entertainment services, namely, providing radio programs in the field of
                                                                         news, current events, social commentary, and politics via a global computer network;
                                                                         Entertainment services, namely, the provision of continuing programs featuring news and
                                                                         commentary delivered by radio and internet; Production and distribution of radio programs;
                                                                         Providing on-line non-downloadable articles in the field of news, current events, social
                                                                         commentary, and politics; Radio entertainment services, namely, radio programs featuring...




87943543             FIREPOWER RADIO       Image for 87943543   Dead     (ABANDONED) IC 038: Broadcasting of radio programs; Broadcasting of internet radio
                                                                         programs; Broadcasting of downloadable audio programs; Broadcasting of on-line video
                                                                         programs.; (ABANDONED) IC 009: Digital media, namely, downloadable audio files
                                                                         featuring news, current events, social commentary, interviews, and political commentary;
                                                                         downloadable audio recordings featuring a continuing audio program in the field of news,
                                                                         current events, social commentary, interviews, and political commentary downloadable via a
                                                                         global computer network.; (ABANDONED) IC 041: Entertainment services, namely, providing
                                                                         podcasts in the field of news, current events, social commentary, interviews, and political
                                                                         commentary; Entertainment services, namely, providing radio programs in the field of news,
                                                                         current events, social commentary, interviews, and political commentary via a global
                                                                         computer network; Entertainment services, namely, providing webcasts in the field of news,
                                                                         current events, social commentary,...




86108885             PRISON PLANET         Image for 86108885   Dead     (CANCELLED) IC 038: [ Broadcasting of on-line video programs ].; (CANCELLED) IC 041: [
                                                                         Entertainment services, namely, the provision of continuing video programs featuring news,
                                                                         current events, social commentary, and political commentary delivered by a global computer
                                                                         network; Providing on-line non-downloadable articles in the field of news, current events,
                                                                         social commentary, and political commentary; Providing on-line publications in the nature of
                                                                         e-books in the field of news, current events, social commentary, and political commentary ].




87277011             THE ALEX JONES SHOW   Image for 87277011   Dead     (CANCELLED) IC 038: [ Broadcasting of radio and internet radio programs; Broadcasting of
                                                                         television programs; Broadcasting of on-line video programs; Broadcasting of downloadable
                                                                         audio programs ].; (CANCELLED) IC 009: [ Digital media, namely, downloadable audio files
                                                                         featuring news, current events, social commentary, interviews, and political commentary ].;
                                                                         (CANCELLED) IC 041: [ Entertainment services in the nature of production of radio and
                                                                         internet radio programs; Entertainment services in the nature of production of downloadable
                                                                         audio programs; Entertainment services in the nature of production of on-line video
                                                                         programs; Entertainment services in the nature of production of television programs;
                                                                         Entertainment services, namely, providing podcasts in the field of news, current events,
                                                                         social commentary, interviews, and political commentary; Entertainment services, namely,
                                                                         providing radio programs in the field of news, current events, social commentary, interviews,
                                                                         and political...




86108879             PRISON PLANET         Image for 86108879   Dead     (CANCELLED) IC 035: [ Subscription to online articles, e-books, online videos,
                                                                         documentaries, and films featuring news, social commentary, political commentary, and
                                                                         current events ].
86108877             PRISON PLANET         Image for 86108877   Dead     (ABANDONED) IC 025: T-shirts.




                                                                                                                                                                                   Page 1 of 1
FSS Trademark List
                        Case
                        Case22-33553
                             22-33553 Document
                                      Document955-13
                                               915-1 Filed
                                                     FiledininTXSB
                                                              TXSBon
                                                                   on11/18/24
                                                                      12/05/24 Page
                                                                               Page52
                                                                                    53of
                                                                                       of75
                                                                                          76                                                                      InfowarsStore - Lot 2




SerialNumber         Wordmark                Image                Status   GoodsAndServicesTruncated
87938971             BODEASE                 Image for 87938971   Live     IC 005: Dietary and nutritional supplements.
87939303             ALPHA POWER             Image for 87939303   Live     IC 005: Dietary and nutritional supplements.
87943348             HONOR ROLL              Image for 87943348   Live     IC 005: Dietary and nutritional supplements.
87943386             HAPPEASE                Image for 87943386   Live     IC 005: Dietary and nutritional supplements.
87943414             GUT FUSION              Image for 87943414   Live     IC 005: Dietary and nutritional supplements.
86402016             SURVIVAL SHIELD         Image for 86402016   Live     IC 005: Dietary and nutritional supplements.
86402809             SURVIVAL SHIELD X-2     Image for 86402809   Live     IC 005: Dietary and nutritional supplements.
86402827             INFOWARS LIFE           Image for 86402827   Live     IC 005: Dietary and nutritional supplements.
87939004             POLLEN BLOCK            Image for 87939004   Live     IC 005: Dietary and nutritional supplements.
87938998             IMMUNE WALL             Image for 87938998   Live     IC 005: Dietary and nutritional supplements.
87938991             FLORALIFE               Image for 87938991   Live     IC 005: Dietary and nutritional supplements.
87938950             THE REAL RED PILL       Image for 87938950   Live     IC 005: Dietary and nutritional supplements.
87938980             ICUREN                  Image for 87938980   Live     IC 005: Dietary and nutritional supplements.
87939327             DNA FORCE               Image for 87939327   Live     IC 005: Dietary and nutritional supplements.
87943358             EXTENDAWISE             Image for 87943358   Live     IC 005: Dietary and nutritional supplements.
87943450             ULTIMATE FEMALE FORCE   Image for 87943450   Live     IC 005: Dietary and nutritional supplements.

86402175             SUPER MALE VITALITY     Image for 86402175   Dead     (ABANDONED) IC 005: Dietary and nutritional supplements.
86402225             SUPER FEMALE VITALITY   Image for 86402225   Dead     (ABANDONED) IC 005: Dietary and nutritional supplements.
87943286             LIVING CLEANSE          Image for 87943286   Dead     (ABANDONED) IC 005: Dietary and nutritional supplements.
86402053             FLUORIDE SHIELD         Image for 86402053   Dead     (ABANDONED) IC 005: Dietary and nutritional supplements.
87943436             VASOBEET                Image for 87943436   Dead     (ABANDONED) IC 005: Dietary and nutritional supplements made in whole or significant
                                                                           part of beets.
86402820             WAKE UP AMERICA         Image for 86402820   Dead     (ABANDONED) IC 030: Coffee.




                                                                                                                                                                            Page 1 of 1
            Case
            Case22-33553
                 22-33553 Document
                          Document955-13
                                   915-1 Filed
                                         FiledininTXSB
                                                  TXSBon
                                                       on11/18/24
                                                          12/05/24 Page
                                                                   Page53
                                                                        54of
                                                                           of75
                                                                              76
FSS Domains List                                                                            Infowars Related - Included with Lot 1 Production Assets


Reference # Domain                       TLD         Length Lot Registrar Status Age                 Expiration Expiration Status
                                                                                                                              Registrar per FSS
90          infowarsdata.com             com         12     1 Active             8 years, 6 months       2/14/25 Active       Epik
91          infowarsdomains.com          com         15     1 Active             3 years, 5 months       3/24/25 Active       Epik
93          infowarspets.com             com         12     1 Active             1 years, 10 months     10/19/24 Pending      Epik
97          infowarsstream.com           com         14     1 Active             6 years, 8 months       12/1/24 Active       Epik
98          infowarsteam.com             com         12     1 Active             13 years, 9 months      11/9/24 Pending      Epik
183         buyinfowars.com              com         11     1 Active             6 years, 0 months       8/10/26 Active       GoDaddy
193         infowarsarmy.com             com         12     1 Active             6 years, 0 months       8/27/26 Active       GoDaddy
194         infowarsdefense.com          com         15     1 Active             6 years, 5 months       3/15/26 Active       GoDaddy
195         infowarsdirect.com           com         14     1 Active             6 years, 0 months       8/10/26 Active       GoDaddy
196         infowarselect.com            com         13     1 Active             8 years, 11 months      9/10/25 Active       GoDaddy
197         infowarselects.com           com         14     1 Active             8 years, 11 months      9/10/25 Active       GoDaddy
198         infowarsessentials.com       com         18     1 Active             7 years, 6 months       2/24/25 Active       GoDaddy
203         infowarslifeselect.com       com         18     1 Active             8 years, 11 months      9/10/25 Active       GoDaddy
204         infowarslifeselects.com      com         19     1 Active             8 years, 11 months      9/10/25 Active       GoDaddy
206         infowarsnow.com              com         11     1 Active             5 years, 11 months      9/15/24 Pending      GoDaddy
207         infowarsselect.com           com         14     1 Active             8 years, 11 months      9/10/25 Active       GoDaddy
208         infowarsselects.com          com         15     1 Active             8 years, 11 months      9/10/25 Active       GoDaddy
209         infowarssupersale.com        com         17     1 Active             6 years, 0 months       8/10/25 Active       GoDaddy
210         infowarssupersales.com       com         18     1 Active             6 years, 0 months       8/10/26 Active       GoDaddy
231         1776to1984.com               com         10     1 Active             16 years, 4 months        4/1/25 Active      Name
234         1984to1776.com               com         10     1 Active             16 years, 4 months        4/1/25 Active      Name
237         911chronicles.com            com         13     1 Active             16 years, 4 months        4/1/25 Active      Name
261         americakiller.com            com         13     1 Active             15 years, 2 months      6/28/25 Active       Name
274         biashow.com                  com         7      1 Active             12 years, 3 months      5/19/25 Active       Name
280         broinarms.com                com         9      1 Active             12 years, 3 months      5/19/25 Active       Name
281         brotherinarmshow.com         com         16     1 Active             12 years, 3 months      5/19/25 Active       Name
282         brotherinarmsshow.com        com         17     1 Active             12 years, 3 months      5/19/25 Active       Name
283         brothersinarmshow.com        com         17     1 Active             12 years, 3 months      5/19/25 Active       Name
284         brothersinarmsshow.com       com         18     1 Active             12 years, 3 months      5/19/25 Active       Name
291         darkskiesconspiracy.com      com         19     1 Active             14 years, 2 months      6/28/25 Active       Name
351         infowars.net                 net         8      1 Active             23 years, 7 months        1/3/25 Active      Name
352         infowars.org                 org         8      1 Active             20 years, 0 months        3/8/25 Active      Name
353         infowars.productions         productions 8      1 Active             -                         8/6/25 Active      Name
354         infowarsart.com              com         11     1 Active             13 years, 4 months      4/22/25 Active       Name
355         infowarsartilary.com         com         16     1 Active             13 years, 4 months      4/22/25 Active       Name
356         infowarsartilery.com         com         16     1 Active             13 years, 4 months      4/22/25 Active       Name
357         infowarsartillary.com        com         17     1 Active             13 years, 4 months      4/22/25 Active       Name
358         infowarsartillery.com        com         17     1 Active             13 years, 4 months      4/22/25 Active       Name
359         infowarsbabes.com            com         13     1 Active             11 years, 5 months      3/10/25 Active       Name
360         infowarsbabes.net            net         13     1 Active             11 years, 5 months      3/10/25 Active       Name
361         infowarscoffee.com           com         14     1 Active             12 years, 0 months        8/3/25 Active      Name
362         infowarsdaily.com            com         13     1 Active             13 years, 1 months      7/29/25 Active       Name
363         infowarsdefensefund.com      com         19     1 Active             6 years, 3 months       5/23/25 Active       Name
365         infowarsfood.com             com         12     1 Active             8 years, 11 months      9/10/25 Active       Name
366         infowarsguardian.com         com         16     1 Active             11 years, 11 months     8/31/25 Active       Name
369         infowarshome.com             com         12     1 Active             9 years, 6 months       2/26/25 Active       Name
371         infowarshousehold.com        com         17     1 Active             9 years, 6 months       2/26/25 Active       Name
372         infowarsinsider.com          com         15     1 Active             13 years, 2 months        6/6/25 Active      Name
373         infowarsinsider.net          net         15     1 Active             13 years, 2 months        6/6/25 Active      Name
374         infowarsinvestigates.com     com         20     1 Active             12 years, 5 months      3/28/25 Active       Name
375         infowarsinvestigations.com   com         22     1 Active             12 years, 5 months      3/28/25 Active       Name
376         infowarslegalfund.com        com         17     1 Active             6 years, 3 months       5/23/25 Active       Name
377         infowarslife.com             com         12     1 Active             11 years, 0 months        8/9/25 Active      Name
380         infowarsmedia.com            com         13     1 Active             6 years, 0 months         8/6/25 Active      Name
381         infowarsmonthly.com          com         15     1 Active             13 years, 6 months      2/19/25 Active       Name
382         infowarsnews.com             com         12     1 Active             13 years, 6 months        2/9/25 Active      Name
383         infowarsnews.net             net         12     1 Active             13 years, 6 months        2/9/25 Active      Name
384         infowarsnewsletter.com       com         18     1 Active             6 years, 0 months         8/7/25 Active      Name
385         infowarsnightly.com          com         15     1 Active             13 years, 1 months      7/29/25 Active       Name
386         infowarsnightlynews.com      com         19     1 Active             13 years, 1 months      7/29/25 Active       Name
387         infowarsplanet.com           com         14     1 Active             14 years, 0 months        8/2/25 Active      Name
388         infowarssocial.com           com         14     1 Active             14 years, 0 months        8/2/25 Active      Name
389         infowarsspecialreport.com    com         21     1 Active             13 years, 1 months      7/29/25 Active       Name
390         infowarstonight.com          com         15     1 Active             13 years, 1 months      7/29/25 Active       Name
391         infowarstv.live              live        10     1 Active             -                       9/12/25 Active       Name

                                                                                                                                         Page 1 of 3
            Case
            Case22-33553
                 22-33553 Document
                          Document955-13
                                   915-1 Filed
                                         FiledininTXSB
                                                  TXSBon
                                                       on11/18/24
                                                          12/05/24 Page
                                                                   Page54
                                                                        55of
                                                                           of75
                                                                              76
FSS Domains List                                                                       Infowars Related - Included with Lot 1 Production Assets


Reference # Domain                      TLD     Length Lot Registrar Status Age                  Expiration Expiration Status
                                                                                                                          Registrar per FSS
392         infowarsunited.com          com     14     1 Active             14 years, 1 months       7/23/25 Active       Name
394         infowarsunited.org          org     14     1 Active             14 years, 1 months       7/23/25 Active       Name
395         infowarsvod.com             com     11     1 Active             6 years, 0 months          8/6/25 Active      Name
398         infowarsweekly.com          com     14     1 Active             13 years, 6 months       2/19/25 Active       Name
399         infowarsworldnews.com       com     17     1 Active             14 years, 1 months       7/23/25 Active       Name
400         infowarsworldnews.net       net     17     1 Active             14 years, 1 months       7/23/25 Active       Name
401         infowarsworldnews.org       org     17     1 Active             14 years, 1 months       7/23/25 Active       Name
415         newstruth.us                us      9      1 Active             24 years, 0 months         8/8/25 Active      Name
441         planetinfowars.com          com     14     1 Active             14 years, 0 months         8/2/25 Active      Name
458         redpillparty.com            com     12     1 Active             11 years, 3 months       5/15/25 Active       Name
471         roadtoconspiracy.com        com     16     1 Active             14 years, 4 months         4/5/25 Active      Name
476         secretsofsurvivalfilm.com   com     21     1 Active             12 years, 4 months       4/26/25 Active       Name
490         theinfowarsshop.com         com     15     1 Active             14 years, 1 months       7/26/25 Active       Name
491         theinfowarsshop.info        info    15     1 Active             14 years, 1 months       7/26/25 Active       Name
496         theinfowarsstore.info       info    16     1 Active             14 years, 1 months       7/26/25 Active       Name
497         theinfowarsstore.mobi       mobi    16     1 Active             -                        7/26/25 Active       Name
505         theroadtoconspiracy.com     com     19     1 Active             14 years, 4 months         4/5/25 Active      Name
508         truthisbulletproof.com      com     18     1 Active             11 years, 3 months         5/3/25 Active      Name
509         truthmedia.us               us      10     1 Active             24 years, 0 months         8/8/25 Active      Name
511         truthnews.us                us      9      1 Active             24 years, 0 months         8/8/25 Active      Name
519         uberfreedom.com             com     11     1 Active             13 years, 7 months       1/13/25 Active       Name
521         urgentradio.net             net     11     1 Active             13 years, 6 months       2/21/25 Active       Name
524         violetblog.com              com     10     1 Active             19 years, 5 months       3/14/25 Active       Name
534         washingtonwars.com          com     14     1 Active             7 years, 6 months        1/30/25 Active       Name
574         infowarsmag.biz             biz     11     1 Active             24 years, 1 months         7/5/25 Active      Ionos
575         infowarsmag.com             com     11     1 Active             12 years, 1 months         7/6/25 Active      Ionos
576         infowarsmag.info            info    11     1 Active             12 years, 2 months         6/7/25 Active      Ionos
577         infowarsmag.net             net     11     1 Active             12 years, 1 months         7/6/25 Active      Ionos
578         infowarsmag.org             org     11     1 Active             12 years, 3 months         5/7/25 Active      Ionos
579         infowarsmag.us              us      11     1 Active             24 years, 1 months         7/5/25 Active      Ionos
580         infowarsmagazine.com        com     16     1 Active             12 years, 1 months         7/6/25 Active      Ionos
581         infowarsmagazine.net        net     16     1 Active             12 years, 1 months         7/6/25 Active      Ionos
582         infowarsmagazine.org        org     16     1 Active             12 years, 3 months         5/7/25 Active      Ionos
583         infowarsnewspaper.com       com     17     1 Active             12 years, 1 months         7/6/25 Active      Ionos
584         infowarsnewspaper.net       net     17     1 Active             12 years, 1 months         7/6/25 Active      Ionos
585         infowarsnewspaper.org       org     17     1 Active             12 years, 3 months         5/7/25 Active      Ionos
594         infowarsthemagazine.com     com     19     1 Active             12 years, 1 months         7/6/25 Active      Ionos
595         infowarsthemagazine.net     net     19     1 Active             12 years, 1 months         7/6/25 Active      Ionos
596         infowarsthemagazine.org     org     19     1 Active             12 years, 3 months         7/5/25 Active      Ionos
602         theinfowarsmag.com          com     14     1 Active             12 years, 1 months         7/6/25 Active      Ionos
603         theinfowarsmag.net          net     14     1 Active             12 years, 1 months         7/6/25 Active      Ionos
604         theinfowarsmag.org          org     14     1 Active             12 years, 3 months         7/5/25 Active      Ionos
605         theinfowarsmagazine.com     com     19     1 Active             12 years, 1 months         7/6/25 Active      Ionos
606         theinfowarsmagazine.net     net     19     1 Active             12 years, 1 months         7/6/25 Active      Ionos
607         theinfowarsmagazine.org     org     19     1 Active             12 years, 3 months         7/5/25 Active      Ionos
608         theinfowarsnewspaper.com    com     20     1 Active             12 years, 1 months         7/6/25 Active      Ionos
609         theinfowarsnewspaper.net    net     20     1 Active             12 years, 1 months         7/6/25 Active      Ionos
610         theinfowarsnewspaper.org    org     20     1 Active             12 years, 3 months         7/5/25 Active      Ionos
615         banned.video                video   6      1 Active             5 years, 3 months          7/4/25 Active      SquareSpace
616         ifwvideo.com                com     8      1 Active                                        5/5/25 Active      SquareSpace
617         infowars.art                art     8      1 Active                                        5/8/25 Active      SquareSpace
620         infowars.us                 us      8      1 Active                                        4/9/25 Active      SquareSpace
621         infowarsads.com             com     11     1 Active                                      2/23/25 Active       SquareSpace
622         infowarsbitcoin.com         com     15     1 Active                                      3/29/25 Active       SquareSpace
623         infowarsbtc.com             com     11     1 Active                                      3/29/25 Active       SquareSpace
627         defendinfowars.com          com     14     1 Active                                     11/16/24 Active       SquareSpace
629         ifw.cloud                   cloud   3      1 Active                                      4/16/25 Active       SquareSpace
632         saveinfowars.com            com     12     1 Active                                     11/16/24 Active       SquareSpace
636         infowarscrypto.com          com     14     1 Active                                      3/29/25 Active       SquareSpace
637         infowarsguns.com            com     12     1 Active                                      3/31/25 Active       SquareSpace
638         infowarsjobs.com            com     12     1 Active                                     10/23/25 Active       SquareSpace
640         infowarsphone.com           com     13     1 Active                                      2/26/25 Active       SquareSpace
642         infowarstech.com            com     12     1 Active                                      5/12/25 Active       SquareSpace
643         infowarsvideo.com           com     13     1 Active                                        8/6/25 Active      SquareSpace
564         infowarsbunker.com          com     14     1 Active             3 years, 10 months      10/29/25 Active       CloudFlare

                                                                                                                                    Page 2 of 3
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
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                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page55
                                                                         56of
                                                                            of75
                                                                               76
FSS Domains List                                                                                   Infowars Related - Included with Lot 1 Production Assets


Reference # Domain                         TLD          Length Lot Registrar Status Age                      Expiration Expiration Status
                                                                                                                                      Registrar per FSS
565         infowars.com                   com          8      1 Active             25 years, 5 months             6/9/33 Active      CloudFlare
569         theinfowar.tv                  tv           10     1 Active             -                            5/20/25 Active       CloudFlare
613         infowarsstaging.com            com          15     1 Active                                            3/1/25 Active      CloudFlare

“Pending” indicates recently expired domains that may remain renewable or domains expiring soon.




                                                                                                                                                Page 3 of 3
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page56
                                                                         57of
                                                                            of75
                                                                               76
FSS Domains List                                                                          InfowarsStore Related - Included with Lot 2 E-Commerce Assets


Reference # Domain                              TLD    Length Lot Registrar Status Age                 Expiration Expiration Status
                                                                                                                                Registrar per FSS
145         rebelzencbd.com                     com    11     2 Active             1 years, 2 months       6/22/25 Active       Epik
192         inforwarsstoredevelopment.com       com    25     2 Active             6 years, 9 months      11/28/24 Active       GoDaddy
199         infowarshealthdoctor.com            com    20     2 Active             9 years, 4 months       4/24/25 Active       GoDaddy
200         infowarshealthdr.com                com    16     2 Active             9 years, 4 months       4/24/25 Active       GoDaddy
201         infowarshealthinsider.com           com    21     2 Active             9 years, 4 months       4/25/25 Active       GoDaddy
202         infowarshealthpunch.com             com    19     2 Active             9 years, 4 months         4/9/25 Active      GoDaddy
205         infowarsmarketplace.com             com    19     2 Active             7 years, 6 months       2/18/25 Active       GoDaddy
364         infowarsenergy.com                  com    14     2 Active             12 years, 3 months        5/9/25 Active      Name
367         infowarshealth.com                  com    14     2 Active             13 years, 9 months     11/22/24 Active       Name
368         infowarshealthnews.com              com    18     2 Active             13 years, 3 months        5/2/25 Active      Name
370         infowarshop.com                     com    11     2 Active             14 years, 4 months        4/3/25 Active      Name
378         infowarslife.net                    net    12     2 Active             11 years, 0 months        8/9/25 Active      Name
379         infowarslife.org                    org    12     2 Active             10 years, 11 months       8/9/25 Active      Name
477         shopfreespeech.com                  com    14     2 Active             16 years, 6 months      2/18/25 Active       Name
489         theinfowarsshop.biz                 biz    15     2 Active             24 years, 1 months      7/25/25 Active       Name
492         theinfowarsshop.net                 net    15     2 Active             14 years, 1 months      7/26/25 Active       Name
493         theinfowarsshop.org                 org    15     2 Active             14 years, 1 months      7/26/25 Active       Name
494         theinfowarsshop.us                  us     15     2 Active             24 years, 1 months      7/25/25 Active       Name
495         theinfowarsstore.biz                biz    16     2 Active             24 years, 1 months      7/25/25 Active       Name
498         theinfowarsstore.net                net    16     2 Active             14 years, 1 months      7/26/25 Active       Name
499         theinfowarsstore.org                org    16     2 Active             14 years, 1 months      7/26/25 Active       Name
500         theinfowarsstore.us                 us     16     2 Active             24 years, 1 months      7/25/25 Active       Name
586         infowarsshop.biz                    biz    12     2 Active             24 years, 7 months      1/14/25 Active       Ionos
587         infowarsshop.com                    com    12     2 Active             15 years, 5 months      3/11/25 Active       Ionos
588         infowarsshop.net                    net    12     2 Active             14 years, 7 months      1/15/25 Active       Ionos
589         infowarsshop.org                    org    12     2 Active             14 years, 7 months      1/15/25 Active       Ionos
590         infowarsstore.biz                   biz    13     2 Active             24 years, 7 months      1/14/25 Active       Ionos
591         infowarsstore.com                   com    13     2 Active             14 years, 7 months      1/15/25 Active       Ionos
592         infowarsstore.net                   net    13     2 Active             14 years, 7 months      1/15/25 Active       Ionos
593         infowarsstore.org                   org    13     2 Active             14 years, 7 months      1/15/25 Active       Ionos
598         shopinfowars.biz                    biz    12     2 Active             24 years, 7 months      1/14/25 Active       Ionos
599         shopinfowars.net                    net    12     2 Active             14 years, 7 months      1/15/25 Active       Ionos
600         shopinfowars.org                    org    12     2 Active             14 years, 7 months      1/15/25 Active       Ionos
618         infowars.market                     market 8      2 Active                                     5/12/25 Active       SquareSpace
619         infowars.store                      store 8       2 Active                                    11/25/24 Active       SquareSpace
639         infowarspantry.com                  com    14     2 Active                                       6/7/25 Active      SquareSpace
641         infowarsplatinum.com                com    16     2 Active                                    10/18/24 Pending      SquareSpace
570         infowarslifestyle.com               com    17     2 Active             0 years, 7 months         1/4/25 Active      CloudFlare
612         warroomshop.com                     com    11     2 Active                                     5/14/25 Active       CloudFlare
614         americanjournalshop.com             com    19     2 Active                                     5/14/25 Active       CloudFlare

“Pending” indicates recently expired domains that may remain renewable or domains expiring soon.




                                                                                                                                            Page 1 of 1
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page57
                                                                         58of
                                                                            of75
                                                                               76
FSS Domains List                                                                                                                        Lot 3 Domains Only



Reference # Domain                                 TLD    Length Lot Registrar Status Age                 Expiration Expiration Status Registrar per FSS
1           1776defiant.com                        com 11        3 Active             3 years, 7 months    12/31/24 Active             Epik
7           action7.news                           news 7        3 Active             0 years, 0 months       1/9/25 Active            Epik
8           af4abb8de2579b191fc3f18c1bdc444c.com   com 32        3 Active             5 years, 6 months     2/14/25 Active             Epik
14          americaninvisibilityproject.com        com 27        3 Active             3 years, 4 months     4/23/25 Active             Epik
15          americanmediabroadcast.com             com 22        3 Active             4 years, 11 months    9/13/25 Pending            Epik
16          bidenera.news                          news 8        3 Active             0 years, 0 months     1/19/25 Active             Epik
17          blueskies.news                         news 9        3 Active             0 years, 0 months    11/13/24 Pending            Epik
20          censored2020.com                       com 12        3 Active             3 years, 10 months   10/27/24 Pending            Epik
22          censoredbyjack.com                     com 14        3 Active             4 years, 0 months     8/26/25 Active             Epik
23          censoredelection.com                   com 16        3 Active             3 years, 10 months   10/27/24 Pending            Epik
26          coalitiontodefendfreespeech.com        com 27        3 Active             7 years, 8 months     12/7/24 Active             Epik
27          coffeeparty.tv                         tv     11     3 Active             -                     2/16/25 Active             Epik
28          cookinmemes.com                        com 11        3 Active             5 years, 7 months       1/9/25 Active            Epik
33          defendowen.com                         com 10        3 Active             4 years, 7 months     1/23/25 Active             Epik
34          deportillegalaliens.us                 us     19     3 Active             23 years, 10 months 10/15/24 Pending             Epik
40          electionnight.news                     news 13       3 Active             0 years, 0 months    10/27/24 Pending            Epik
41          electiontheft.news                     news 13       3 Active             0 years, 0 months    10/15/24 Pending            Epik
42          electiontheft.org                      org    13     3 Active             4 years, 10 months   10/15/24 Pending            Epik
43          endthechinesevirus.com                 com 18        3 Active             4 years, 3 months       5/8/25 Active            Epik
44          essentialradios.com                    com 15        3 Active             3 years, 7 months     1/11/25 Active             Epik
47          evovod.com                             com 6         3 Active             5 years, 6 months     2/26/26 Active             Epik
48          fakenewswars.us                        us     12     3 Active             23 years, 8 months    12/6/24 Active             Epik
49          fightchinesevirus.com                  com 17        3 Active             4 years, 3 months       5/8/25 Active            Epik
56          freespeechsystems.info                 info 17       3 Active             16 years, 6 months      2/1/25 Active            Epik
57          freespeechsystems.net                  net    17     3 Active             16 years, 7 months      1/2/25 Active            Epik
58          freespeechsystems.org                  org    17     3 Active             16 years, 6 months      2/1/25 Active            Epik
59          freespeechsystems.us                   us     17     3 Active             24 years, 7 months      1/1/25 Active            Epik
62          freezedriedessentials.com              com 21        3 Active             3 years, 7 months     1/11/25 Active             Epik
63          freezedriedpreparedness.com            com 23        3 Active             3 years, 7 months     1/11/25 Active             Epik
66          futurenews.news                        news 10       3 Active             0 years, 0 months    11/12/24 Pending            Epik
67          goblinfire.com                         com 10        3 Active             5 years, 7 months     1/10/25 Active             Epik
68          goblinlove.com                         com 10        3 Active             4 years, 9 months    11/13/24 Pending            Epik
69          goblinnest.com                         com 10        3 Active             4 years, 9 months    11/13/24 Pending            Epik
71          hopkinsworld.com                       com 12        3 Active             6 years, 9 months    11/22/24 Active             Epik
75          imnotbragging.news                     news 13       3 Active             0 years, 0 months    11/18/24 Active             Epik
76          imnotbragging.show                     show 13       3 Active             -                    11/18/24 Active             Epik
79          infocomms.org                          org    9      3 Active             5 years, 8 months    12/18/24 Active             Epik
80          infocomms.social                       social 9      3 Active             -                    12/18/24 Active             Epik
100         joeroganexposed.com                    com 15        3 Active             5 years, 7 months     1/10/25 Active             Epik
105         libertycdn.com                         com 10        3 Active             5 years, 8 months    12/10/24 Active             Epik
108         martiallaw911.name                     name 13       3 Active             0 years, 0 months     8/30/24 Pending            Epik
109         maskskill.com                          com 9         3 Active             3 years, 9 months     11/2/24 Pending            Epik
111         medicalsharia.com                      com 13        3 Active             3 years, 9 months     11/2/24 Pending            Epik
112         memebrew.com                           com 8         3 Active             5 years, 7 months       1/9/25 Active            Epik
113         memekitchin.com                        com 11        3 Active             5 years, 7 months       1/9/25 Active            Epik
115         newsguardexposed.com                   com 16        3 Active             5 years, 7 months     1/12/25 Active             Epik
116         newsguardtruth.com                     com 14        3 Active             5 years, 7 months     1/12/25 Active             Epik
117         newsguardwatch.news                    news 14       3 Active             0 years, 0 months     1/12/25 Active             Epik
118         newsguardwatch.org                     org    14     3 Active             4 years, 8 months     12/1/25 Active             Epik
119         nextearth.news                         news 9        3 Active             0 years, 0 months     11/4/24 Pending            Epik
121         nextnewsmedia.com                      com 13        3 Active             5 years, 7 months     1/10/25 Active             Epik
122         nextterra.news                         news 9        3 Active             0 years, 0 months     11/4/24 Pending            Epik
126         notbragging.show                       show 11       3 Active             -                     12/5/24 Active             Epik
128         nov3rd.news                            news 6        3 Active             0 years, 0 months    10/27/24 Pending            Epik
129         novaxnoflight.com                      com 13        3 Active             3 years, 10 months    10/8/24 Pending            Epik
131         onlinehealthnow.com                    com 15        3 Active             1 years, 11 months    9/23/24 Pending            Epik
132         operationwin2020.com                   com 16        3 Active             4 years, 7 months       1/2/25 Active            Epik
133         orderoffreedom.com                     com 14        3 Active             5 years, 7 months     1/10/25 Active             Epik
136         posthuman.news                         news 9        3 Active             0 years, 0 months    11/12/24 Pending            Epik
137         postnewsera.com                        com 11        3 Active             5 years, 7 months     1/10/25 Active             Epik
138         prisonplanet.us                        us     12     3 Active             24 years, 4 months      4/9/25 Active            Epik
140         provemewrong.show                      show 12       3 Active             0 years, 0 months     11/4/24 Pending            Epik
142         readinessradios.com                    com 15        3 Active             3 years, 7 months     1/11/25 Active             Epik
147         ronpaulcommandbase.com                 com 18        3 Active             16 years, 8 months   12/15/24 Active             Epik
148         ronpaulwarroom.com                     com 14        3 Active             16 years, 8 months   12/15/24 Active             Epik
153         stonepetition.com                      com 13        3 Active             4 years, 9 months    11/15/24 Pending            Epik
154         stopfakenewscoalition.com              com 21        3 Active             7 years, 8 months     12/7/24 Active             Epik
155         theadvance.info                        info 10       3 Active             6 years, 2 months     12/6/24 Active             Epik
156         theadvance.news                        news 10       3 Active             -                     12/6/24 Active             Epik
158         theamericanjournal.news                news 18       3 Active             0 years, 0 months    12/17/24 Active             Epik
160         thegreatresistance.news                news 18       3 Active             0 years, 0 months    11/30/24 Active             Epik



                                                                                                                                                 Page 1 of 4
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page58
                                                                         59of
                                                                            of75
                                                                               76
FSS Domains List                                                                                                                Lot 3 Domains Only



Reference # Domain                       TLD     Length Lot Registrar Status Age                  Expiration Expiration Status Registrar per FSS
162         theliberator.co              co      12     3 Active             23 years, 8 months     12/6/24 Active             Epik
165         thereconreview.com           com     14     3 Active             4 years, 5 months        3/2/25 Active            Epik
166         theresistance.video          video   13     3 Active             0 years, 0 months      8/26/25 Active             Epik
167         thewarroom.show              show    10     3 Active             0 years, 0 months      9/13/25 Active             Epik
168         thisis1776.com               com     10     3 Active             5 years, 1 months        7/2/25 Active            Epik
172         trumpsecrets.news            news    12     3 Active             0 years, 0 months     10/15/24 Pending            Epik
174         vaxtofly.com                 com     8      3 Active             3 years, 10 months     10/8/24 Pending            Epik
177         wokeyleaks.news              news    10     3 Active             0 years, 0 months        2/2/25 Active            Epik
182         becomeasupermale.com         com     16     3 Active             9 years, 7 months        1/6/25 Active            GoDaddy
184         buythisforlife.com           com     14     3 Active             9 years, 8 months      12/4/24 Active             GoDaddy
185         calicaravan.com              com     11     3 Active             5 years, 9 months     11/26/24 Active             GoDaddy
188         emricsessentials.com         com     16     3 Active             7 years, 5 months      3/17/25 Active             GoDaddy
213         literallyridiculous.com      com     19     3 Active             6 years, 6 months        2/1/26 Active            GoDaddy
214         madein1776.com               com     10     3 Active             11 years, 0 months     8/27/25 Active             GoDaddy
215         massifnews.com               com     10     3 Active             5 years, 9 months     11/10/24 Pending            GoDaddy
216         newswars.video               video   8      3 Active             0 years, 0 months     11/26/24 Active             GoDaddy
217         newswarsstore.com            com     13     3 Active             5 years, 5 months        3/6/25 Active            GoDaddy
218         newswarsvideo.com            com     13     3 Active             5 years, 9 months     11/28/24 Active             GoDaddy
221         rightsideselects.com         com     16     3 Active             9 years, 9 months     11/25/24 Active             GoDaddy
222         sayyestojeunesse.com         com     16     3 Active             6 years, 0 months      8/10/24 Active             GoDaddy
223         secretb12.com                com     9      3 Active             9 years, 7 months        1/6/25 Active            GoDaddy
225         solus.news                   news    5      3 Active             0 years, 0 months     11/10/24 Pending            GoDaddy
226         succulentdinosaur.com        com     17     3 Active             5 years, 5 months        3/1/25 Active            GoDaddy
227         supersurvivalstore.com       com     18     3 Active             7 years, 2 months        6/5/25 Active            GoDaddy
229         tryrightside.com             com     12     3 Active             9 years, 10 months    10/16/24 Pending            GoDaddy
230         x2nascentiodine.com          com     15     3 Active             9 years, 7 months        1/6/25 Active            GoDaddy
232         1776to1984.net               net     10     3 Active             16 years, 4 months       4/1/25 Active            Name
233         1776to1984.org               org     10     3 Active             16 years, 7 months       4/1/25 Active            Name
235         1984to1776.net               net     10     3 Active             16 years, 4 months       4/1/25 Active            Name
236         1984to1776.org               org     10     3 Active             16 years, 7 months       4/1/25 Active            Name
238         911chronicles.net            net     13     3 Active             16 years, 4 months       4/1/25 Active            Name
239         911chronicles.org            org     13     3 Active             16 years, 7 months       4/1/25 Active            Name
266         arnoldexposed.com            com     13     3 Active             19 years, 9 months    10/30/24 Pending            Name
267         arnoldexposed.net            net     13     3 Active             19 years, 9 months    11/17/24 Active             Name
268         arnoldexposed.org            org     13     3 Active             19 years, 9 months    11/17/24 Active             Name
269         arnoldtheinvader.com         com     16     3 Active             19 years, 9 months    10/30/24 Pending            Name
271         babynimmo.com                com     9      3 Active             11 years, 3 months     5/24/25 Active             Name
272         beckdeception.com            com     13     3 Active             14 years, 7 months     1/21/25 Active             Name
275         biglieobama.com              com     11     3 Active             15 years, 7 months     1/29/25 Active             Name
276         biglieobama.net              net     11     3 Active             15 years, 7 months     1/29/25 Active             Name
277         bigliesobama.com             com     12     3 Active             15 years, 7 months     1/23/25 Active             Name
278         bigliesobama.net             net     12     3 Active             15 years, 7 months     1/23/25 Active             Name
285         brothersinarmsshow.net       net     18     3 Active             12 years, 3 months     5/19/25 Active             Name
289         cuckley.com                  com     7      3 Active             7 years, 5 months      3/19/25 Active             Name
290         darkskies.us                 us      9      3 Active             24 years, 2 months     6/27/25 Active             Name
292         deathoftherepublic.com       com     18     3 Active             15 years, 5 months     3/23/25 Active             Name
293         deathoftherepublic.info      info    18     3 Active             15 years, 5 months     3/23/25 Active             Name
294         deathoftherepublic.net       net     18     3 Active             15 years, 5 months     3/23/25 Active             Name
295         deathoftherepublic.us        us      18     3 Active             24 years, 5 months     3/22/25 Active             Name
296         deepblackthemovie.com        com     17     3 Active             14 years, 9 months    11/19/24 Active             Name
297         deepblackthemovie.net        net     17     3 Active             14 years, 9 months    11/19/24 Active             Name
301         donaldmcronald.com           com     14     3 Active             9 years, 5 months      3/17/25 Active             Name
302         dontbegoogle.com             com     12     3 Active             6 years, 3 months      5/11/25 Active             Name
303         emporerobama.com             com     12     3 Active             15 years, 7 months     1/23/25 Active             Name
304         emporerobama.net             net     12     3 Active             15 years, 7 months     1/23/25 Active             Name
305         endgamefilm.com              com     11     3 Active             17 years, 6 months       2/8/25 Active            Name
306         endgamemovie.org             org     12     3 Active             17 years, 0 months       8/8/25 Active            Name
307         endgamethefilm.com           com     14     3 Active             17 years, 6 months       2/8/25 Active            Name
308         endgamethemovie.com          com     15     3 Active             17 years, 6 months       2/8/25 Active            Name
309         endgamethemovie.net          net     15     3 Active             17 years, 0 months       8/8/25 Active            Name
310         endgamethemovie.org          org     15     3 Active             17 years, 0 months       8/8/25 Active            Name
314         falloftherepublic.com        com     17     3 Active             15 years, 5 months     3/23/25 Active             Name
315         falloftherepublic.info       info    17     3 Active             15 years, 5 months     3/23/25 Active             Name
316         falloftherepublic.net        net     17     3 Active             15 years, 5 months     3/23/25 Active             Name
317         falloftherepublic.org        org     17     3 Active             15 years, 0 months     8/24/25 Active             Name
318         falloftherepublic.us         us      17     3 Active             24 years, 5 months     3/22/25 Active             Name
319         falloftherepublicfilm.com    com     21     3 Active             15 years, 1 months       7/3/25 Active            Name
320         falloftherepublicmovie.com   com     22     3 Active             15 years, 1 months       7/3/25 Active            Name
322         gangstagov.us                us      10     3 Active             24 years, 2 months     6/15/25 Active             Name
324         gangstergov.us               us      11     3 Active             24 years, 2 months     6/15/25 Active             Name
333         glennbeckdeception.com       com     18     3 Active             14 years, 7 months     1/21/25 Active             Name



                                                                                                                                        Page 2 of 4
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page59
                                                                         60of
                                                                            of75
                                                                               76
FSS Domains List                                                                                                              Lot 3 Domains Only



Reference # Domain                       TLD    Length Lot Registrar Status Age                 Expiration Expiration Status Registrar per FSS
334         globalistconquest.com        com    17     3 Active             11 years, 11 months   9/24/24 Pending            Name
349         infobabe.us                  us     8      3 Active             24 years, 5 months    3/10/25 Active             Name
350         infobabes.us                 us     9      3 Active             24 years, 5 months    3/10/25 Active             Name
416         newswars.io                  io     8      3 Active             0 years, 0 months     6/19/25 Active             Name
419         newworldorderplaybook.com    com    21     3 Active             13 years, 9 months    11/1/24 Pending            Name
421         nwoplaybook.com              com    11     3 Active             13 years, 9 months   11/12/24 Pending            Name
422         obamadeception.com           com    14     3 Active             8 years, 1 months     7/28/25 Active             Name
423         obamadeception.net           net    14     3 Active             15 years, 7 months    1/24/25 Active             Name
424         obamadeception.us            us     14     3 Active             24 years, 3 months    5/28/25 Active             Name
425         obamadeception2.net          net    15     3 Active             11 years, 0 months      8/2/25 Active            Name
426         obamaenemywithin.com         com    16     3 Active             11 years, 0 months      8/2/25 Active            Name
427         obamafalloftherepublic.com   com    22     3 Active             15 years, 1 months    7/10/25 Active             Name
428         obamafalloftherepublic.net   net    22     3 Active             15 years, 1 months    7/10/25 Active             Name
429         obamafilm.net                net    9      3 Active             15 years, 7 months    1/24/25 Active             Name
430         obamaslave.com               com    10     3 Active             15 years, 7 months    1/24/25 Active             Name
431         obamaslave.net               net    10     3 Active             15 years, 7 months    1/24/25 Active             Name
432         obamaslavery.com             com    12     3 Active             15 years, 7 months    1/23/25 Active             Name
433         obamaslavery.net             net    12     3 Active             15 years, 7 months    1/23/25 Active             Name
434         obamaslaves.com              com    11     3 Active             15 years, 7 months    1/24/25 Active             Name
435         obamaslaves.net              net    11     3 Active             15 years, 7 months    1/24/25 Active             Name
436         obamatakeover.net            net    13     3 Active             15 years, 7 months    1/24/25 Active             Name
437         offworldsocial.com           com    14     3 Active             5 years, 7 months       1/3/25 Active            Name
438         planetarychange.net          net    15     3 Active             16 years, 11 months   9/20/24 Pending            Name
439         planetarychange.org          org    15     3 Active             16 years, 11 months   9/20/24 Pending            Name
440         planetinfowar.com            com    13     3 Active             14 years, 0 months      8/2/25 Active            Name
442         policestate4.com             com    12     3 Active             14 years, 5 months      3/1/25 Active            Name
443         powercult.com                com    9      3 Active             14 years, 10 months   10/7/24 Pending            Name
446         prisonplanet.biz             biz    12     3 Active             24 years, 5 months      3/3/25 Active            Name
447         prisonplanet.info            info   12     3 Active             20 years, 4 months      3/4/25 Active            Name
448         prisonplanet.net             net    12     3 Active             20 years, 5 months      3/4/25 Active            Name
449         prisonplanet.org             org    12     3 Active             20 years, 4 months      3/4/25 Active            Name
450         prisonplanetnews.com         com    16     3 Active             14 years, 1 months    7/23/25 Active             Name
451         prisonplanetnews.net         net    16     3 Active             14 years, 1 months    7/23/25 Active             Name
452         prisonplanetnews.org         org    16     3 Active             14 years, 1 months    7/23/25 Active             Name
455         realcoffeeparty.com          com    15     3 Active             14 years, 6 months    2/16/25 Active             Name
456         realcoffeeparty.net          net    15     3 Active             14 years, 5 months      3/9/25 Active            Name
469         riseoffema.com               com    10     3 Active             14 years, 5 months      3/1/25 Active            Name
472         schoolof1776.com             com    12     3 Active             10 years, 4 months    4/21/25 Active             Name
473         schoolof1776.net             net    12     3 Active             10 years, 4 months    4/21/25 Active             Name
474         schoolof1776.org             org    12     3 Active             10 years, 4 months    4/21/25 Active             Name
475         schoolof1776.us              us     12     3 Active             24 years, 4 months    4/20/25 Active             Name
478         slaveobama.com               com    10     3 Active             15 years, 7 months    1/23/25 Active             Name
479         slaveobama.net               net    10     3 Active             15 years, 7 months    1/24/25 Active             Name
480         slavesofobama.com            com    13     3 Active             15 years, 7 months    1/23/25 Active             Name
481         slavesofobama.net            net    13     3 Active             15 years, 7 months    1/23/25 Active             Name
484         theendgamemovie.com          com    15     3 Active             17 years, 6 months      2/8/25 Active            Name
486         theglobalistconquest.com     com    20     3 Active             11 years, 11 months   9/24/24 Pending            Name
488         theinfowarrior.com           com    14     3 Active             15 years, 5 months    3/10/25 Active             Name
502         theobamadeception.net        net    17     3 Active             15 years, 7 months    1/24/25 Active             Name
503         theriseisthefall.com         com    16     3 Active             13 years, 2 months    6/26/25 Active             Name
504         theriseoffema.com            com    13     3 Active             14 years, 5 months      3/1/25 Active            Name
516         uarechange.com               com    10     3 Active             16 years, 11 months   9/20/24 Pending            Name
517         uarechange.net               net    10     3 Active             16 years, 11 months   9/20/24 Pending            Name
518         uarechange.org               org    10     3 Active             16 years, 11 months   9/20/24 Pending            Name
520         urgentradio.com              com    11     3 Active             13 years, 6 months    2/21/25 Active             Name
522         v4tw.com                     com    4      3 Active             6 years, 3 months     5/10/25 Active             Name
526         wakeupamericacoffee.biz      biz    19     3 Active             24 years, 0 months      8/1/25 Active            Name
527         wakeupamericacoffee.co       co     19     3 Active             24 years, 0 months      8/1/25 Active            Name
528         wakeupamericacoffee.com      com    19     3 Active             12 years, 0 months      8/2/25 Active            Name
529         wakeupamericacoffee.net      net    19     3 Active             12 years, 0 months      8/2/25 Active            Name
530         wakeupamericacoffee.org      org    19     3 Active             12 years, 6 months      8/2/25 Active            Name
531         wakeupamericacoffee.us       us     19     3 Active             24 years, 0 months      8/1/25 Active            Name
532         warroom.show                 show   7      3 Active             0 years, 0 months       9/7/25 Active            Name
533         warroomshow.com              com    11     3 Active             6 years, 11 months      9/7/25 Active            Name
540         wearechange.info             info   11     3 Active             16 years, 11 months   9/20/24 Pending            Name
541         wearechange.mobi             mobi   11     3 Active             -                     9/20/24 Pending            Name
542         wearechangenews.com          com    15     3 Active             16 years, 11 months   9/20/24 Pending            Name
543         wearechangenews.net          net    15     3 Active             16 years, 11 months   9/20/24 Pending            Name
544         wearechangenews.org          org    15     3 Active             16 years, 11 months   9/20/24 Pending            Name
545         wearechangeworld.com         com    16     3 Active             16 years, 11 months   9/20/24 Pending            Name
546         wearechangeworld.org         org    16     3 Active             16 years, 11 months   9/20/24 Pending            Name



                                                                                                                                       Page 3 of 4
              Case
              Case22-33553
                   22-33553 Document
                            Document955-13
                                     915-1 Filed
                                           FiledininTXSB
                                                    TXSBon
                                                         on11/18/24
                                                            12/05/24 Page
                                                                     Page60
                                                                          61of
                                                                             of75
                                                                                76
FSS Domains List                                                                                                                                Lot 3 Domains Only



Reference # Domain                                        TLD     Length Lot Registrar Status Age                 Expiration Expiration Status Registrar per FSS
556         youarechange.com                              com     12     3 Active             16 years, 11 months   9/20/24 Pending            Name
557         youarechange.net                              net     12     3 Active             16 years, 11 months   9/20/24 Pending            Name
558         youarechange.org                              org     12     3 Active             16 years, 11 months   9/20/24 Pending            Name
573         freedomnugget.com                             com     13     3 Active             14 years, 4 months      4/3/25 Active            Ionos
597         ranter.us                                     us      6      3 Active             24 years, 4 months    4/13/25 Active             Ionos
601         soldiersoftherepublic.com                     com     21     3 Active             12 years, 6 months      2/7/25 Active            Ionos
624         battleplan.news                               news    10     3 Active                                   4/15/25 Active             SquareSpace
625         bidensupporters.com                           com     15     3 Active                                   5/11/25 Active             SquareSpace
626         blackpilled.news                              news    11     3 Active                                     1/7/25 Active            SquareSpace
628         freespeechsystems.com                         com     17     3 Active                                     1/2/26 Active            SquareSpace
630         newswars.com                                  com     8      3 Active                                   8/29/25 Active             SquareSpace
631         prisonplanet.com                              com     12     3 Active                                   6/14/25 Active             SquareSpace
633         sharebannedvideos.com                         com     17     3 Active                                   8/25/25 Active             SquareSpace
634         summit.store                                  store   6      3 Active                                     6/5/25 Active            SquareSpace
644         memeworld.news                                news    9      3 Active                                   7/15/25 Active             SquareSpace
572         ifw.io                                        io      3      3 Active             0 years, 0 months     10/1/27 Active             NameCheap
611         prisonplanet.tv                               tv      12     3 Active             -                       3/4/25 Active            Register.com
560         79days.news                                   news    6      3 Active             0 years, 0 months     11/4/25 Active             CloudFlare
561         banthis.tv                                    tv      7      3 Active             -                     8/26/25 Active             CloudFlare
562         conspiracyfact.info                           info    14     3 Active             0 years, 9 months     11/1/25 Active             CloudFlare
563         freeworldnews.tv                              tv      13     3 Active             -                     5/19/25 Active             CloudFlare
566         madmaxworld.tv                                tv      11     3 Active             -                       3/6/25 Active            CloudFlare
567         newsmakers.store                              store   10     3 Active             0 years, 0 months    10/30/25 Active             CloudFlare
568         summitnews.store                              store   10     3 Active             0 years, 0 months    10/30/25 Active             CloudFlare
571         americanelection.news                         news    16     3 Active             0 years, 0 months       2/2/25 Active            CloudFlare

“Pending” indicates recently expired domains that may remain renewable or domains expiring soon.




                                                                                                                                                         Page 4 of 4
               Case
               Case22-33553
FSS Domain Names
                    22-33553 Document
                             Document955-13
                                      915-1 Filed
                                            FiledininTXSB
                                                     TXSBon
                                                          on11/18/24
                                                             12/05/24        Page
                                                                              Page61     62of   of7576
                                                                Lot 3 - Domains Not Currently Found in Registrar Accounts



Reference # Domain                                TLD    Length   Lot     Registrar Status         Age                  Expiration   Expiration Status Registrar per FSS
2           2020electioncenter.com                com    18       3       Status TBD               4 years, 0 months         8/25/25 Active            Epik
19          cantcensortruth.com                   com    15       3       Status TBD               4 years, 0 months         8/25/25 Active            Epik
24          civilwarishere.com                    com    14       3       Status TBD               5 years, 0 months          8/6/25 Active            Epik
30          cuckdorsey.com                        com    10       3       Status TBD               4 years, 0 months         8/26/25 Active            Epik
35          derpstate.news                        news   9        3       Status TBD               0 years, 0 months         7/24/25 Active            Epik
52          forbiddeninformation.org              org    20       3       Status TBD               4 years, 0 months         8/26/25 Active            Epik
53          fortressview.com                      com    12       3       Status TBD               4 years, 1 months         7/26/25 Active            Epik
77          infoambush.com                        com    10       3       Status TBD               18 years, 1 months        7/26/25 Active            Epik
78          infoambush.net                        net    10       3       Status TBD               18 years, 1 months        7/26/25 Active            Epik
81          infodriveby.com                       com    11       3       Status TBD               18 years, 1 months        7/26/25 Active            Epik
82          infodriveby.net                       net    11       3       Status TBD               18 years, 1 months        7/26/25 Active            Epik
107         martiallaw911.info                    info   13       3       Status TBD               0 years, 1 months         7/23/25 Active            Epik
143         real360win.com                        com    10       3       Status TBD               0 years, 2 months         6/17/25 Active            Epik
152         starthavingkids.com                   com    15       3       Status TBD               1 years, 1 months         7/24/25 Active            Epik
163         themostbanned.com                     com    13       3       Status TBD               4 years, 0 months         8/26/25 Active            Epik
173         universitywars.com                    com    14       3       Status TBD               6 years, 0 months          8/7/25 Active            Epik
114         myprivacyshop.com                     com    13       3       Status TBD               3 years, 7 months         1/11/25 Active            GoDaddy
178         agendabasedthinking.com               com    19       3       Status TBD               5 years, 9 months         11/9/24 Pending           GoDaddy
186         clarityshot.com                       com    11       3       Status TBD               10 years, 9 months       11/13/24 Pending           GoDaddy
189         fluoridecleanse.com                   com    15       3       Status TBD               10 years, 9 months       11/13/24 Pending           GoDaddy
190         fluorideshield.com                    com    14       3       Status TBD               10 years, 9 months       11/13/24 Pending           GoDaddy
191         getrightside.com                      com    12       3       Status TBD               0 years, 7 months          1/3/25 Active            GoDaddy
224         silverbulletcolloidalsilver.com       com    27       3       Status TBD               10 years, 9 months       11/13/24 Pending           GoDaddy
262         americasmasher.com                    com    14       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
270         asiawars.com                          com    8        3       Status TBD               6 years, 0 months         8/12/25 Active            Name
286         championoftyranny.com                 com    17       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
311         enemiesoftherepublic.com              com    20       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
312         evilcities.com                        com    10       3       Status TBD               15 years, 1 months        7/16/25 Active            Name
313         evilisloose.com                       com    11       3       Status TBD               14 years, 3 months        5/27/25 Active            Name
321         gangstagov.com                        com    10       3       Status TBD               15 years, 2 months        6/16/25 Active            Name
325         gangsterincheif.com                   com    15       3       Status TBD               15 years, 2 months        6/16/25 Active            Name
326         gangsterinchief.com                   com    15       3       Status TBD               15 years, 2 months        6/16/25 Active            Name
328         gansterinchief.com                    com    14       3       Status TBD               15 years, 2 months        6/16/25 Active            Name
329         georgewashingtonposse.com             com    21       3       Status TBD               11 years, 0 months        8/20/25 Active            Name
330         georgewashingtonsposse.com            com    22       3       Status TBD               11 years, 0 months        8/20/25 Active            Name
335         goodguyswithguns.com                  com    16       3       Status TBD               12 years, 1 months        7/20/25 Active            Name
336         goodguyswithguns.info                 info   16       3       Status TBD               12 years, 1 months        7/20/25 Active            Name
337         goodguyswithguns.net                  net    16       3       Status TBD               12 years, 1 months        7/20/25 Active            Name
338         goodguyswithguns.org                  org    16       3       Status TBD               12 years, 1 months        7/20/25 Active            Name
344         humanpreservationsystem.org           org    23       3       Status TBD               11 years, 8 months        12/6/24 Active            Name
345         iamwithgeorgewashington.com           com    23       3       Status TBD               11 years, 0 months        8/20/25 Active            Name
346         ickenomics.com                        com    10       3       Status TBD               11 years, 0 months        8/18/25 Active            Name
347         ickonomics.com                        com    10       3       Status TBD               11 years, 0 months        8/18/25 Active            Name
348         imwithgeorgewashington.com            com    22       3       Status TBD               11 years, 0 months        8/20/25 Active            Name
417         newworldorder4zombies.com             com    21       3       Status TBD               14 years, 0 months        8/25/25 Active            Name
418         newworldorderforzombies.com           com    23       3       Status TBD               14 years, 0 months        8/25/25 Active            Name
420         newworldorderzombies.com              com    20       3       Status TBD               14 years, 0 months        8/25/25 Active            Name
444         poweredbytruth.net                    net    14       3       Status TBD               11 years, 0 months        8/14/25 Active            Name
445         printtwopoint0.com                    com    14       3       Status TBD               12 years, 0 months         8/3/25 Active            Name
453         radioviewer.com                       com    11       3       Status TBD               10 years, 0 months         8/4/25 Active            Name
454         radioviewers.com                      com    12       3       Status TBD               10 years, 0 months         8/4/25 Active            Name
457         redbloodparty.com                     com    13       3       Status TBD               11 years, 0 months        8/16/25 Active            Name
459         republicdestroyer.com                 com    17       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
460         republickiller.com                    com    14       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
461         republicsfall.com                     com    13       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
462         republicslaststand.com                com    18       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
468         riseandfallofthenwo.com               com    19       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
485         theendofus.com                        com    10       3       Status TBD               13 years, 2 months        6/26/25 Active            Name
487         theinfopimp.net                       net    11       3       Status TBD               15 years, 0 months        8/10/25 Active            Name
513         twofacedobama.com                     com    13       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
514         twofaceobama.com                      com    12       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
515         tyrannyschampion.com                  com    16       3       Status TBD               15 years, 2 months        6/28/25 Active            Name
535         wasselhoff.com                        com    10       3       Status TBD               11 years, 2 months        6/28/25 Active            Name
548         wearewithgeorgewashington.com         com    25       3       Status TBD               11 years, 0 months        8/20/25 Active            Name
549         werewithgeorgewashington.com          com    24       3       Status TBD               11 years, 0 months        8/20/25 Active            Name
550         whatisendgame.com                     com    13       3       Status TBD               17 years, 0 months         8/8/25 Active            Name
551         whatisendgame.net                     net    13       3       Status TBD               17 years, 0 months         8/8/25 Active            Name
552         whatisendgame.org                     org    13       3       Status TBD               17 years, 0 months         8/8/25 Active            Name
553         whatistheendgame.com                  com    16       3       Status TBD               17 years, 0 months         8/8/25 Active            Name
554         whatistheendgame.net                  net    16       3       Status TBD               17 years, 0 months         8/8/25 Active            Name
555         whatistheendgame.org                  org    16       3       Status TBD               17 years, 0 months         8/8/25 Active            Name

*** We believe these domains to be owned by FSS but have not been found in their registrar accounts; buyer to purchase under this status unless updated.***

“Pending” indicates recently expired domains that may remain renewable or domains expiring soon.




                                                                                                                                                                           Page 1 of 1
           Case
           Case22-33553
                22-33553 Document
                         Document955-13
                                  915-1 Filed
                                        FiledininTXSB
                                                 TXSBon
                                                      on11/18/24
                                                         12/05/24 Page
                                                                  Page62
                                                                       63of
                                                                          of75
                                                                             76
FSS Podcast Sites


Brand/Name Promoted                Podcast/Broadcast Site

Sale includes right, title and interest to FSS podcast accounts; ThreeSixty and the Trustee will use its best efforts to obtain
access credentials to active accounts which we believe to include the following.

InfoWars                           Spreaker: https://www.spreaker.com/podcast/the-alex-jones-show-infowars-com--5039062
InfoWars                           Spreaker: https://www.spreaker.com/podcast/infowars-hourly-updates--5905490
InfoWars                           Spreaker: https://www.spreaker.com/podcast/infowars-com-freedom-nuggets--1460712
Infowars                           iHeart Radio: https://www.iheart.com/podcast/53-infowars-hourly-updates-118517866/
Infowars                           Castbox: https://castbox.fm/channel/The-Alex-Jones-Show---Infowars.com-id4697438?country=us
Infowars                           Castbox: https://castbox.fm/channel/Infowars-Hourly-Video-Podcast-id5100714?country=us
Infowars                           Deezer: https://www.deezer.com/us/show/3457812
Infowars                           Deezer: https://www.deezer.com/us/show/1000069265
Infowars                           Podcast Addict: https://podcastaddict.com/podcast/infowarscom-freedom-nuggets/5160125
Infowars                           Podchaser: https://www.podchaser.com/podcasts/the-alex-jones-show-infowarsco-3991858
Infowars                           Podchaser: https://www.podchaser.com/podcasts/infowars-hourly-updates-5390012
Infowars                           JioSaavn: https://www.jiosaavn.com/shows/infowars-hourly-updates/1/Qya-7VW7wUE_
Infowars                           JioSaavn: https://www.jiosaavn.com/shows/alex-jones-show-infowars.com/1/ZcrxZRZKrGM_
Infowars                           Apple: https://podcasts.apple.com/us/podcast/infowars-hourly-video-podcast/id1728591628
2020 Election Countdown            Spreaker: https://www.spreaker.com/podcast/election-countdown--4557747
2020 Election Countdown            iHeart Radio: https://www.iheart.com/podcast/966-election-countdown-72161971/
2020 Election Countdown            Castbox: https://castbox.fm/channel/Election-Countdown-id3349145?country=us
2020 Election Countdown            Deezer: https://www.deezer.com/us/show/1683472
2020 Election Countdown            Podcast Addict: https://podcastaddict.com/podcast/election-countdown/3087873
2020 Election Countdown            Podchaser: https://www.podchaser.com/podcasts/election-countdown-1409277
2020 Election Countdown            JioSaavn: https://www.jiosaavn.com/shows/election-countdown/1/vGwe8mUU4Ts_
2020 Election Countdown            Apple: https://podcasts.apple.com/us/podcast/election-countdown/id1532311845
American Countdown                 Spreaker: https://www.spreaker.com/podcast/american-countdown--4304431
Banned.Video                       Spreaker: https://www.spreaker.com/podcast/banned-video-live--3610503
Banned.Video                       Castbox: https://castbox.fm/channel/BANNED.video-LIVE-id2411079?country=us
Banned.Video                       Deezer: https://www.deezer.com/us/show/603222
Banned.Video                       Podcast Addict: https://podcastaddict.com/podcast/bannedvideo-live/2453429
Banned.Video                       Podchaser: https://www.podchaser.com/podcasts/bannedvideo-live-1014820
Banned.Video                       JioSaavn: https://www.jiosaavn.com/shows/banned.video-live/1/ZEBcuw1Hp-w_
Sunday Night Live                  Spreaker: https://www.spreaker.com/podcast/sunday-night-live--4735003
Sunday Night Live                  Castbox: https://castbox.fm/channel/Sunday-Night-Live-id5721283?country=us
Sunday Night Live                  Podcast Addict: https://podcastaddict.com/podcast/infowars-hourly-updates/4530351
The American Journal               Spreaker: https://www.spreaker.com/podcast/the-american-journal--4723388
The American Journal               iHeart Radio: https://www.iheart.com/podcast/966-the-american-journal-76474035/
The American Journal               Podchaser: https://www.podchaser.com/podcasts/the-american-journal-1574203
The American Journal               Castbox: https://castbox.fm/channel/The-American-Journal-id4545706?country=us
The American Journal               Podchaser: https://www.podchaser.com/podcasts/the-american-journal-1574203
The War Room                       TuneIn: https://tunein.com/radio/WarRoom-p1030575/
The War Room                       Spreaker: https://www.spreaker.com/show/warroom
The War Room                       iHeartRadio: https://www.iheart.com/podcast/966-war-room-29787300/
The War Room                       Castbox: https://castbox.fm/channel/id2382114
The War Room                       Deezer: https://www.deezer.com/show/541122
The War Room                       Podcast Addict: http://podplayer.net/?podId=2448315
The War Room                       Podchaser: https://www.podchaser.com/podcasts/war-room-557018
The War Room                       JioSaavn: https://www.jiosaavn.com/shows/War-Room/1/6kuN6TnqSmQ_
Owen Shroyer                       Spreaker: https://www.spreaker.com/podcast/infowars-30-minutes-with-owen-shroyer--6108620
Ron Gibson                         Podcast Addict: https://podcastaddict.com/podcast/rongibsonchannel/4251596
Ron Gibson                         Castbox: https://castbox.fm/channel/Alex-Jones-and-Infowars-Shows-Commercial-Free---
                                   RonGibsonChannel-on-Odysee-id6210618?country=us




                                                                                                                          Page 1 of 1
            Case
            Case22-33553
                 22-33553 Document
                          Document955-13
                                   915-1 Filed
                                         FiledininTXSB
                                                  TXSBon
                                                       on11/18/24
                                                          12/05/24 Page
                                                                   Page63
                                                                        64of
                                                                           of75
                                                                              76
FSS Social Media Sites


Brand/Name Promoted              Social Media Site                                                          # Followers/Subscribers

Sale includes right, title and interest to FSS social media accounts; ThreeSixty and the Trustee will use its best efforts to obtain
access credentials to active accounts which we believe to include the following.

Infowars                         X (formerly Twitter): https://x.com/infowars                               508k
Infowars                         Gab: https://gab.com/INFOWARS                                              17.8k
Infowars                         Minds: https://www.minds.com/Infowars                                      112k
Infowars                         Telegram: https://t.me/infowarslive                                        29.3k
Infowars                         Gettr: https://gettr.com/user/infowars                                     462.5k
Infowars                         Bitclout: https://bitclout.com/u/InfoWars                                  1.2k
Infowars                         Sovren: https://sovren.media/u/infowars/                                   185
Infowars                         Buzzbii: https://www.buzzbii.com/infowars                                  55
Infowars                         YubNub: https://yubnub.social/INFOWARS                                     20
Infowars                         Parler: https://parler.com/profile/infowars/                               TBD
Banned.Video                     X (formerly Twitter): https://x.com/BANNEDdotVIDEO                         9.6k
Banned.Video                     Telegram: https://t.me/BANNEDdotVIDEO                                      7.1k
Banned.Video                     Bitchute: https://www.bitchute.com/channel/9c7qJvwx7YQT/                   161k
Banned.Video                     Gab: https://gab.com/groups/20802                                          2.6k
Banned.Video                     Gettr: https://gettr.com/user/banneddotvideo                               37.8k
Banned.Video                     Sovren: https://sovren.media/u/freeworldnewstv/                            36
Banned.Video                     MeWe: https://mewe.com/group/5fd137578124437597a9e23f                      TBD
Banned.Video                     Bitclout: https://bitclout.com/u/BANNEDdotVIDEO                            373
Banned.Video                     Buzzbii: https://www.buzzbii.com/BANNEDdotVIDEO                            29
Banned.Video                     Xephula: https://xephula.com/pages/BANNEDdotVIDEO                          9874
The War Room                     X (formerly Twitter): https://x.com/WarRoomShow                            36.6k
The War Room                     Truth Social: https://truthsocial.com/@allidoisowen                        14.7k
The War Room                     Bitchute: https://www.bitchute.com/channel/9c7qJvwx7YQ1/                   25.6k
The War Room                     Telegram: https://t.me/Owen_Shroyer                                        5.6k
The War Room                     Minds: https://www.minds.com/WarRoomShow/                                  2k
The War Room                     Gettr: https://gettr.com/user/allidoisowen (Owen Shroyer)                  39.9k
The War Room                     Sovren: https://sovren.media/u/warroomshow/                                55
The War Room                     Minds: https://www.minds.com/allidoisowen/ (Owen Shroyer)                  519
The War Room                     Gab: https://www.gab.com/allidoisowen/ (Owen Shroyer)                      21.3k
The Answer to 1984 is 1776       Instagram: https://www.instagram.com/theanswerto1984is1776/                16.7k




                                                                                                                              Page 1 of 1
          Case
          Case22-33553
                 22-33553 Document
                          Document955-13
                                   915-1 Filed
                                         FiledininTXSB
                                                  TXSBon
                                                       on11/18/24
                                                          12/05/24 Page
                                                                   Page64
                                                                        65of
                                                                           of75
                                                                              76
FSS Intellectual Property                                                 Other Property

Asset Description
Infowars Production Rights & Materials
Newsletter Subscribers (Sendy)
E-Commerce Platform (Magento)
Product Vendor Contacts




                                                                               Page 1 of 1
Case
Case22-33553
     22-33553 Document
              Document955-13
                       915-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on11/18/24
                                              12/05/24 Page
                                                       Page65
                                                            66of
                                                               of75
                                                                  76




                        SCHEDULE 1.1(a)(ii)

                          Personal Property
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page66
                                                                         67of
                                                                            of75
                                                                               76
Asset Purchase Agreement - Free Speech Systems, LLC                                                       Schedule 1.1(a)(ii)

 Asset Tag                       Description                         Item         Category                Location
    269        Desktop Generic                        Desktop               Computer Equipment   Black box
    270        Desktop Generic                        Desktop               Computer Equipment   Black box
   2676        Desktop Generic                        Desktop               Computer Equipment   Black box
    178        LG Curved Monitor                      Monitor               Computer Equipment   Black box
    271        LG Curved Monitor                      Monitor               Computer Equipment   Black box
    29         iMac                                   Desktop               Computer Equipment   E-Commerce office
    30         New iMac                               Desktop               Computer Equipment   E-Commerce office
    256        iMac                                   Desktop               Computer Equipment   Production Office
    252        LG Curved Monitor                      Monitor               Computer Equipment   Production Office
    15         iMac                                   Desktop               Computer Equipment   CS Conference room
    653        Server rack                            Rack                  Computer Equipment   CS server room
    657        ProCurve Switch 4208vI                 Switch                Computer Equipment   CS server room
     7         Lenovo ThinkCentre                     All in One pc         Computer Equipment   Customer Service
    241        Apple Mac Pro                          Desktop               Computer Equipment   Production Office
    242        LG Curved Monitor                      Monitor               Computer Equipment   Production Office
    243        LG Curved Monitor                      Monitor               Computer Equipment   Production Office
     1         iMac                                   Desktop               Computer Equipment   E-Commerce
    53         iMac                                   Desktop               Computer Equipment   E-Commerce
     2         iMac                                   Desktop               Computer Equipment   E-Commerce
    27         Canon Printer                          Large Printer         Computer Equipment   E-Commerce
    14         HP DesignJet                           Large Printer         Computer Equipment   E-Commerce
    40         LG Curved Monitor                      Monitor               Computer Equipment   E-Commerce
    141        New iMac                               Desktop               Computer Equipment   Empty office
    142        UniFi switch 48                        Switch                Computer Equipment   Empty office
    18         Lenovo ThinkCentre                     All in One pc         Computer Equipment   Facility manager room
    19         Lenovo ThinkCentre                     All in One pc         Computer Equipment   Facility manager room
    20         Lenovo ThinkCentre                     All in One pc         Computer Equipment   Facility manager room
    21         Lenovo ThinkCentre                     All in One pc         Computer Equipment   Facility manager room
    26         Desktop Generic                        Desktop               Computer Equipment   Facility manager room
    148        LG Curved Monitor                      Monitor               Computer Equipment   Front waiting room / office
    152        LG Curved Monitor                      Monitor               Computer Equipment   Front waiting room / office
    112        iPad                                   Tablet                Computer Equipment   Gym
    74         PN-V601A LCD Monitor                   Monitor               Computer Equipment   Gym / storage
    75         PN-V601A LCD Monitor                   Monitor               Computer Equipment   Gym / storage
    76         PN-V601A LCD Monitor                   Monitor               Computer Equipment   Gym / storage
    77         PN-V601A LCD Monitor                   Monitor               Computer Equipment   Gym / storage
    78         PN-V601A LCD Monitor                   Monitor               Computer Equipment   Gym / storage
    71         Server rack                            Rack                  Computer Equipment   Gym / storage
    50         Lenovo ThinkCentre                     All in One pc         Computer Equipment   IT
    52         Lenovo ThinkCentre                     All in One pc         Computer Equipment   IT
    55         Lenovo ThinkCentre                     All in One pc         Computer Equipment   IT
    58         Lenovo ThinkCentre                     All in One pc         Computer Equipment   IT
    59         Lenovo ThinkCentre                     All in One pc         Computer Equipment   IT
    41         iMac                                   Desktop               Computer Equipment   IT
    47         iMac                                   Desktop               Computer Equipment   IT
    48         iMac                                   Desktop               Computer Equipment   IT
    56         iMac                                   Desktop               Computer Equipment   IT
    57         iMac                                   Desktop               Computer Equipment   IT
    51         MacBook Pro                            Laptop                Computer Equipment   IT
    46         LG Curved Monitor                      Monitor               Computer Equipment   IT
    10         Dell Desktop                           Desktop               Computer Equipment   Customer Service Office
    61         LG Curved Monitor                      Monitor               Computer Equipment   Customer Service Office
    153        Thinksmart hub                         Video conference      Computer Equipment   Small conference room
    309        iMac                                   Desktop               Computer Equipment   Producers room
    308        Mac Mini                               Desktop               Computer Equipment   Production Break Room
    237        LG Curved Monitor                      Monitor               Computer Equipment   Security entrance
    238        LG Curved Monitor                      Monitor               Computer Equipment   Security entrance
     8         Dell Desktop                           Desktop               Computer Equipment   Customer Service Office
    202        Desktop Generic                        Desktop               Computer Equipment   Studio B
    203        Desktop Generic                        Desktop               Computer Equipment   Studio B
    161        Desktop Generic                        Desktop               Computer Equipment   Studio B
    206        Desktop Generic                        Desktop               Computer Equipment   Studio B
    214        iMac                                   Desktop               Computer Equipment   Studio B
    204        iMac                                   Desktop               Computer Equipment   Studio B
    205        iMac                                   Desktop               Computer Equipment   Studio B
    220        PN-V601A LCD Monitor                   Monitor               Computer Equipment   Studio B
    221        PN-V601A LCD Monitor                   Monitor               Computer Equipment   Studio B
    222        PN-V601A LCD Monitor                   Monitor               Computer Equipment   Studio B
    223        PN-V601A LCD Monitor                   Monitor               Computer Equipment   Studio B
    224        PN-V601A LCD Monitor                   Monitor               Computer Equipment   Studio B
    325        Desktop Generic                        Desktop               Computer Equipment   Studio C
    315        Desktop Generic                        Desktop               Computer Equipment   Studio C
    332        Desktop Generic                        Desktop               Computer Equipment   Studio C
               PN-V601A LCD Monitor                   Monitor               Computer Equipment   Studio C                 Page 1
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page67
                                                                         68of
                                                                            of75
                                                                               76
Asset Purchase Agreement - Free Speech Systems, LLC                                                                  Schedule 1.1(a)(ii)

 Asset Tag                       Description                                   Item         Category                 Location
   801         Dell Precision T3600                           AUTOCAD                 Computer Equipment   Studio C Server Room
   814         Dell Precision T3600                           AUTOCAD                 Computer Equipment   Studio C Server Room
   812         Mac Mini                                       Desktop                 Computer Equipment   Studio C Server Room
   813         Mac Mini                                       Desktop                 Computer Equipment   Studio C Server Room
   807         Supermicro SuperServer 1029P-MT SYS-1029P-MT   Rack                    Computer Equipment   Studio C Server Room
   284         Desktop Generic                                Desktop                 Computer Equipment   Studio J
   285         Desktop Generic                                Desktop                 Computer Equipment   Studio J
   277         Desktop Generic                                Desktop                 Computer Equipment   Studio J
   278         Desktop Generic                                Desktop                 Computer Equipment   Studio J
   280         iMac                                           Desktop                 Computer Equipment   Studio J
   191         Pixel Plex                                     Monitor                 Computer Equipment   Studio J
               PN-V601A LCD Monitor                           Monitor                 Computer Equipment   Studio J
   297         iMac                                           Desktop                 Computer Equipment   Writers Room
   37          Fridge                                         Break Room              Facilities           Accounting office
   39          Large TV                                       TV                      Facilities           Accounting office
   38          Vacuum                                         Vacuum                  Facilities           Accounting office
   33          TV                                             TV                      Facilities           E-Commerce office
    6          Fridge                                         Break Room              Facilities           CS breakroom
    4          Coffee Grinder                                 Coffee grinder          Facilities           CS breakroom
    5          Coffee Maker                                   Coffee maker            Facilities           CS breakroom
   13          TV                                             TV                      Facilities           CS Conference room
   244         Large TV                                       TV                      Facilities           Producer's Office
   22          Zebra RF Gun                                   RF Gun                  Facilities           Facility manager room
   23          Zebra RF Gun                                   RF Gun                  Facilities           Facility manager room
   24          Zebra RF Gun                                   RF Gun                  Facilities           Facility manager room
   25          Zebra RF Gun                                   RF Gun                  Facilities           Facility manager room
   113         Air compressor                                 Air compressor          Facilities           Gym
   95          Hoist Bench                                    Gym equipment           Facilities           Gym
   96          Hoist Bench                                    Gym equipment           Facilities           Gym
   97          Hoist Bench                                    Gym equipment           Facilities           Gym
   98          Hoist HD-3700                                  Gym equipment           Facilities           Gym
   103         Keiser Biaxial Chest press                     Gym equipment           Facilities           Gym
   101         Keiser Infinity series                         Gym equipment           Facilities           Gym
   104         Keiser Leg press                               Gym equipment           Facilities           Gym
   105         Keiser seated leg curl                         Gym equipment           Facilities           Gym
   102         Keiser Upper Back                              Gym equipment           Facilities           Gym
   106         Massage table                                  Gym equipment           Facilities           Gym
               Massage table                                  Gym equipment           Facilities           Gym
               Punching bag                                   Gym equipment           Facilities           Gym
               Punching bag                                   Gym equipment           Facilities           Gym
   100         Rouge Echo Bike                                Gym equipment           Facilities           Gym
   107         RowERG                                         Gym equipment           Facilities           Gym
   93          Squat Rack                                     Gym equipment           Facilities           Gym
   94          Squat Rack                                     Gym equipment           Facilities           Gym
   99          Teeter                                         Gym equipment           Facilities           Gym
   122         Teeter                                         Gym equipment           Facilities           Gym
   92          TF Leg Press                                   Gym equipment           Facilities           Gym
   108         Weight rack with weights 10-60 lbs             Gym equipment           Facilities           Gym
   109         Weight rack with weights 65-100lbs             Gym equipment           Facilities           Gym
   111         PA System                                      Speaker                 Facilities           Gym
   110         TV                                             TV                      Facilities           Gym
   70          Ac Unit                                        AC Unit                 Facilities           Gym / storage
   82          BBQ Pit                                        BBQ Pit                 Facilities           Gym / storage
   84          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   85          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   86          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   87          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   88          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   89          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   90          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   91          Philips Selecon Studio light                   Lights                  Facilities           Gym / storage
   73          Electric pallet jack                           Pallet jack             Facilities           Gym / storage
   72          Pallet jack                                    Pallet jack             Facilities           Gym / storage
   64          Safe                                           Safe                    Facilities           Gym / storage
   67          Safe                                           Safe                    Facilities           Gym / storage
   65          Safe                                           Safe                    Facilities           Gym / storage
   66          Safe                                           Safe                    Facilities           Gym / storage
   69          Shipping container                             Safe                    Facilities           Gym / storage
   79          Drone storage case                             Storage case            Facilities           Gym / storage
   144         Fridge                                         Break Room              Facilities           Gym Break room
   145         Fridge                                         Break Room              Facilities           Gym Break room
   146         Fridge                                         Break Room              Facilities           Gym Break room
   147         Fridge                                         Break Room              Facilities           Gym Break room
   143         Euhomy Ice box                                 Kitchen                 Facilities           Gym Break room          Page 2
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page68
                                                                         69of
                                                                            of75
                                                                               76
Asset Purchase Agreement - Free Speech Systems, LLC                                                       Schedule 1.1(a)(ii)

 Asset Tag                         Description                         Item          Category             Location
   121         Air tower elite                        Gym equipment           Facilities         Gym Cold Room
   126         Elliptical                             Gym equipment           Facilities         Gym Cold Room
   118         Resistance Fitness Bike                Gym equipment           Facilities         Gym Cold Room
   119         Resistance Fitness Bike                Gym equipment           Facilities         Gym Cold Room
   120         Resistance Fitness Bike                Gym equipment           Facilities         Gym Cold Room
   125         Treadmill                              Gym equipment           Facilities         Gym Cold Room
   123         Trueform trainer                       Gym equipment           Facilities         Gym Cold Room
   124         Trueform trainer                       Gym equipment           Facilities         Gym Cold Room
   114         Joovv red light                        Lights                  Facilities         Gym Cold Room
   116         Joovv red light                        Lights                  Facilities         Gym Cold Room
   117         Joovv red light                        Lights                  Facilities         Gym Cold Room
   115         TV                                     TV                      Facilities         Gym Cold Room
   140         Large TV                               TV                      Facilities         Morning Host office
   42          Large TV                               TV                      Facilities         IT
   49          Large TV                               TV                      Facilities         IT
   43          Large TV                               TV                      Facilities         IT
   60          TV                                     TV                      Facilities         IT
   138         Large TV                               TV                      Facilities         Sales office
   11          TV                                     TV                      Facilities         Customer Service Office
   62          TV                                     TV                      Facilities         Customer Service Office
   136         Large TV                               TV                      Facilities         Afternoon Host office
   137         Large TV                               TV                      Facilities         Afternoon Host office
   157         Fridge                                 Break Room              Facilities         Small conference room
   154         TV                                     TV                      Facilities         Small conference room
   303         Coffee Maker                           Coffee maker            Facilities         Podcast studio
   311         TV                                     TV                      Facilities         Producers room
   307         Fridge                                 Break Room              Facilities         Production Break Room
   305         Coffee Grinder                         Coffee grinder          Facilities         Production Break Room
   306         Coffee Maker                           Coffee maker            Facilities         Production Break Room
   304         Large TV                               TV                      Facilities         Production Break Room
   232         Large TV                               TV                      Facilities         Production Conference room
   236         Safe                                   Safe                    Facilities         Security entrance
    9          Large TV                               TV                      Facilities         Customer Service Office
   266         Safe                                   Safe                    Facilities         Studio J
   298         TV                                     TV                      Facilities         Writers Room
   17          Cabinet                                Cabinet                 Office Furniture   Customer Service
   28          Cabinet                                Cabinet                 Office Furniture   Facility manager room
   32          Cabinet                                Cabinet                 Office Furniture   Purchasing office
   35          Cabinet                                Cabinet                 Office Furniture   Accounting office
   44          Cabinet                                Cabinet                 Office Furniture   IT
   45          Cabinet                                Cabinet                 Office Furniture   IT
   134         Cabinet                                Cabinet                 Office Furniture   Green screen room
   12          Whiteboard                             Whiteboard              Office Furniture   CS Conference room
   139         Whiteboard                             Whiteboard              Office Furniture   Sales office
   155         Whiteboard                             Whiteboard              Office Furniture   Small conference room
   233         Whiteboard                             Whiteboard              Office Furniture   Production Conference room
   234         Whiteboard                             Whiteboard              Office Furniture   Production Conference room
    3          Table                                  Table                   Office Furniture   E-Commerce
   16          Conference Table                       Table                   Office Furniture   CS Conference room
   83          Conference Table                       Table                   Office Furniture   Gym / storage
   156         Conference Table                       Table                   Office Furniture   Small conference room
   231         Conference Table                       Table                   Office Furniture   Production Conference room
   135         Cabinet                                Cabinet                 Office Furniture   Bull pen
   208         Cabinet                                Cabinet                 Office Furniture   Studio B
   209         Cabinet                                Cabinet                 Office Furniture   Studio B
   239         Cabinet                                Cabinet                 Office Furniture   Production Office
   312         Cabinet                                Cabinet                 Office Furniture   Studio C
   636         Cabinet                                Cabinet                 Office Furniture   Studio C
   31          Couch                                  Couch                   Office Furniture   E-Commerce office
   36          Couch                                  Couch                   Office Furniture   Accounting office
   63          Couch                                  Couch                   Office Furniture   Customer Service Office
   151         Couch                                  Couch                   Office Furniture   Front waiting room / office
   299         Couch                                  Couch                   Office Furniture   Writers Room
   34          Desk                                   Desk                    Office Furniture   Accounting office
   54          Big White Desk                         Desk                    Office Furniture   IT
   149         Big White Desk                         Desk                    Office Furniture   Front waiting room / office
   150         Big White Desk                         Desk                    Office Furniture   Front waiting room / office
   172         Studio B Desk                          Desk                    Office Furniture   Studio B
   253         Big White Desk                         Desk                    Office Furniture   Production Office
   254         Big White Desk                         Desk                    Office Furniture   Production Office
   255         Big White Desk                         Desk                    Office Furniture   Production Office
   257         Big White Desk                         Desk                    Office Furniture   Production Office
   258         Big White Desk                         Desk                    Office Furniture   Production Office
   259         Big White Desk                         Desk                    Office Furniture   Production Office        Page 3
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page69
                                                                         70of
                                                                            of75
                                                                               76
Asset Purchase Agreement - Free Speech Systems, LLC                                                                       Schedule 1.1(a)(ii)

 Asset Tag                         Description                        Item                      Category                  Location
   261         Desk                                   Desk                                Office Furniture       Studio J
   265         Desk                                   Desk                                Office Furniture       Studio J
   286         Desk                                   Desk                                Office Furniture       Studio J
   287         Desk                                   Desk                                Office Furniture       Studio J
   302         Desk                                   Desk                                Office Furniture       Podcast studio
   310         Desk                                   Desk                                Office Furniture       Producers room
   317         Desk                                   Desk                                Office Furniture       Studio C
   329         Desk                                   Desk                                Office Furniture       Studio C
   334         Desk                                   Desk                                Office Furniture       Studio C
   349         Desk                                   Desk                                Office Furniture       Studio C
   651         Big White Desk                         Desk                                Office Furniture       IT
   652         Big White Desk                         Desk                                Office Furniture       IT
   313         Avcom portable spectrum analyzer       Analyzer                            Production Equipment   Studio C
   185         Distribution Amplifier Pro Plus        Audio Amplifier                     Production Equipment   Studio J
   159         AD 22S Audio Delay                     Audio Delay                         Production Equipment   Studio B
   182         AD 22S Audio Delay                     Audio Delay                         Production Equipment   Studio J
   291         AD 22S Audio Delay                     Audio Delay                         Production Equipment   Studio C
   184         Scarlett 18i20                         Audio Interface                     Production Equipment   Studio J
   791         BD600                                  Broadcast Delay                     Production Equipment   Studio C
   321         Airtools 6100                          BroadcastDelay                      Production Equipment   Studio C
   322         Airtools 6100                          BroadcastDelay                      Production Equipment   Studio C
   170         Camera with Tripod                     Camera                              Production Equipment   Studio B
   171         Camera with Tripod                     Camera                              Production Equipment   Studio B
   173         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio J
   174         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio J
   175         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio J
   176         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio J
   177         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio J
   210         Sony Carl Zeiss                        Camera                              Production Equipment   Studio B
   211         Panasonic Camera                       Camera                              Production Equipment   Studio B
   225         Camera with Tripod                     Camera                              Production Equipment   Studio B
   226         Camera with Tripod                     Camera                              Production Equipment   Studio B
   228         Sony Carl Zeiss                        Camera                              Production Equipment   Studio B
   283         Sony Carl Zeiss                        Camera                              Production Equipment   Studio J
   288         Camera crane with Camera               Camera                              Production Equipment   Studio J
   335         Sony Carl Zeiss                        Camera                              Production Equipment   Studio C
   351         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio C
   355         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio C
   356         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio C
   357         Sony camera with tripod                Camera                              Production Equipment   Studio C
   361         Camera with Tripod and MD-HX           Camera                              Production Equipment   Studio C
               Sony Carl Zeiss                        Camera                              Production Equipment   Studio C
               Canon Camera                           Camera                              Production Equipment   E-Commerce
               Sony Carl Zeiss                        Camera                              Production Equipment   Studio J
               Sony Carl Zeiss                        Camera                              Production Equipment   Studio J
   196         Sony remote control unit               Camera controller                   Production Equipment   Studio B
   207         DJI Ronin M                            Camera controller                   Production Equipment   Studio B
   260         Sony remote control unit               Camera controller                   Production Equipment   Studio J
   276         NovaStar LED digital video display     Camera controller                   Production Equipment   Studio J
   331         Sony remote control unit               Camera controller                   Production Equipment   Studio C
   183         6200 DAB                               Digital Audio Broadcast Processor   Production Equipment   Studio J
   320         6200 DAB                               Digital Audio Broadcast Processor   Production Equipment   Studio C
   811         Optimod 6200 DAB                       Digital Audio Broadcast Processor   Production Equipment   Studio C Server Room
   68          Drone                                  Drone                               Production Equipment   Gym / storage
   187         NC1 I/O                                Input Output Module                 Production Equipment   Studio J
   188         NC1 I/O                                Input Output Module                 Production Equipment   Studio J
   314         NC1 I/O                                Input Output Module                 Production Equipment   Studio C
   127         Socanland Light                        Lights                              Production Equipment   Green screen room
   128         Socanland Light                        Lights                              Production Equipment   Green screen room
   131         Socanland Light                        Lights                              Production Equipment   Green screen room
   132         Socanland Light                        Lights                              Production Equipment   Green screen room
   133         Socanland Light                        Lights                              Production Equipment   Green screen room
   212         Socanland Light                        Lights                              Production Equipment   Studio B
   213         Socanland Light                        Lights                              Production Equipment   Studio B
   215         Socanland Light                        Lights                              Production Equipment   Studio B
   229         Socanland Light                        Lights                              Production Equipment   Studio B
   230         Socanland Light                        Lights                              Production Equipment   Studio B
   235         Socanland Light                        Lights                              Production Equipment   Security entrance
   240         Socanland Light                        Lights                              Production Equipment   Studio B
   336         Socanland Light                        Lights                              Production Equipment   Studio C
   337         Socanland Light                        Lights                              Production Equipment   Studio C
               Socanland Light                        Lights                              Production Equipment   Studio B
               Socanland Light                        Lights                              Production Equipment   Studio J
               Socanland Light                        Lights                              Production Equipment   Studio J               Page 4
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page70
                                                                         71of
                                                                            of75
                                                                               76
Asset Purchase Agreement - Free Speech Systems, LLC                                                                          Schedule 1.1(a)(ii)

 Asset Tag                       Description                                 Item                  Category                  Location
               Socanland Light                                Lights                         Production Equipment   Studio J
               Socanland Light                                Lights                         Production Equipment   Studio J
               Socanland Light                                Lights                         Production Equipment   Studio J
               Socanland Light                                Lights                         Production Equipment   Studio J
               Socanland Light                                Lights                         Production Equipment   Studio C
               Light                                          Lights                         Production Equipment   Studio J
               Socanland Light                                Lights                         Production Equipment   Studio C
               Socanland Light                                Lights                         Production Equipment   Studio B
               Socanland Light                                Lights                         Production Equipment   Studio C
               Socanland Light                                Lights                         Production Equipment   Studio C
               Socanland Light                                Lights                         Production Equipment   Studio C
               Socanland Light                                Lights                         Production Equipment   Studio C
               Socanland Light                                Lights                         Production Equipment   Studio C
               Socanland Light                                Lights                         Production Equipment   Studio B
               Socanland Light                                Lights                         Production Equipment   Studio B
   169         The Garnet Microphone                          Microphone                     Production Equipment   Sound Booth
   167         Blade-3                                        Microphone I/O Network Blade   Production Equipment   Studio B
   168         Blade-3                                        Microphone I/O Network Blade   Production Equipment   Studio B
   326         Blade-3                                        Microphone I/O Network Blade   Production Equipment   Studio C
   350         Blade-3                                        Microphone I/O Network Blade   Production Equipment   Studio C
   784         Blade-3                                        Microphone I/O Network Blade   Production Equipment   Studio C
   785         Blade-3                                        Microphone I/O Network Blade   Production Equipment   Studio C
   797         Blade-3                                        Microphone I/O Network Blade   Production Equipment   Studio C
   786         Gibraltar Network                              Network Rack                   Production Equipment   Studio C
   323         Clear-com MS-702                               Rack                           Production Equipment   Studio C
   324         Clear-com HME DX210                            Rack                           Production Equipment   Studio C
   338         Evo SNS 16B64TB-2X10C                          Rack                           Production Equipment   Studio C Server Room
   339         Dell 3930 Rack                                 Rack                           Production Equipment   Studio C Server Room
   340         HP ProLiant DL360e Gen 8                       Rack                           Production Equipment   Studio C Server Room
   341         Haivision Encoders                             Rack                           Production Equipment   Studio C Server Room
   342         Evo Server Rack                                Rack                           Production Equipment   Studio C Server Room
   343         Supermicro SuperServer 1029P-MT SYS-1029P-MT   Rack                           Production Equipment   Studio C Server Room
   344         UC-IRD Receiver Decoder                        Rack                           Production Equipment   Studio C Server Room
   345         Wave Stream Redundancy Controller              Rack                           Production Equipment   Studio C Server Room
   346         Tanberg E5770                                  Rack                           Production Equipment   Studio C Server Room
   347         Tandberg EN5990 Digital Encoder                Rack                           Production Equipment   Studio C Server Room
   362         Creston AV3                                    Rack                           Production Equipment   Studio C
   808         Supermicro SuperServer 1029P-MT SYS-1029P-MT   Rack                           Production Equipment   Studio C Server Room
   274         Digital radio control                          Radio control                  Production Equipment   Studio J
   792         EW G4                                          Radio control                  Production Equipment   Studio C
   794         True Diversity Receiver 500                    Receiver                       Production Equipment   Studio C
   795         True Diversity Receiver 500                    Receiver                       Production Equipment   Studio C
   796         True Diversity Receiver 500                    Receiver                       Production Equipment   Studio C
   166         Teranex Mini - SDI Distribution 12G            SDI Distribution               Production Equipment   Studio B
   181         Teranex Mini - SDI Distribution 12G            SDI Distribution               Production Equipment   Studio J
   289         Teranex Mini - SDI Distribution 12G            SDI Distribution               Production Equipment   Studio C
   290         Teranex Mini - SDI Distribution 12G            SDI Distribution               Production Equipment   Studio C
   247         Tricaster Server                               Server                         Production Equipment   Studio B
   248         Tricaster Server                               Server                         Production Equipment   Studio B
   292         Behringer x32 Rack                             Server                         Production Equipment   Studio C
   294         Tricaster Server                               Server                         Production Equipment   Studio C
   295         Tricaster Server                               Server                         Production Equipment   Studio C
   296         BlackMagic Atem production switcher            Server                         Production Equipment   Studio C
   654         Server                                         Server                         Production Equipment   CS server room
   655         Server                                         Server                         Production Equipment   CS server room
   656         Server                                         Server                         Production Equipment   CS server room
   781         IOT/Embedded System                            Server                         Production Equipment   Studio C
   798         Rockford R331                                  Server                         Production Equipment   Studio C
   799         Rockford R331                                  Server                         Production Equipment   Studio C
               Server                                         Server                         Production Equipment   CS server room
   158         Wheatstone Strata 32                           Soundboard                     Production Equipment   Studio B
   160         ETC                                            Soundboard                     Production Equipment   Studio B
   197         Newtek                                         Soundboard                     Production Equipment   Studio B
   249         Newtek                                         Soundboard                     Production Equipment   Studio B
   273         Newtek                                         Soundboard                     Production Equipment   Studio J
   275         ETC                                            Soundboard                     Production Equipment   Studio J
   279         Wheatstone Strata 32                           Soundboard                     Production Equipment   Studio J
   319         Wheatstone Strata 32                           Soundboard                     Production Equipment   Studio C
   330         Newtek                                         Soundboard                     Production Equipment   Studio C
   787         Access Rack                                    Stereo                         Production Equipment   Studio C
   788         Access Rack                                    Stereo                         Production Equipment   Studio C
   162         ProSafe GS728TP                                Switch                         Production Equipment   Studio B
   190         Switch 48                                      Switch                         Production Equipment   Studio J
   783         Catalyst 3650 24 4X1G                          Switch                         Production Equipment   Studio C               Page 5
             Case
             Case22-33553
                  22-33553 Document
                           Document955-13
                                    915-1 Filed
                                          FiledininTXSB
                                                   TXSBon
                                                        on11/18/24
                                                           12/05/24 Page
                                                                    Page71
                                                                         72of
                                                                            of75
                                                                               76
Asset Purchase Agreement - Free Speech Systems, LLC                                                                                      Schedule 1.1(a)(ii)

 Asset Tag                        Description                                    Item                          Category                  Location
   800         Smart Videohub                                     Switch                                 Production Equipment   Studio C Server Room
   809         ProCurve Switch 4208vI                             Switch                                 Production Equipment   Studio C Server Room
   810         DXS-1210-12SC                                      Switch                                 Production Equipment   Studio C Server Room
   129         Large TV                                           TV                                     Production Equipment   Green screen room
   130         Large TV                                           TV                                     Production Equipment   Green screen room
   198         Large TV                                           TV                                     Production Equipment   Studio B
   199         Large TV                                           TV                                     Production Equipment   Studio B
   200         Large TV                                           TV                                     Production Equipment   Studio B
   201         TV                                                 TV                                     Production Equipment   Studio B
   216         TV                                                 TV                                     Production Equipment   Studio B
   217         Large TV                                           TV                                     Production Equipment   Studio B
   218         Large TV                                           TV                                     Production Equipment   Studio B
   219         Large TV                                           TV                                     Production Equipment   Studio B
   227         Large TV                                           TV                                     Production Equipment   Studio B
   250         Large TV                                           TV                                     Production Equipment   Studio C
   251         Large TV                                           TV                                     Production Equipment   Studio C
   262         Large TV                                           TV                                     Production Equipment   Studio J
   263         Large TV                                           TV                                     Production Equipment   Studio J
   264         Large TV                                           TV                                     Production Equipment   Studio J
   267         TV                                                 TV                                     Production Equipment   Studio J
   268         Large TV                                           TV                                     Production Equipment   Studio J
   272         Large TV                                           TV                                     Production Equipment   Black box
   281         Large TV                                           TV                                     Production Equipment   Studio J
   282         Large TV                                           TV                                     Production Equipment   Studio J
   300         TV                                                 TV                                     Production Equipment   Podcast studio
   301         TV                                                 TV                                     Production Equipment   Podcast studio
   352         Large TV                                           TV                                     Production Equipment   Studio C
   353         Large TV                                           TV                                     Production Equipment   Studio C
   354         Large TV                                           TV                                     Production Equipment   Studio C
   358         TV                                                 TV                                     Production Equipment   Studio C
   359         TV                                                 TV                                     Production Equipment   Studio C
   360         TV                                                 TV                                     Production Equipment   Studio C
               Large TV                                           TV                                     Production Equipment   Studio J
               Large TV                                           TV                                     Production Equipment   Studio J
               Large TV                                           TV                                     Production Equipment   Studio J
               Large TV                                           TV                                     Production Equipment   Studio J
               Large TV                                           TV                                     Production Equipment   Studio J
               Large TV                                           TV                                     Production Equipment   Studio J
   348         SmartOnline UPS                                    UPS                                    Production Equipment   Studio C Server Room
   802         GXT4 UPS                                           UPS                                    Production Equipment   Studio C Server Room
   803         GXT4 UPS                                           UPS                                    Production Equipment   Studio C Server Room
   804         GXT4 UPS                                           UPS                                    Production Equipment   Studio C Server Room
   805         GXT4 UPS                                           UPS                                    Production Equipment   Studio C Server Room
   806         SmartOnline UPS                                    UPS                                    Production Equipment   Studio C
   163         TalkShow VS-100                                    Video Broadcaster                      Production Equipment   Studio B
   164         TalkShow VS-100                                    Video Broadcaster                      Production Equipment   Studio B
   165         Smart Videohub 40x40                               Video Broadcaster                      Production Equipment   Studio B
   179         ATEM 1 M/E Production Studio 4k                    Video Broadcaster                      Production Equipment   Studio J
   180         Design Video Assist                                Video Broadcaster                      Production Equipment   Studio J
   186         LU2000                                             Video Broadcaster                      Production Equipment   Studio J
   189         TriCaster TC1                                      Video Broadcaster                      Production Equipment   Studio J
   192         Ultimatte 12 4k                                    Video Broadcaster                      Production Equipment   Studio C
   193         HyperDeck Studio Pro                               Video Broadcaster                      Production Equipment   Studio C
   194         HyperDeck Studio Pro                               Video Broadcaster                      Production Equipment   Studio C
   195         HyperDeck Studio Pro                               Video Broadcaster                      Production Equipment   Studio C
   245         TalkShow VS-100                                    Video Broadcaster                      Production Equipment   Studio B
   246         TalkShow VS-100                                    Video Broadcaster                      Production Equipment   Studio B
   293         TriCaster TC1                                      Video Broadcaster                      Production Equipment   Studio C
   316         TriCaster TC1                                      Video Broadcaster                      Production Equipment   Studio C
   318         TriCaster TC1                                      Video Broadcaster                      Production Equipment   Studio B
   327         TalkShow VS-100                                    Video Broadcaster                      Production Equipment   Studio C
   328         TalkShow VS-100                                    Video Broadcaster                      Production Equipment   Studio C
   333         Ultimatte 12 4k                                    Video Broadcaster                      Production Equipment   Studio C
   782         KiPro Rack                                         Video Broadcaster                      Production Equipment   Studio C
   789         HyperDeck Studio Pro                               Video Broadcaster                      Production Equipment   Studio J
   790         HyperDeck Studio Pro                               Video Broadcaster                      Production Equipment   Studio C

               This is an unaudited list of assets provided by FSS from their asset management system.
               Items under an estimated $500 at cost value do not appear on the list.




                                                                                                                                                       Page 6
Case
Case22-33553
     22-33553 Document
              Document955-13
                       915-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on11/18/24
                                              12/05/24 Page
                                                       Page72
                                                            73of
                                                               of75
                                                                  76




                        SCHEDULE 1.1(a)(iii)

                             Inventory
                                                                        Case
                                                                        Case22-33553
                                                                             22-33553 Document
                                                                                      Document955-13
                                                                                               915-1 Filed
                                                                                                     FiledininTXSB
                                                                                                              TXSBon
                                                                                                                   on11/18/24
                                                                                                                      12/05/24 Page
                                                                                                                               Page73
                                                                                                                                    74of
                                                                                                                                       of75
                                                                                                                                          76


Free Speech Systems LLC
Inventory Look Forward
as of 11/5/2024

                                                                       CURRENT INVENTORY                                                       CURRENT SALES
                                                                                                                    Current          Total Sales @            Avg Units           Days Inv
         Name                                               Quantity       Cost           Total Cost               Sales Price       Current Price         Sold per Day (f)      Remaining
  (a)    Books                                                   N/A          N/A           130,186.47                     N/A                   N/A                   N/A              180+
  (a)    DVD's & Videos                                          N/A          N/A           123,150.72                     N/A                   N/A                   N/A              180+
  (a)    T-Shirts and Apparel                                    N/A          N/A           126,014.31                     N/A                   N/A                   N/A              180+                          TOP 15 NUTRITIONAL SUPPLEMENT PRODUCTS
  (a)    Misc Other                                              N/A          N/A           110,044.25                     N/A                   N/A                   N/A              180+                          Product            Annual Units  Manufacturer
                                                                                            489,395.75                                                                                                     Nitric Boost                               106,000      A, B
                                                                                                                                                                                                           X3                                          58,500      C
                                                                                                                                                                                                           Vitamin Mineral Fusion                      45,000      A, B
   (e)   Survival Shield X-3 1 oz. Bottle                          28         3.50               98.00                    29.95              838.60                    265                -                BF Plus                                     44,000      A, B
   (c)   BodEase                                               14,040         7.37          103,474.80                    48.70          683,748.00                    350                 40              X2                                          42,500      C
         The Real Red Pill Plus                                   715         7.35            5,255.25                    79.95           57,164.25                     75                 10              Bodease                                     39,500      A, B
   (c)   Vitamin Mineral Fusion                                 7,166         8.26           59,191.16                    54.95          393,771.70                    275                 26              BF Ultra                                    34,500      C, A
         CBD Full Spectrum Tincture                               945        29.00           27,405.00                    99.95           94,452.75                     20                 47              Red Pill Plus                               29,500      A, B
         DNA Force Plus                                         2,105        18.50           38,942.50                    89.95          189,344.75                     45                 47              Fish Oil                                    23,500      A
         Vitamin C With Zinc                                    6,582         7.65           50,352.30                    29.95          197,130.90                    100                 66              DNA Force                                   21,500      A, B
         Survival Shield X-2 - Nascent Iodine                  26,730         3.70           98,901.00                    29.95          800,563.50                    375                 71              Winter Sun                                  17,500      C
  (d)    Super Concentrated Beet Extract Essence VasoBeet       9,132         3.30           30,135.60                    23.95          218,711.40                    110                 83              Ultimate Bone Broth                         17,000      A, B
  (d)    Brain Force Ultra                                     13,231         8.00          105,848.00                    29.97          396,533.07                    150                 88              Ultra 12                                    17,000      C
  (d)    Ultra 12                                               8,138         5.00           40,690.00                    32.95          268,147.10                     70                116              Down n Out                                  16,500      C, A
  (d)    Prebiotic Fiber                                       18,248         6.96          127,006.08                    22.45          409,667.60                     40                456              Vasobeet                                    15,500      C
  (b)    Alex Jones "Great Reset" Book                          3,908         9.76           38,142.08                    55.00          214,940.00                      6                651
                                                                                            725,441.77                                 3,925,013.62                                                                                   A       Vendor A
                                                                                                                                                                                                                                      B       Vendor B
                                                            TOTALS                        1,214,837.52                                 3,925,013.62                                                                                   C       Vendor C




                                                                                  (a)   Numerous inventory items with an aggregate cost of approximately $500,000. This is slow moving inventory and is not tracked on an item by item basis. It is assumed it will be deeply discounted.
                                                                                  (b)   FSS has already recovered 100% of the inventory cost through the weekely settlement with Jones. We will not be able to sell the remianing inventory during the liquidation period.
                                                                                  (c)   Bodese and VMF are popular products with a fast production lead time and have been re-ordered. Inventory in-transit is not included in the quantity disclosed
                                                                                  (d)   Inventory is slow moving and will be discounted to try and boost sales, but very unlikely that FSS can sell the remaining quantity available for sale and will need to explore other monetization methods.
                                                                                  (e)   Inventory is no longer available in the FSS Store, the remaining inventory is to cover returns / exchanges.
                                                                                  (f)   Daily unit sales averages are calcualted based on the 30-days prior to this analysis with the exception of Vitamin Mineral Fusion, Vitamin C and X-2, which are calculated using the actual days in stock



                                                                             ALL QUANTITIES ARE UNAUDITED AND INVENTORY IS WAREHOUSED BY A THIRD PARTY FULFILLMENT COMPANY
                                                                                            SALES PRICES ARE SUBJECT TO CHANGE AT THE DISCRETION OF MANAGEMENT
Case
Case22-33553
     22-33553 Document
              Document955-13
                       915-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on11/18/24
                                              12/05/24 Page
                                                       Page74
                                                            75of
                                                               of75
                                                                  76




                        SCHEDULE 1.1(b)(xi)

                       Excluded Domain Names
              Case
              Case22-33553
                   22-33553 Document
                            Document955-13
                                     915-1 Filed
                                           FiledininTXSB
                                                    TXSBon
                                                         on11/18/24
                                                            12/05/24 Page
                                                                     Page75
                                                                          76of
                                                                             of75
                                                                                76
FSS Domain Names                                                                                                                                Lot 4 - Contested Domains



Reference # Domain                               TLD    Length   Lot     Registrar Status        Age                    Expiration   Expiration Status Registrar per FSS
9           alejandrojones.com                   com    14       7       Active - Contested      -                          10/22/25 Active            Epik
10          alexjonesexposed.org                 org    16       7       Active - Contested      4 years, 10 months         10/29/24 Pending           Epik
11          alexjonesplan.com                    com    13       7       Active - Contested      -                          10/22/25 Active            Epik
12          alexjonesplantosaveamerica.com       com    26       7       Active - Contested      -                          10/22/25 Active            Epik
13          alexjoneswasright.news               news   17       7       Active - Contested      0 years, 0 months           2/26/26 Active            Epik
32          defendjones.com                      com    11       7       Active - Contested      0 years, 0 months            8/6/25 Active            Epik    †† No Registrar Access
54          freealexjones.com                    com    13       7       Active - Contested      4 years, 8 months          12/28/24 Active            Epik
101         jonescrowder.com                     com    12       7       Active - Contested      1 years, 0 months            8/7/25 Active            Epik    †† No Registrar Access
157         theajreport.com                      com    11       7       Active - Contested      4 years, 0 months           8/26/25 Active            Epik    †† No Registrar Access
187         defendalexjones.com                  com    15       7       Active - Contested      5 years, 6 months            2/4/25 Active            GoDaddy
240         alexanderemerickjones.com            com    21       7       Active - Contested      7 years, 5 months            3/2/25 Active            Name
241         alexemericjones.com                  com    15       7       Active - Contested      7 years, 5 months            3/1/25 Active            Name
242         alexemerickjones.com                 com    16       7       Active - Contested      7 years, 5 months            3/1/25 Active            Name
243         alexjones.net                        net    9        7       Active - Contested      24 years, 0 months          8/26/25 Active            Name
244         alexjones.org                        org    9        7       Active - Contested      24 years, 0 months          8/26/25 Active            Name
245         alexjonesbroadcasting.com            com    21       7       Active - Contested      16 years, 11 months         8/31/24 Pending           Name †† No Registrar Access
246         alexjonesbroadcasting.net            net    21       7       Active - Contested      16 years, 11 months         8/31/24 Pending           Name †† No Registrar Access
247         alexjonesbroadcasting.org            org    21       7       Active - Contested      16 years, 11 months         8/31/24 Pending           Name †† No Registrar Access
248         alexjonescoffee.com                  com    15       7       Active - Contested      12 years, 0 months           8/3/25 Active            Name
249         alexjonesinvestigates.com            com    21       7       Active - Contested      12 years, 5 months          3/28/25 Active            Name
250         alexjonesinvestigations.com          com    23       7       Active - Contested      12 years, 5 months          3/28/25 Active            Name
251         alexjonesmobile.mobi                 mobi   15       7       Active - Contested      -                           8/31/24 Pending           Name †† No Registrar Access
252         alexjonesradio.com                   com    14       7       Active - Contested      16 years, 11 months         8/31/25 Active            Name †† No Registrar Access
253         alexjonesradio.net                   net    14       7       Active - Contested      16 years, 11 months         8/31/24 Pending           Name †† No Registrar Access
254         alexjonesradio.org                   org    14       7       Active - Contested      16 years, 11 months         8/31/24 Pending           Name †† No Registrar Access
255         alexjonesshow.com                    com    13       7       Active - Contested      16 years, 11 months         8/31/25 Active            Name
256         alexjonesshow.net                    net    13       7       Active - Contested      16 years, 11 months         8/31/25 Active            Name
257         alexjonesshow.org                    org    13       7       Active - Contested      16 years, 11 months         8/31/25 Active            Name †† No Registrar Access
258         alexjoneswakeupamerica.com           com    22       7       Active - Contested      12 years, 0 months           8/2/25 Active            Name
259         alexjoneswakeupamerica.net           net    22       7       Active - Contested      12 years, 0 months           8/2/25 Active            Name
287         charlottejones.org                   org    14       7       Active - Contested      16 years, 11 months         8/31/25 Active            Name
288         charlottejones.us                    us     14       7       Active - Contested      23 years, 11 months         8/30/25 Active            Name
298         deplorablejones.com                  com    15       7       Active - Contested      7 years, 11 months          9/12/25 Active            Name †† No Registrar Access
403         jonesbroadcasting.net                net    17       7       Active - Contested      16 years, 11 months         8/31/24 Pending           Name †† No Registrar Access
404         jonesbroadcasting.org                org    17       7       Active - Contested      16 years, 11 months         8/31/24 Pending           Name †† No Registrar Access
406         jonesnewsnetwork.com                 com    16       7       Active - Contested      16 years, 1 months           7/8/25 Active            Name †† No Registrar Access
464         rexjones.info                        info   8        7       Active - Contested      16 years, 11 months         8/31/25 Active            Name
465         rexjones.org                         org    8        7       Active - Contested      16 years, 11 months         8/31/25 Active            Name
466         rexjones.us                          us     8        7       Active - Contested      23 years, 11 months         8/30/25 Active            Name




*Note: Information provided is based on third party sources deemed reliable; however, subject to change and buyer diligence.

“Pending” indicates recently expired domains that may remain renewable or domains expiring soon.




                                                                                                                                                               Page 1 of 1
